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        1                    UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
        2                         ALEXANDRIA DIVISION

        3   IN RE: CAPITAL ONE CUSTOMER )          Case 1:19-md-2915
            DATA SECURITY BREACH        )
        4   LITIGATION                  )          July 12, 2021
                                        )          10:08 a.m.
        5                               )          Pages 1 - 231

        6
                             TRANSCRIPT OF MOTIONS HEARING
        7
                       BEFORE THE HONORABLE ANTHONY J. TRENGA
        8
                         UNITED STATES DISTRICT COURT JUDGE
        9

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        1               THE CLERK:       Case No. 1:19-md-2915 .       In re

        2   Capital One Customer Data Security Breach Litigation .

        3               Counsel, will you please note your

        4   appearances for the record.

        5               MR. SIEGEL:       Good morning, Your Honor.

        6   Norman Siegel, Stueve Siegel Hanson in Kansas City,

        7   co-lead plaintiffs' counsel.         My colleagues from my

        8   firm this morning, Lindsay Todd Perkins, Jillian Dent,

        9   and Barry Vahle.

      10                THE COURT:       Good morning.     Welcome.

      11                MR. YANCHUNIS:       Good morning, Your Honor.

      12    John Yanchunis, also co-lead counsel.

      13                THE COURT:       All right.

      14                MS. RIEBEL:       Karen Hanson Riebel, co-lead

      15    counsel for the plaintiffs.         Good morning.

      16                THE COURT:       All right.    Very good.      Thank

      17    you.

      18                Mr. Balser.

      19                MR. BALSER:       Good morning, Your Honor.        David

      20    Balser of King & Spalding on behalf of Capital One.

      21    I've got with me at counsel table Robert Griest and

      22    Peter Starr of King & Spalding.           Also, Mr. Robert Angle

      23    of Troutman Pepper.       With us, and several of whom you

      24    will be hearing from over the next couple of days, are

      25    seated in the gallery.         We've got Ms. Mary Zinsner,


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        1   also from Troutman Pepper, Susan Clare from King &

        2   Spalding, Julia Barrett from King & Spalding, John Toro

        3   from King & Spalding, and Stewart Haskins from King &

        4   Spalding.        We have Tim St. George, also with us from

        5   Troutman Pepper.        And from Capital One, we have

        6   Mr. Steve Otero, Mr. Nick Klaiber, Ms. Betsy Sochar,

        7   and Mr. Thomas Hall.

        8                THE COURT:        All right.   Welcome to everyone.

        9                MR. NEWBY:        Good morning, Your Honor.      Tyler

      10    Newby of Fenwick & West on behalf of the Amazon

      11    defendants.

      12                 THE COURT:        All right.   Welcome.

      13                 MR. VIETH:        Good morning, Your Honor.      Robert

      14    Vieth of Hirschler, also on behalf of Amazon.

      15                 THE COURT:        All right.   Welcome to everyone.

      16                 We're here on a number of motions.           I've

      17    reviewed all of them, and I think it's been

      18    disseminated that I'd like to start with the class

      19    certification and also the subject matter jurisdiction

      20    issues.     They're, obviously, separate motions, but

      21    they're centrally bound up with each other.

      22                 And in that regard, with respect to the

      23    presentation on the class certification motions, I

      24    would like for you to start with the standing issue,

      25    both under Rule 23 and also the Article III issue, as


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        1   we go forward.

        2                All right.      Mr. Siegel.

        3                MR. SIEGEL:      Thank you, Your Honor.

        4                Your Honor, we have a PowerPoint to help

        5   guide us today.      I'm not typically a fan, but given the

        6   number of issues, I thought we'd create one.

        7                THE COURT:      All right.

        8                MR. SIEGEL:      This is a good reason.       We're

        9   starting with a jurisdictional question, which is not

      10    what I intended.      But, obviously, we'll start there.

      11                 THE COURT:      All right.

      12                 MR. SIEGEL:      Would you like a paper copy as

      13    we go through today for reference?

      14                 THE COURT:      Please, if you would.

      15                 MR. SIEGEL:      Sure.

      16            (Documents are passed up to the Court.)

      17                 MR. SIEGEL:      So, Your Honor, as you noted --

      18    may it please the Court, first of all.            It's nice to be

      19    in court, and we appreciate the opportunity to be here

      20    maskless after the last 18 months of litigating this

      21    case.

      22                 As I'm sure Your Honor is aware, a lot of

      23    work has happened while we've all been basically --

      24                 THE COURT:      Right.

      25                 MR. SIEGEL:      -- under quarantine that has


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        1   allowed us to present this motion today.             And we intend

        2   to walk through the evidence and the information that

        3   will guide the Court on these important decisions.

        4                Your Honor wanted us to start with the

        5   Article III standing issues.          So my colleague, Lindsay

        6   Perkins, is prepared to argue that, but I would like to

        7   start because I do think, as a certification issue, the

        8   Article III issues should be pretty basic.               So let me

        9   start there.        And if it pleases the Court, it's

      10    slide 81.        If you will, just give me a second to skip

      11    ahead, and we'll get started.

      12                 THE COURT:        Before you get into this -- and

      13    you may be getting into it -- give me your view

      14    procedurally how the Court should be dealing with the

      15    Article III standing issue.          We're really dealing with

      16    a factual challenge to jurisdiction.            We're beyond a

      17    facial pleading challenge, and the posture of the case

      18    is a little bit of a hybrid.          In one hand, it's being

      19    presented -- I think you view it as almost in the

      20    nature of a summary judgment standard, which would

      21    basically put the burden on the plaintiff.

      22                 I mean, the defendants have essentially

      23    argued within the context of a summary judgment rubric

      24    a lack of evidence.        The burden would be on the

      25    plaintiffs to come forward with sufficient evidence,


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        1   viewed most favorably to them, to create a factual

        2   issue, which is a different standard than an

        3   evidentiary hearing where the Court can weigh the

        4   evidence.

        5                So how do you suggest the Court proceed?

        6                MR. SIEGEL:       I think our presentation guides

        7   and speaks to this point.

        8                THE COURT:       All right.

        9                MR. SIEGEL:       So let me dig in.     If I haven't

      10    answered your question by the time I'm through, I know

      11    you'll ask again.       I think I will.

      12                 Part of our anticipated presentation today,

      13    if the Court thinks that it's necessary, is a rather

      14    detailed factual recitation, but I think --

      15                 Let's just start off really, which I think is

      16    the Court's sort of preliminary threshold questions

      17    about jurisdiction.        And I think Your Honor kind of

      18    characterized it as there's a direct Article III issue

      19    as it relates to class certification and then one

      20    about, well, they've also filed this motion that looks

      21    very much to us like a motion for summary judgment.

      22    And we believe there's many contested issues mixed up

      23    with that question.

      24                 So I think, as a threshold matter -- and this

      25    is slide 82 in front of you -- there are some important


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        1   sort of admissions or issues that are really not in

        2   play.     So, first of all, Capital One does not dispute

        3   that the Court has subject matter jurisdiction over

        4   plaintiffs' claims for breach of express and implied

        5   contract and unjust enrichment.

        6                THE COURT:       Well, it reserved on those, as I

        7   understand it.

        8                MR. SIEGEL:       That's right.    I mean, as far as

        9   what's before the Court as it relates to class

      10    certification, we don't think there's anything as it

      11    relates to an Article III matter that has not been

      12    effectively conceded for purposes of finding standing

      13    for class certification.

      14                 And there's a good reason for that.           The law

      15    is well-established that a party to a breached contract

      16    has standing regardless of the merits of the alleged

      17    breach.    Likewise, unjust enrichment is a traditional

      18    basis in American courts for standing, which is the

      19    test for whether a claim is justiciable in federal

      20    court.

      21                 So instead, we have this sort of piecemeal

      22    approach where Capital One claims the negligence claim

      23    and state statutory claims based on contested factual

      24    issues of what happened to the data, and that's really

      25    what this comes down to.         We'll demonstrate, after the


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        1   Article III comments here, why this sort of threshold

        2   assumption or presentation that Capital One is trying

        3   to make -- I know the Court understands that the --

        4   from the pleadings that we pled that this information

        5   was, in fact, exfiltrated.

        6                Indeed, the discovery over the last 18 months

        7   has supported those very factual allegations which got

        8   us past the motion to dismiss.          In other words, the

        9   evidence has matched our pleading with respect --

      10    particularly to these questions about what happened to

      11    the data.        At a minimum, we believe there's a factual

      12    dispute with respect to the specific issues that

      13    Capital One has raised.

      14                 THE COURT:        Let me just make sure I

      15    understand your position.          Given the two different

      16    standards, there's the evidentiary standard typically

      17    applicable to an Article III determination where the

      18    Court weighs the evidence and makes factual findings as

      19    to whether or not there's Article III standing.

      20    There's a summary judgment standard applicable to a

      21    merits decision.

      22                 And your view is that if there is a factual

      23    dispute under the summary judgment standard, the Court

      24    can't resolve the Article III issue, based on the

      25    evidentiary standard, by weighing evidence that


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        1   necessarily is a merits issue that has to be resolved

        2   by the ultimate fact finder?          Is that --

        3                MR. SIEGEL:       That's exactly right.       So this

        4   is Kerns.        This is the Fourth Circuit case Kerns.           When

        5   the jurisdictional facts and the facts central to a

        6   tort claim are inextricably intertwined, the trial

        7   court should ordinarily assume jurisdiction and proceed

        8   to the intertwined merits issues.           So that would be --

        9                It's not a question of whether we can come in

       10   the courthouse door.          It's really not a question of

       11   whether the Court can certify a class.             It's really the

       12   next question that comes after that about, okay, what

       13   are these contested factual presentations about Capital

       14   One's perspective.       The genie is back in the bottle.

       15   The data didn't make it past Paige Thompson.               And

       16   that's meaningful versus our position, which is that

       17   impacts perhaps some of our claims, not all of our

       18   claims.

       19                But in any event, we have strong evidence

       20   that this information was -- we know it was

       21   exfiltrated.       That's not contested because Ms. Thompson

       22   has it.

       23                But we have lots of evidence about the risks,

       24   where that data could be, how it can be used to the

       25   harm of the plaintiff class.          All of those are factual


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        1   issues that we believe are going to -- because they're

        2   contested are ultimately going to be determined by a

        3   jury at trial.

        4               And so if you -- if the threshold question is

        5   if the Court finds the jurisdictional facts are

        6   intertwined with the merits, then the Court necessarily

        7   has to assume jurisdiction.          And we think Capital One

        8   is inviting error to come up with a different result.

        9               So the Fourth Circuit cases, Kerns, Vuyyuru,

       10   which is V-U-Y-Y-U-R-U, these are all cases cited in

       11   our papers.      And, effectively, they are saying that we

       12   are missing an essential element of the claim, which,

       13   again, is a merits issue which must be determined as

       14   part of the merits, and the Court should assume

       15   jurisdiction.

       16               And there's actually a very recent -- I'm

       17   going turn to slide 88 skipping ahead a few here.

       18   There's a very recent case called Blackbaud, Inc.,

       19   Customer Data Breach Litigation .          This is an opinion

       20   from the District of South Carolina decided on July 1.

       21   So just a couple of weeks ago.          And it was a similar

       22   challenge there challenging the traceability premised

       23   on the cybersecurity firm's report concluding there

       24   was, quote, no evidence that plaintiffs' PII was on the

       25   dark web or being made -- being marketed for sale.


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        1                It's effectively the identical argument

        2   Capital One is making here, and the court said, Look,

        3   this is intertwined with the merits of the claim and

        4   the causation elements of plaintiffs' tort and, in that

        5   case, consumer protection claims and, therefore, said

        6   it's not appropriate for an Article III challenge.                   We

        7   think that's on all fours.

        8                And, again, the idea that when -- if the

        9   Court determines, as I think it has to, that these

       10   challenges to Article III standing are intertwined with

       11   the merits, it has to assume jurisdiction.                And from

       12   our perspective, the procedural question you asked is

       13   the Court can consider class certification, in our view

       14   should certify the class.

       15                And I'll explain what I think the Court needs

       16   to find with respect to jurisdiction to certify a

       17   class, and then we can move on to the merits, which we

       18   know both Capital One, Amazon, and plaintiffs are eager

       19   to do.     But that's the sequence.

       20                And because that merits challenge, that

       21   causation challenge, they've moved for summary judgment

       22   and incorporated all of these same concepts.                We've

       23   moved for summary judgment on the contract claim.                   Much

       24   of this is going to be factually disputed, we believe,

       25   through a trial, including this question about really


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        1   what is the risk, what is the function of the data

        2   distribution, how much does Capital One know and expect

        3   about this data, you know, and whether it matters if a

        4   jury or the Court finds it ended with the capture of

        5   Ms. Thompson.

        6               We don't think that matters.           It may matter

        7   to one component of our damages claim, the question of

        8   whether the class would need protection prospectively.

        9   But we think that's really a jury question.

       10               And you will hear a lot about today, I

       11   suspect, tomorrow as well, this concept of one of the

       12   plaintiffs' damages theories of course, breach of

       13   contract, the plaintiff should be in the position they

       14   should have been in had Capital One complied with the

       15   contractual obligations to protect this data.                It

       16   didn't.    What is the traditional damage for that?                Put

       17   the plaintiffs in the position they should have been

       18   in.   That's this concept of the future value -- present

       19   value of future monitoring, and we believe that is a

       20   legitimate claim for damage.

       21               That claim for damage might be in question if

       22   Capital One can show that that risk isn't sufficient

       23   enough to support a claim for that damage.                You don't

       24   need monitoring because in Capital One's world, the

       25   genie is back in the bottle.          There's no question that


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        1   nobody can get their hands on this information for

        2   purposes of harming the plaintiffs.

        3               And we'll explain today why, we think, we

        4   have the better of that argument from a factual

        5   perspective, that those arguments that Capital One is

        6   making simply are not consistent with what we

        7   discovered over the last 18 months.

        8               So let me just walk back a little bit on the

        9   jurisdictional question, and then I'll move on to the

       10   facts just to make sure I've touched all the bases that

       11   Your Honor inquired about.

       12               So this is on slide 83, and this is really

       13   where we come from in terms of questions about

       14   jurisdiction.      Can we be here presenting this motion

       15   for class certification, or are we off to state court

       16   with these claims?       And unquestionably, we should be

       17   here.

       18               And it's well settled.         We know from Hutton,

       19   the Fourth Circuit case, of course, applying long

       20   Supreme Court jurisprudence, that the representative

       21   plaintiffs are named plaintiffs in the complaint

       22   representing the class have to meet the injury-in-fact

       23   requirement that there's a causal connection between

       24   the injury and defendant's conduct and the injuries

       25   likely to be redressable by a successful outcome in the


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        1   litigation.

        2               And so we pled those facts.           The Court has

        3   found those facts to be sufficient for purposes of the

        4   initial pleading, not in the context of Article III,

        5   but in asserting our claims.          Examples are on slide 84

        6   with respect to Plaintiff Zielicke, Plaintiff Gershen,

        7   Plaintiff Sharp with respect to actual fraud.               Other

        8   plaintiffs allege fraud as well.

        9               The Court concluded in the order on the

       10   motion to dismiss that plaintiffs suffered actual

       11   misuse of their PII -- that was the claim -- and the

       12   plausible inference that Thompson shared the

       13   information with others or enabled others to receive

       14   that information and plausibly connecting the data

       15   breach to plaintiffs' alleged injuries.             This is

       16   page 28 of Your Honor's order.

       17               This Court further held, based on these

       18   allegations, it is also plausibly alleged that there

       19   exists, beyond the speculative level, the imminent

       20   threat of identity theft.

       21               This is exactly what Hutton said, in the

       22   context of standing, was sufficient.            It's not

       23   different here at the class certification stage.

       24               THE COURT:       Right.   Those were the

       25   allegations --


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        1                MR. SIEGEL:       Those were the allegations.

        2                THE COURT:       -- which the Court accepted as

        3   true.     Right.

        4                MR. SIEGEL:       Yes, those are the allegations.

        5                THE COURT:       And there were allegations that

        6   there was, in fact, fraud experienced by these

        7   plaintiffs that was traceable.

        8                MR. SIEGEL:       That's right.    And so -- but

        9   those facts -- we believe the discovery has borne out

       10   those allegations, and we'll walk through that.

       11                THE COURT:       All right.

       12                MR. SIEGEL:       But the point is there's no

       13   question that these plaintiffs have suffered fraud.

       14   And the question is is it a different standard at class

       15   certification, or is it a question about the merits.

       16   And I think it's very important to keep in mind with

       17   respect to these allegations, there's no case out

       18   there, that we're aware of, that says, well, wait a

       19   minute.     The class certification stage, that looks

       20   different.

       21                And we'll explain how it doesn't matter

       22   because all plaintiffs and all class members plainly

       23   have standing.       That's what I want to walk through

       24   with -- for Your Honor.         Because this should not be an

       25   issue at the class certification stage.             We believe


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        1   it's an Article III matter.

        2               We can fight about what is a contested

        3   material fact for purposes of a Rule 56 motion.               We

        4   think Your Honor is going to conclude that there are

        5   lots of contested material facts and that we'll end up

        6   with the folks in that box deciding yea or nay.               But as

        7   it relates to this motion, we don't think it's well

        8   taken.

        9               So, again, we will walk through.              We're just

       10   sequencing a little different than we had intended, how

       11   we were intending to approach this, but we will walk

       12   through those facts.         Then we can return to the

       13   standing if Your Honor still has questions.

       14               And, look, as I said, we know -- as I

       15   mentioned earlier, to unpack this a little bit, this is

       16   slide 86 -- that the challenges at best only apply to

       17   predominance questions.         Okay.   So there might be a

       18   question -- they didn't present it this way, but if you

       19   were being charitable to Capital One here, the question

       20   of whether everybody was harmed in the same way for

       21   purposes of later establishing Article III standing or

       22   asserting the same claims or damage, those are

       23   predominance questions that could theoretically impact

       24   the Court's consideration of class certification but

       25   shouldn't in this case.         Because the challenges that


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        1   the defendant is making here -- defendants, I should

        2   say, are challenging in the first instance the

        3   representative plaintiffs actual fraud, which is not

        4   asserted as a classwide injury.

        5                And so, Your Honor, how we intend to try this

        6   case is we have -- and I'm going to go through these in

        7   detail, in Comcast level detail, the Supreme Court case

        8   that -- and you asked this question maybe a year ago:

        9   What damages attach to what claims?            We're going to go

       10   through that in great detail so Your Honor is

       11   comfortable with what we're asserting and the basis for

       12   those claims.      We are not -- the classwide claims and

       13   the classwide damages apply to all class members the

       14   same way, and we will walk through that in detail.

       15                The second thing they're challenging, these

       16   mitigation costs of individual named representatives,

       17   likewise, they're not a classwide injury that

       18   plaintiffs are asserting.

       19                And then sort of in the end here tossed in is

       20   this concept that the present value of future credit

       21   monitoring cannot apply based on TransUnion .              That's

       22   the damage I mentioned earlier, again, based on a

       23   merits determination that this information cannot be

       24   out there suggesting that any further monitoring is

       25   necessary.      So --


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        1               THE COURT:       The mitigation damages really

        2   just is -- the appropriateness of that as an element of

        3   damages is tied, isn't it, inextricably to whether

        4   there's satisfied the injury-in-fact element?               Because

        5   if there's no injury-in-fact, I guess it's Ramirez and

        6   others have said you can't establish injury by virtue

        7   of even reasonable efforts to mitigate what you

        8   perceive as a threat.

        9               MR. SIEGEL:       Not quite right on how this

       10   lines up with Ramirez.         So let me walk through that.

       11               THE COURT:       All right.

       12               MR. SIEGEL:       Because Ramirez is a completely

       13   different case.      Ramirez, as a threshold matter, right,

       14   is a statutory claim.

       15               THE COURT:       Right.

       16               MR. SIEGEL:       This is on slide --

       17               THE COURT:       The analysis is the same.        It's

       18   the same elements of the Article III analysis, correct?

       19   Whether it's a statutory claim or a common-law claim,

       20   it still comes down to the three elements of

       21   injury-in-fact, traceability, and redressability.

       22               MR. SIEGEL:       That's right, but it's not as

       23   applied.    Because in a common-law claim -- let's take

       24   the contract claim.

       25               THE COURT:       Right.


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        1                MR. SIEGEL:      The contract claim, the

        2   common-law claim, it's assumed under the law that there

        3   is damage.      All elements of the claim are met once the

        4   contract is breached.        That's it.

        5                THE COURT:      Well, I'm not sure that's quite

        6   right, actually.

        7                MR. SIEGEL:      It is, and I'm happy to walk

        8   through the law here on that.            Because we do think that

        9   what the Supreme Court of Virginia has said is that the

       10   claim is fully formed upon breach.

       11                THE COURT:      Isn't it an element that you need

       12   not only a contract and a material breach, you also

       13   need a consequential injury?

       14                MR. SIEGEL:      But the law assumes an injury.

       15   Even a nominal -- even a nominal one.            So, for example,

       16   the statute of limitations starts clicking away upon

       17   breach, not upon injury.         It's not -- a negligence

       18   claim would be different, Your Honor.            A negligence

       19   claim --

       20                THE COURT:      Stick with the contract claim.          I

       21   know it's not involved here, but I think we're going to

       22   end up getting to that eventually anyway.

       23                MR. SIEGEL:      We will.     Let me walk --

       24                THE COURT:      Let me just throw out a question

       25   that I have.


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                                                                           21


        1                MR. SIEGEL:       Yeah.

        2                THE COURT:       That is, if, in fact, you're

        3   right that under Virginia common law a mere breach is

        4   sufficient de facto injury, that doesn't necessarily

        5   mean that it's sufficient Article III injury; does it?

        6                MR. SIEGEL:       We think it does, sure.       The

        7   concept of injury is not one that you have to show I'm

        8   out a million dollars or I have this broken leg.                The

        9   court implies in a common-law claim -- and again,

       10   there's no Supreme Court case.          In fact, the Supreme

       11   Court has been very consistent about treating these

       12   statutory claims -- and this is what TransUnion talks

       13   about, that if Congress is going to go create a law

       14   that says if A and B happened, you're entitled to

       15   $1,000, then there needs to be something more than a

       16   risk of that harm.

       17                So let's just use TransUnion as an example.

       18   Let's say there's roughly 8,000 of these folks that

       19   TransUnion has in their records that are labeled as

       20   potential terrorists and there's some number of those

       21   that have credit reports issued with that information

       22   on it.     That's all that happens.

       23                The court had no trouble finding that those

       24   people were injured for purposes of Article III.                It

       25   was the people that TransUnion only had a record of.


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        1   They never communicated that information to anybody

        2   else, and there was a stipulation that said it's only

        3   the smaller group that actually credit reports issued

        4   that suffered injury.

        5               THE COURT:       Right.

        6               MR. SIEGEL:       But they had no trouble once

        7   that report is issued that there was injury.               And in a

        8   breach of contract case, once you do have a breach, you

        9   also have an injury.         We have significant claims for

       10   direct injury that --

       11               THE COURT:       But the thing about Ramirez, as I

       12   reflect on it in light of what I think are going to be

       13   some of the central arguments here, and that is why

       14   Article III standing in Ramirez, with respect to the

       15   people whose credit reports hadn't been yet

       16   distributed, was not a jury issue?

       17               MR. SIEGEL:       Oh, I think it was.         I think

       18   that's what Ramirez was all about.            There was a verdict

       19   that included those people.

       20               THE COURT:       No.   But why the Supreme Court

       21   wouldn't say -- I think they even admitted this --

       22   there may be a substantial future risk that if another

       23   creditor would request the credit report of somebody

       24   whose credit report hadn't yet been distributed,

       25   there's certainly a substantial threat that that might


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        1   happen.     Therefore, it's a merits issue.          It goes to

        2   the jury.

        3                MR. SIEGEL:       Well, it did go to the jury.

        4   And I think what the Supreme Court says is that

        5   plaintiffs failed in their proof with respect to that

        6   cohort.     I think that's what -- I mean, we know from

        7   Lujan that Article III standing kind of moves along

        8   with the case.

        9                THE COURT:       Right.

       10                MR. SIEGEL:       Most of the law still says, at

       11   the class certification standpoint, you need one

       12   representative plaintiff that has standing.               That's it.

       13   That's your Article III obligation, whether the claim

       14   is justiciable in federal court.             That's it, and we

       15   think we have that without question.

       16                THE COURT:       All right.

       17                MR. SIEGEL:       What Ramirez ultimately said was

       18   it was a failure of proof.             Remember, the parties had

       19   this stipulation that said, you know, we know with

       20   respect to this group, the information id out.               But it

       21   was clear that the harm was -- there was no risk.

       22   There was no possibility of harm because the time

       23   period had closed when TransUnion took care of it.                  The

       24   Supreme Court said, look, it's not in the stipulation,

       25   and so we find that it's a failure of proof.


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        1               And I think the analogy at the oral argument

        2   that comes up in the opinion is a fairly good one that

        3   they talked about.       You leave the courthouse.            You're a

        4   quarter of a mile ahead of a drunk driver.                 You make it

        5   home, and you're safe in your house.              Right.     Okay.     On

        6   the way home, were you at risk?           Sure.     But once you

        7   made it home and your car is in the garage and you're

        8   in the house, that's cabined.          It's over.      It's finite.

        9               That what's they said also in the opinion.

       10   That's what the majority equated that cohort that did

       11   not have this information published.              Again, held only

       12   at TransUnion , never distributed.

       13               We have the exact opposite here with respect

       14   to that cohort.      The plaintiffs here are like the

       15   cohort that the court found no trouble finding standing

       16   and affirmed the jury's verdict with respect to that

       17   group because here -- I mean, this is what Capital One

       18   is trying to argue is a merits issue.              It's exactly why

       19   it should be done at trial.

       20               Because Capital One is trying to say, as a

       21   matter of fact, we're going to show by a preponderance

       22   of the evidence that this evidence could not have made

       23   it past Paige Thompson under any circumstances and that

       24   when Paige Thompson was caught, it was in a box.                 And

       25   there's no holes that box.         There's no mechanism for


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        1   any information to get out.           And, therefore, the class

        2   is just like that cohort in TransUnion for which the

        3   court found ultimately --

        4               THE COURT:       So what are the facts that get

        5   you to the jury on these?

        6               MR. SIEGEL:       Yeah.    Well, let's go there

        7   because that is what we think is sort of the critical

        8   nuts and bolts here.

        9               And if I can back up a little bit and just

       10   wind up a little bit of the factual presentation.

       11               THE COURT:       All right.

       12               MR. SIEGEL:       Because I do think it offers

       13   some context to exactly that question, Judge.               And I

       14   will move through the facts quickly -- because I know

       15   you know the background facts -- and focus on the exact

       16   question you just asked.

       17               But let me start with what is an overview of

       18   what happened here.       We know back in 2015 that Capital

       19   One began moving information to the cloud based on its

       20   cloud-first strategy.        We'll present information about

       21   the known risks with that here momentarily.

       22               But just with respect to the specifics, we

       23   know that in March of 2019, the attacker began scanning

       24   Capital One's assets.        Now, that's exfiltration.          So it

       25   immediately removes it from cases where, oh, the


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        1   information didn't make it out or there's no evidence

        2   of it.     But they conceded that the information is out

        3   and it's out by a criminal hacker.            That's on March 23,

        4   2019.

        5                And then there's this period of over four

        6   months where Ms. Thompson is publicizing the fact she

        7   has this data and, as we'll explain, threatening to

        8   release it, some of the information that you asked

        9   about.

       10                Eventually, a white hat hacker tells Capital

       11   One that the AWS data was publicly available on GitHub,

       12   which is where she published instructions on how to

       13   repeat the breach.       After an internal investigation,

       14   Capital One identified that they had been hacked, and

       15   eventually, Ms. Thompson was arrested.

       16                So this ties, of course, directly to the

       17   claims.    And I just want to run through this quickly

       18   because I do think this goes to the standing issue as

       19   well.     Your Honor knows about the privacy notice, the

       20   promise to all applicants to keep this information safe

       21   and confidential, and that they employ security to

       22   prevent exactly what happened here.            That's the

       23   promise -- they did that for everybody who applied for

       24   a credit card at Capital One -- applying to all

       25   customers, applicants, and former customers.


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        1               Then we also know that with this migration to

        2   the cloud, that Capital One was one of the first major

        3   banks to do it.      I know you know this from our

        4   arguments last year on the motion to dismiss.               But

        5   Capital One made decisions about that.             It retained

        6   this data indefinitely, even for applicants who had no

        7   credit card with Capital One.          And it was stored on the

        8   cloud for both Capital One's benefit, but also Amazon's

        9   benefit.

       10               So when they did all this, they did it with

       11   these known vulnerabilities.          The way we look at

       12   this -- and I think in answering Your Honor's question,

       13   how will this unfold to a jury, well, let's talk about

       14   what was happening before the breach.            When they moved

       15   this information, what were the risks they were putting

       16   everybody at?      What did they know at the time?

       17               There was the ModSec WAF.          I know that's a

       18   term Your Honor recalls, the ModSec WAF.             It was set to

       19   on.   It should have been switched to off.             They were

       20   supposed to check it quarterly.           They never did, and it

       21   sat that way for four years.          Once they started their

       22   migration to the cloud, they did not bother to go back

       23   and check the misconfiguration.

       24               In fact, it was discovered prior to the

       25   breach, and we know that, too.          We're on slide 14.


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        1   Different groups within Capital One noticed this

        2   setting was incorrect.        Some fixed it.       But then

        3   complaints to cyber effectively went unanswered, and

        4   they went unanswered because they were transitioning to

        5   another product, a Barracuda product.            But that was

        6   never implemented before the breach after months and

        7   months or years of delay.

        8               We also know about this SSRF forgery attack

        9   and how that could be used to capture this information

       10   from the AWS cloud, this Capital One data.                They

       11   identified that threat.        We have documents at least as

       12   far back as August 2018.         That's on slide 15.

       13               They also knew their roles, their

       14   permissions.      Recall this fact, that part of the

       15   problem, part of what Ms. Thompson compromised were

       16   overpermission roles allowing her not just to look at

       17   this data for this purpose.          But once she was in there,

       18   she could look at the entire dataset, and that's how

       19   she was able to extract what is equivalent to about a

       20   billion pages of documents involving nearly 100 million

       21   Capital One customers.        So this is AWS explaining how

       22   Thompson accessed and used these overpermission roles

       23   to complete the breach.

       24               In January '19 -- still pre-breach -- they

       25   identify a number of weaknesses that have been


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        1   identified as part of the penetration testing and,

        2   again, identify the need to further restrict access

        3   privileges, including enforcement of the principle of

        4   least access, which our experts talk about in detail,

        5   within the environment.          They failed to do it.

        6                Then, finally, there was a problem of

        7   detection.       Again, this is a major evidentiary point

        8   that, I think, addresses Your Honor's question.

        9                MR. BALSER:       Your Honor, if I may.       I'm sorry

       10   to interrupt Mr. Siegel.             Before the hearing, I had

       11   identified to Mr. Siegel 12 documents out of the

       12   350,000-some-odd documents that have been produced in

       13   the case as being particularly sensitive and documents

       14   that are under seal and subject to the protective

       15   order.     Because I believe we have an open line here --

       16                THE COURT:       Yes.

       17                MR. BALSER:       -- I wanted to be vigilant with

       18   respect to those documents to the extent they were

       19   going to be introduced.          This is one of them.

       20                What I would suggest, if it's appropriate in

       21   Your Honor's view, is that we come to sidebar and

       22   discuss these with a sound muffler or otherwise just

       23   mute the public line while just these very few handful

       24   of highly sensitive documents are publicly aired.

       25                THE COURT:       All right.     Are you going to get


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        1   into the substance of these at all?

        2               MR. SIEGEL:       A little bit, Your Honor,

        3   because they go directly to the question you asked.                  So

        4   I think we have to.       I mean, from our perspective, it's

        5   an open hearing, but we'll do whatever the Court wants.

        6   We're not trying to --

        7               THE COURT:       These documents are under seal?

        8               MR. BALSER:       They are.

        9               MR. SIEGEL:       They are, Judge.

       10               THE COURT:       All right.    I don't know if we

       11   can mute the public line.

       12               We can?

       13               THE CLERK:       Yes, sir.

       14               THE COURT:       All right.    Let's mute the public

       15   line for this purpose.

       16               MR. BALSER:       Thank you, Your Honor.

       17               MR. SIEGEL:       I think I know when it stops,

       18   but I'll get the high sign from Mr. Balser before --

       19               THE COURT:       All right.    You are comfortable

       20   with everyone in the courtroom?

       21               MR. SIEGEL:       Your Honor, we believe there may

       22   be some press in the courtroom.

       23               THE COURT:       All right.    Let's do it at the

       24   sidebar then.      Let's go back and open up the public

       25   line.


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        1         (Under seal bench conference under separate

        2         cover.)

        3                THE COURT:        All right.

        4                MR. SIEGEL:        Your Honor, I do want to talk

        5   about some of the additional technical vulnerabilities

        6   and how those were really a function of what were

        7   significant problems at Capital One with respect to

        8   their cybersecurity risk management.

        9                Slide 22, again, in April of 2019.            So by

       10   this date, you'll recall from the time line,

       11   Ms. Thompson has exfiltrated the data of the class, the

       12   98 million class members, and Mr. Holmgren, who is vice

       13   president for cybersecurity risk management and interim

       14   chief cyber risk officer, drafts this memo to the risk

       15   committee of the board of directors.

       16                And keep in mind, Capital One is completely

       17   oblivious that Ms. Thompson has exfiltrated all of this

       18   information.

       19                And among other things, Mr. Holmgren here is

       20   identifying the number of high-severity security

       21   vulnerabilities for externally-facing applications

       22   within the system noting that 81 percent or 1,331 being

       23   past due.        It's really one of many documents in the

       24   record showing unresolved issues across its systems

       25   that were not timely fixed.


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        1               I will skip over 23 and 24, which we

        2   discussed at the bench, and move to 25, and this is now

        3   post-discovery.

        4               And, Judge, again, in terms of what a jury

        5   will hear with respect to this question of what

        6   happened to the data, in large part, comes from Capital

        7   One's own documents.         So, for example, we have

        8   Mr. Shultz, Christopher Shultz here, communicating on

        9   July 23, 2019.      His is the director of cloud

       10   engineering.      He says in talking about the breach:              So

       11   bad proactive scanning, bad CSOC -- which is the

       12   cybersecurity operation center response -- bad

       13   perimeter management and a bad response purged the data

       14   events records making it more difficult to assess.                  I'm

       15   not finding anything they've done right.

       16               Kyle Busekist, B-U-S-E-K-I-S-T, a lead

       17   software engineer responds:          They saved money.

       18               And that is indeed what Anthony Johnson, who

       19   is the former managing vice president of cybersecurity,

       20   testified in his deposition, that Capital One placed

       21   profit over consumer protection.

       22               And, again, the lead-in as to what was going

       23   on when they -- they wanted to be at the head of the

       24   curve in the banking industry of moving to the cloud.

       25   When they presented their efforts to move to the cloud


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        1   at an AWS conference back in 2015, they said, you know,

        2   we're not going to do it by sending a little bit of

        3   data and trying to attack little problems.                We're going

        4   to send all the data and try to attack the big

        5   problems.

        6                But they just did it without the adequate

        7   protections in place, which unfortunately were brought

        8   to bear and resulted in this breach.

        9                Let me touch on AWS and what they knew, and

       10   then we'll get into a little more of the specifics on

       11   the exfiltration issues.         AWS knew as early as 2017 of

       12   the forgery attack vulnerability that was exploited in

       13   the breach.       They knew that Capital One could not

       14   figure out that they were struggling with how to

       15   permission these roles, these access roles, and did not

       16   take action until after the breach.

       17                And Your Honor knows from the order on the

       18   motion to dismiss the guard duty problems, its gap in

       19   coverage, including in Stockholm where the breach of

       20   data is believed to have come from.            So they jointly

       21   worked on these efforts to protect the data.                They know

       22   it's an issue, and they fail and fail miserably.

       23                So they also both knew -- this is both Amazon

       24   and Capital One -- that these Amazon buckets, these

       25   simple storage solution buckets accessed by Thompson


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        1   were Internet accessible.         In other words, it was not a

        2   situation where you have to be a Capital One employee

        3   trying to access the data from a Capital One computer.

        4   Anybody with an Internet connection could access this

        5   data.

        6               We also know that there were many

        7   opportunities to timely discover the breach, and we

        8   talked a little bit -- there was at least three, and

        9   the first one in detail is on slide 32.             Mr. Hopkins --

       10   this is in a chat post-breach July 23 talking with

       11   Devon Rollins, the senior director of cyber

       12   intelligence.      Mr. Hopkins, who was the director of

       13   cyber intelligence -- Mr. Hopkins says, there were so

       14   many lessons learned.         I am devastated that CSOC didn't

       15   escalate the alerts.         They were so critical and obvious

       16   in hindsight.

       17               In other words, it was obvious that they had

       18   alerts that they didn't act on that would have flagged

       19   this breach in process and immediately after, none of

       20   which were followed.

       21               And then Capital One engaged KPMG to do a

       22   risk assessment of the Cybersecurity Operations Center

       23   that Mr. Hopkins was referring to.            So again,

       24   post-breach, December '19, backward looking, and KPMG

       25   identifies the Cybersecurity Operations Center, which,


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        1   again, is tasked with identifying these alerts, which

        2   misdiagnosed the alerts that related to the data breach

        3   and found deficiencies across people, processes, and

        4   technology.      I won't read all of these.

        5               I'll point you to a couple, Your Honor.              With

        6   respect to people, KPMG found that the CSOC lacked

        7   sufficient staffing, resources, and technical expertise

        8   to execute its core responsibilities.            With respect to

        9   processes, KPMG identifies that there were gaps in the

       10   intake process for threat information and undefined

       11   excalation procedures.        They found that -- the third

       12   bullet point -- alerts are not regularly reviewed or

       13   updated for continued relevance or enriched with the

       14   most current threat indicators.           And with respect to

       15   technology, KPMG reported that the Cybersecurity

       16   Operations Center lacks comprehensive visibility into

       17   potential threats throughout the enterprise due to the

       18   lack of consolidation logging from all security

       19   information and event management tools and the lack of

       20   deployment of decryption capabilities and gaps in

       21   cloud.

       22               So, again, Capital One promises to protect

       23   all this data, and this is what's going on.               In fact,

       24   once they promised to protect the data, we also know

       25   that Amazon had an opportunity to -- at least two


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        1   opportunities to detect the breach.            First, in May

        2   2019, someone passed an Amazon employee a note at a

        3   conference -- there's a picture there on slide 36 --

        4   and it stated that Capital One had an open SOCKS proxy

        5   and identified the IP address.

        6               This note was passed along to Capital One,

        7   but there's no indication anywhere in the record that

        8   any action was taken on this at the time.

        9               Amazon also employed what are known as

       10   honeypots, Your Honor.        These are sort of efforts to

       11   create false targets.        In April 2019, that, in fact,

       12   detected an attacker who was performing the same

       13   activity as Paige Thompson on AWS cloud products.                AWS

       14   did not notify its customers of this threat, including

       15   Capital One.      It, obviously, would have shortened the

       16   time, at least, that all of this information was

       17   publicly available, including instructions on how to

       18   repeat Ms. Thompson's efforts.

       19               So let me skip ahead, Your Honor, because a

       20   new document that was the source of significant

       21   litigation in front of Judge Anderson came to light in

       22   the discovery process that we think does several things

       23   with respect to liability.         We think this is a key

       24   document in the case and are sort of flagging it for

       25   you for that purpose, and I'd like to go through it in


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                                                                              37


        1   some detail.

        2               So this is the Office of the Comptroller of

        3   the Currency findings with respect to the data breach.

        4   It's attached to our motion at Exhibit 14.                This, we

        5   believe, will be admissible at trial.            I don't think

        6   that's a determination the Court needs to make now, but

        7   it is plainly a record of a public office in a civil

        8   case and factual findings from an authorized

        9   investigation under 803(8)(A)(iii).            There are other

       10   hearsay exceptions we think apply to this document.

       11   Again, it's not a determination the Court needs to make

       12   now, but I do think, when Your Honor asked about

       13   evidence, this is an important place to start.

       14               So this is the supervisory letter that the

       15   OCC sent to Capital One following the breach.                On

       16   slide 42 is the first conclusion offered by the OCC,

       17   and that is that the overall quality and effectiveness

       18   of Capital One's cloud operations are weak.

       19               Moving on from there, management's ability to

       20   identify and appropriately manage technology and

       21   cybersecurity risks is ineffective.            Weaknesses were

       22   identified across all three lines of defense, including

       23   governance and oversight, first and second line risk

       24   management, network configuration, and asset management

       25   processes, security processes, and internal audit.


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        1                They go on from there that the OCC identified

        2   foundational technology and cybersecurity weaknesses

        3   and control breakdowns within cloud operations that

        4   contributed to the data breach, concluding that during

        5   this incident, an attacker was able to penetrate

        6   Capital One's cloud environment undetected on several

        7   occasions and downloaded sensitive credit card

        8   application data from cloud storage buckets housed at

        9   Amazon Web Services on over 100 million customers in

       10   the United States and Canada.           That's the first

       11   conclusion of several, Your Honor.

       12                The OCC goes on, in their second conclusion,

       13   that the governance and oversight of cloud operations

       14   are weak.        Management had several warning indicators

       15   from both internal and external sources that risk

       16   management activities needed improvements prior to the

       17   cybersecurity incident.

       18                Again, the case is premised --

       19                MR. BALSER:        Your Honor, I'm sorry to

       20   interrupt.        This is a document that's under seal and

       21   also should not be exposed publicly.            I apologize for

       22   not having flagged it.

       23                THE COURT:        All right.   You can refer me to

       24   the page.        I can look at it.

       25                This is their assessment as of December 2019;


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                                                                           39


        1   is that right?

        2                MR. SIEGEL:       It is.

        3                THE COURT:       All right.

        4                MR. SIEGEL:       Your Honor, I would like to --

        5                THE COURT:       You've underlined what I think

        6   you're reading.

        7                MR. SIEGEL:       I've underlined the headlines of

        8   those conclusions.

        9                THE COURT:       Yes, and the Court has this and

       10   will review it.

       11                MR. SIEGEL:       So, Your Honor, while we're here

       12   then, I'll just submit the PowerPoint as an exhibit to

       13   the argument so it's in the record and there's no

       14   dispute about that.

       15                THE COURT:       All right.   Some of the slides

       16   will have to be redacted.

       17                MR. SIEGEL:       It can be under seal.

       18                THE COURT:       All right.   That's fine.

       19                MR. SIEGEL:       I would like an intact version

       20   of it as part of the record, and I have no objection to

       21   the entire thing being under seal until otherwise

       22   directed.

       23                THE COURT:       All right.   Then portions can be

       24   unsealed.

       25                MR. SIEGEL:       Yes, Your Honor.


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        1               THE COURT:       All right.

        2               MR. SIEGEL:       So I'll just refer to them by

        3   number then, Your Honor.

        4               THE COURT:       All right.

        5               MR. SIEGEL:       So Conclusion 3, obviously,

        6   we've underlined the headline to this particular

        7   portion.    But it's important, we think, to read each

        8   and every paragraph here.         Because, again, we think

        9   this is exactly what the jury is going to hear about

       10   Capital One's conduct and whether they personally

       11   breached the contract; whether they breached their

       12   independent duty, pursuant to our negligence claim, to

       13   protect this information; and with respect to those

       14   negligence claims, whether punitive damages are

       15   appropriate.      It's a claim in the case, and we think

       16   this is a key document that supports it.

       17               THE COURT:       All right.

       18               MR. SIEGEL:       Conclusion 4:     Again, you can

       19   read, and we ask the Court to do that.

       20               Conclusion 5, Conclusion 6, Conclusion 7, I

       21   think, is particularly important, Your Honor.               This is

       22   a finding that Your Honor can read.            It is underlined,

       23   and I will effort not to disclose the contents of it.

       24   But it is an important issue in the case.

       25               One of the questions, of course, in the case,


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        1   that is discussed in expert testimony.             Okay.     What

        2   does it mean when you say that you're going to follow

        3   federal law in the privacy notice?            That is one of the

        4   things that Capital One is promising to do.                We promise

        5   to follow federal law.        That is their contractual

        6   obligation in the privacy notice, and the OCC's

        7   Conclusion No. 7 addresses that.

        8               THE COURT:       All right.

        9               MR. SIEGEL:       And then, Your Honor, this is

       10   perhaps the key point:        At the end of the day, as

       11   reflected in this letter, on page 50, there is,

       12   obviously, what we view as a significant admission.

       13   Your Honor can read it.        But the senior management from

       14   Capital One participated in the exit meeting where

       15   these conclusions were communicated to Capital One.

       16   You see there's all the key folks there related to

       17   cybersecurity, internal audit folks, corporate

       18   secretary, chief information officer, the interim chief

       19   information security officer, the chief risk officer.

       20   You can read the underlined statement in this OCC

       21   letter.

       22               So look, again, as back to the threshold

       23   question what is the jury going to hear and what are

       24   they going to see, it's this.          And if the question is

       25   did Capital One breach its contractual obligations, did


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                                                                           42


        1   Capital One breach a duty, an independent duty to

        2   protect this information, this information -- to, I

        3   think, answer your question that you asked at bar a

        4   little further, the reason we think this is so

        5   important and the reason we're presenting it as part of

        6   class certification, this applies to 98 million people

        7   all the same way.

        8                There is nothing in anything I've showed you

        9   related to what Capital One knew before the incident,

       10   while it was happening, what they said afterwards about

       11   how bad they were before, none of that impacts class

       12   members differently based on any criteria whatsoever.

       13   All of these documents apply to everybody the same way,

       14   and that is really the touchstone of what a class

       15   action is:      Is the evidence going to be presented in a

       16   way that is universal to the class.            And we think

       17   absolutely it is.

       18                And thank you for indulging me for going

       19   through some of those facts.

       20                THE COURT:      All right.

       21                MR. SIEGEL:      So finally, where does this end

       22   up?   It ends up with the identification of those

       23   failures of Capital One's management and board, the

       24   OCC, and the Federal Reserve Board levied an

       25   $80 million fine against Capital One and issued related


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        1   consent orders.

        2               So let's talk a little about the impact of

        3   that.   We talked about just the numerical impact across

        4   the class of what data was compromised at the bench.

        5   Slide 54, this is an internal summary of what was

        6   exfiltrated, and this is important for several reasons.

        7   First of all, 54 shows this, again, Capital One's

        8   Project Star report post-breach.           It identifies exactly

        9   what was exfiltrated, and it identifies that it's in

       10   easy-to-use data formats and that it can be used to

       11   build customer profiles.

       12               In other words, the different exfiltrated

       13   dataset -- and our expert talks about this -- can be

       14   used to collect data and create profiles about a single

       15   person, typically through an account ID.             So an account

       16   ID might have a piece of data in one dataset.               That

       17   same account ID linked to your name, Your Honor, would

       18   be searched in these other databases.            You would build

       19   a profile for Your Honor's name across those databases.

       20               And so the other important point of this data

       21   and the data on the previous slide that I identified

       22   for Your Honor at the bench is that we can slice and

       23   dice the data any way we need to ensure that the

       24   class -- if there's some claim that is truncated for

       25   some reason or we get to a point in the case where


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        1   there's an issue about, well, this person ended up with

        2   a card and these people didn't, we know exactly who

        3   those people are.

        4               And so there's this concept often overused of

        5   ascertainability in class action litigation.               But the

        6   real question is:       Do you know who these people are?

        7   Can you identify them based on objective criteria?                  And

        8   the answer is yes.

        9               And we know that from the way these datasets

       10   were not only comprised but the way they were held by

       11   Capital One.      Again, our expert looked at the datasets,

       12   actually found some additional information that Capital

       13   One had not.      But in any event, it's all there.            It's

       14   all objective, all ascertainable.

       15               The next slide I've talked about really

       16   already.    This is Kevin Mitnick.         I know you will hear

       17   a lot about Kevin Mitnick tomorrow.            Mr. Mitnick looked

       18   at the dataset.      He confirmed the data that Capital One

       19   identified in their interrogatory response.               He

       20   identified these essential building blocks and how they

       21   could be built upon by comparing these databases.                He

       22   confirms in detail that this is exactly the kind of

       23   data fraudsters would use to commit exactly the kind of

       24   fraud suffered by our plaintiffs and how that data can

       25   be internally enriched from those datasets but also


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        1   externally enriched.          And, again, I know that's the

        2   subject of a motion in limine, which we'll take up

        3   tomorrow.

        4                And this brings me, Judge, finally, to

        5   perhaps the question you asked 30 minutes ago, which is

        6   what do we know about exfiltration.             So we know about

        7   what we view as very bad conduct that would support a

        8   claim of punitive damages in this case with respect to

        9   a negligence claim, that those facts apply to everybody

       10   the same way.       The question you asked, you know, is

       11   this data exfiltrated, and we do know it was

       12   exfiltrated.       It was exfiltrated by a hacker as a

       13   result of the defendants' negligence.

       14                Again, this question about whether Capital

       15   One is going to be able to prove it can put the horse

       16   back in the barn or the genie back in the bottle or

       17   whatever analogy you want to use, we're skeptical and

       18   believe it's a deeply disputed factual issue.

       19                But, again -- I mentioned this in the first

       20   few minutes of the discussion -- if this is something

       21   that Capital One ultimately can prove, it impacts one

       22   claim of damage, and that is whether this class needs

       23   to have monitoring going forward.           If Capital One can

       24   prove this data is not out there, there is no risk to

       25   anybody anymore because the genie is back in the


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        1   bottle, the horse is back in the barn, then, sure, they

        2   may be able to make a case that we don't need

        3   prospective monitoring.

        4               But all the other claims survive, and I'll

        5   talk about the damages at some length as we move

        6   forward here.      But what we characterize as the license

        7   value for the PII survives.          The disgorgement for

        8   unjust enrichment survives, and of course, the

        9   alternative claim for nominal damages survive.

       10               I mentioned briefly at the bench that there

       11   are well-worn concepts at common law about, okay, what

       12   happens -- you know, Capital One has said, well, how do

       13   you even know that this fraud that your representative

       14   plaintiff had was the result of our breach?               There's

       15   been a lot of breaches.        That's another sort of

       16   collateral attack, but it's one that Virginia law

       17   speaks to about what happens when there's a single

       18   injury but perhaps multiple causes, multiple negligent

       19   acts, some of whom you may know, some of who you may

       20   not know, and the concepts of concurring negligence.

       21               We've put some significant thought into a

       22   trial plan for this case, Judge, and there's little

       23   doubt that under Virginia law, which will apply here,

       24   under these concepts of negligence, that it's going to

       25   be up to the jury to determine whether there's a


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        1   sufficient indication that Capital One is responsible.

        2   Then it's Capital One's responsibility to say, We're

        3   not.

        4                And this was addressed, actually, in a data

        5   breach case -- the next slide -- a Seventh Circuit

        6   Case.   It took up the question in the Neiman Marcus

        7   case about -- the defendant was raising this precise

        8   issue that, well, wait a minute.           There's all kinds of

        9   breaches.

       10                I think you know:        Mr. Balser and I worked

       11   together on the Equifax case on opposite sides.                They

       12   have mentioned that case.          They mentioned other

       13   breaches.        But if there are multiple companies that

       14   could have exposed the plaintiff's private information

       15   to the hackers, then the common law of torts has long

       16   shifted the burden of proof to defendants to prove that

       17   their negligent actions were not the but-for cause of

       18   the plaintiff's injury.          It is very much a jury

       19   question.        And how ultimately those burdens play out at

       20   trial, obviously, will be the subject, I suspect, of

       21   much.

       22                THE COURT:        I think there was a first year

       23   torts class on this issue, who shot the gun.

       24                MR. SIEGEL:        I suspect we'll have lots of

       25   briefing about who shot the gun between now and trial,


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        1   Judge.

        2               But conceptually, these are issues that -- I

        3   think the jury is going to be instructed.              We'll figure

        4   it out.    But these concepts of, well, you know, having

        5   established definitively that this information was out,

        6   that it was hacked, you know, what comes next and what

        7   the impact of that is we believe are all jury

        8   instructions.      And I suspect we'll have an opportunity

        9   to brief at length what those instructions should look

       10   like.

       11               So let's look at what Capital One is saying

       12   about this exfiltration because this is really the

       13   basis of the question you asked.           What they've

       14   incorporated into the class certification process is

       15   this idea that the genie is back in the bottle, and

       16   they point primarily to what the government said in a

       17   criminal case.      That's what they're pointing to.

       18               They have an internal document where they do

       19   a sort of psychoanalysis of Paige Thompson, and they're

       20   like, well, you know, based on that -- they call it a

       21   theory, and then they have this, which is the criminal

       22   complaint and what the DOJ has done in a criminal case

       23   about what charging decisions they're making under a

       24   different proof standard in a criminal case.               That's

       25   what Capital One is presenting to this Court to make a


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        1   finding to cut off liability in this case.

        2                And the way the government characterized it

        3   was, quote, We believe and hope we have recovered the

        4   stolen data in the case.         We believe and hope.

        5                In the same filing, they say, Regardless of

        6   what Thompson might promise to the Court, she

        7   previously threatened to disseminate stolen data

        8   containing tens of millions of people's personal

        9   identifying information.         Again, this question of

       10   further exfiltration, whether other people could have

       11   had it, it's very much a disputed issue.

       12                And again, just even looking at Capital One's

       13   own documents, the first one I'll show you on slide 61.

       14   This is part of the Project Star evidence.                She

       15   publicly shared the information for how to access the

       16   data.   We've explained that in our papers, but this is

       17   Capital One describing how this information was

       18   available on Twitter, how she posted it to GitHub

       19   providing the keys, if you will, to this Capital One

       20   data that was available for anybody to access.

       21                On the next slide, this is the hacker

       22   herself.     This is what she's saying publicly and what

       23   the jury will see, and the jury will decide whether

       24   there's additional exfiltration.           I want to get it off

       25   my server.      That's why I'm archiving all of this.            So


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        1   erratic is Ms. Thompson.         That's a stipulated fact in

        2   the case.        So she's communicating with other people

        3   publicly and publicly stating that she wants it off her

        4   server and is archiving the information.

        5                Slide 63, she says, I am going to give this

        6   all to this desperate Chinese dude who scams people.

        7   Again, a statement by the hacker indicating that she's

        8   going to distribute the data.

        9                The next slide, a Twitter post.           All of this

       10   is public by the way, none of which Capital One saw.

       11   This is in June, a month before they discovered the

       12   breach.     She's posting on Twitter:         I want to

       13   distribute those buckets, the data.            There are social

       14   security numbers with full name and date of birth.

       15                Let's look at what Capital One's view of it

       16   was in slide 65.        This is Houston Hopkins again, the

       17   director of cyber threat management.            So this is

       18   Capital One's view of it:         I am worried she has bundled

       19   away somewhere that it will be waiting for her when she

       20   gets out.        I am worried that she has this bundled away

       21   somewhere that it will be waiting for her when she gets

       22   out.

       23                And Anna McAbee responds -- she's an

       24   associate, now works at AWS -- yep, same.              I bet she

       25   has it hidden somewhere good.


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        1                This is Capital One contemporaneously

        2   expressing they're willing to bet on it, right, that

        3   she has stored this information away and will use it

        4   for ill once she's out of prison.

        5                Finally, I just want to point to the

        6   superseding indictment, not because I think it's

        7   particularly relevant or admissible in any way because

        8   it's not.        The government recently did add Count 9

        9   saying that Paige Thompson attempted to use personal

       10   identifying information, including more than 15 social

       11   security numbers and more than 15 bank account numbers

       12   stolen during the conduct described in Count 1 to

       13   create counterfeit and unauthorized credit and debit

       14   cards to be used to conduct transactions in interstate

       15   and foreign commerce.

       16                So Capital One used that initial criminal

       17   complaint that was superseded in June, which now has

       18   this claim.        The No. 15 is statutory as a part of that

       19   statute, Judge.        It's not an indication.       It's only 15.

       20   So now the government is even saying that Thompson

       21   expressly was using this information for identity theft

       22   and fraud to the extent that is relevant at all.

       23                The next sort of significant piece that I

       24   touched on earlier was the fact that -- and what the

       25   jury is going to hear is how do we know.             Well,


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        1   typically, the way you know is that there are very

        2   strict logging requirements that anybody who is

        3   promising to protect data, anybody who has a duty to

        4   protect data would log what is being accessed to their

        5   system.

        6               So on slide 67, we know that Capital One

        7   deleted critical logs, in violation of its own

        8   information security standards, and that very few logs

        9   were available for the post-breach investigation.                So

       10   we know post-breach that Mandiant requested certain

       11   logs so they could try and figure out what exactly

       12   happened, whether there were other attackers.               There

       13   were three logs that they asked for that Capital One

       14   could not produce, the Apache Web Services events logs,

       15   the Web Application Firewall event logs, and the

       16   Elastic Load Balancer event logs.

       17               This is the mechanism by which Ms. Thompson

       18   exfiltrated 98 million customers' information, and they

       19   didn't maintain any logs.         They can't prove that the

       20   stuff is not further out there, and we think the weight

       21   of the evidence suggests that it very, very much is.

       22               These logs were deleted in 7 or 30 days when

       23   their policy indicated they should have been maintained

       24   for at least 120 days, if not 13 months.

       25               Mr. Stuart Madnick, his seventh opinion here


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        1   goes through this in detail.          And just incredibly,

        2   Michael Johnson, who was the chief information security

        3   officer, knew that they were not maintaining these logs

        4   and nevertheless -- he issued a memo about it.                 It's

        5   cited in our papers, and Dr. Madnick discusses it.                    He

        6   identified that we're not maintaining logs pre-breach;

        7   yet, nobody did anything about it.

        8                And so post breach, to answer Your Honor's

        9   question is Capital One going to be able to prove that

       10   this information isn't well past Paige Thompson, we

       11   think not.

       12                So what do we have?       We have the discarded

       13   logs which were the ones requested by Mandiant that

       14   would have detected additional malicious activity.

       15   Those are gone.      The available logs would not have

       16   captured the breach activity under certain

       17   circumstances either, and that is explained as well by

       18   Dr. Madnick.

       19                The testimony on the next slide from Michael

       20   Hedrick explains that even on the logs they had, they

       21   could not tell under certain circumstances whether

       22   there was additional attacks of exfiltration.                 And

       23   remember, during this entire time period, they weren't

       24   maintaining logs, and they can't track it through the

       25   logs they did keep, the cloud trail logs.              This


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        1   information is publicly available to the world, and

        2   Ms. Thompson is aggressively promoting the fact that

        3   she stole this information from Capital One.

        4                So as a final point on this, Your Honor --

        5   because it goes to part of our theory of the case and

        6   damages -- how did they respond in addition to betting

        7   that she has it squirreled away somewhere good and all

        8   the other missions we went through?            They offer credit

        9   monitoring.        This is Capital One acknowledging the risk

       10   and the remedy to address that risk.

       11                They are telling people in this notice

       12   post-breach to beware:         You are at risk.      They are

       13   offering credit monitoring.          Why are they offering

       14   credit monitoring?        Because they promised to keep the

       15   data secure, and they didn't.          And it's appropriate to

       16   offer that, but as a remedy to a breach, it's also

       17   appropriate.

       18                Finally, Your Honor, we know that as late as

       19   February 2021, they were still taking the same

       20   position.        They say, We think it's not out there.          But

       21   in this letter just uncovered in Maine, they are still

       22   saying, We're offering credit monitoring.

       23                And, again, it's just not consistent to say

       24   on the one hand you're not at risk, we can guarantee

       25   this information is secure, and on the other hand say


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        1   here's credit monitoring and you are at risk.

        2                Your Honor, I am at a good stopping point if

        3   it's appropriate to take a short recess.             I can keep

        4   plowing ahead too if that's your preference.

        5                THE COURT:       That's fine.

        6                Let me just summarize what I understand

        7   you're saying.       Again, I'm still focused on the

        8   Article III issue, and the issue is whether there's

        9   sufficient injury-in-fact that's concrete and

       10   particularized and is either actual or imminent.

       11                As I understand your position -- and this is

       12   a case where I think we're in agreement -- there's no

       13   affirmative action that any of these named plaintiffs

       14   at least or really anyone can actually point to any

       15   actual use of their personal identification that's

       16   traceable to this breach.

       17                MR. SIEGEL:       I'll stop you there.       We

       18   disagree.

       19                THE COURT:       All right.

       20                MR. SIEGEL:       We disagree.    So we've

       21   identified more than a half a dozen plaintiffs that had

       22   fraud following the breach that our expert says used

       23   information that was compromised in the data breach.

       24   Is it the same information?

       25                THE COURT:       Well, that's the issue.          It has


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        1   to be traceable.

        2                MR. SIEGEL:       Of course it does.

        3                THE COURT:       Right.

        4                MR. SIEGEL:       But it doesn't have to be

        5   traceable from a criminal standpoint.            I mean, look at

        6   Hutton.

        7                THE COURT:       I want to hear more about that,

        8   but let me just summarize what I was going to say.

        9   That is, as I understand your position, this imminent

       10   actual injury can be reasonably inferred by a fact

       11   finder --

       12                MR. SIEGEL:       Yes.

       13                THE COURT:       -- based on the pre-breach

       14   vulnerabilities that created the possibility of not

       15   only what actually happened but other hackers, the fact

       16   that anyone with an Internet connection could access

       17   the data that was exfiltrated from Capital One because

       18   of these vulnerabilities, Thompson's own declared

       19   intentions and her own advertising of the data, the

       20   post-breach vulnerabilities that were assessed as of

       21   December 2019 at least, the nature of the data that was

       22   exfiltrated that made it possible to use the data in a

       23   way to create IDs, and Capital One's own inability to

       24   establish that there was anyone else that hacked it or

       25   that it has been sufficiently contained.


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        1               MR. SIEGEL:       I think that's a fair summary.

        2               I would just conclude with going back to

        3   Hutton v. NBO, a case Ms. Perkins and I litigated

        4   through the Fourth Circuit after we were dismissed for

        5   lack of Article III standing.          Because there NBO denied

        6   they were even the victims of a breach.

        7               THE COURT:       Right, I understand.         And then

        8   you want to add to that specific instances where

        9   post-breach some of these named plaintiffs actually

       10   experienced use of their personal identification,

       11   admittedly, without the ability to say where it came

       12   from.

       13               MR. SIEGEL:       That's right, and what our

       14   expert says it is the type of fraud you would expect to

       15   see following this kind of breach, right.              I mean, it

       16   is not can you follow a piece of data out of Capital

       17   One into a hacker, Paige Thompson or somebody else,

       18   into another hacker that committed fraud on our named

       19   plaintiffs?      The answer to that is no, but that's not

       20   the standard.

       21               THE COURT:       All right.

       22               MR. SIEGEL:       That's not the standard.

       23               I do think Hutton is instructive here

       24   because, again, there you had a defendant who said, We

       25   were not even breached.        It's not our data.


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        1                And yet, what the Fourth Circuit says is,

        2   Well, these people did suffer fraud, as ours have, and

        3   it's reasonably correlated to the data that was

        4   compromised in that breach, Article III standing.

        5                And that standard is not different at class

        6   certification.       It's not.

        7                THE COURT:       All right.

        8                MR. SIEGEL:       So that's the basic threshold

        9   question with respect to the representative plaintiffs.

       10                THE COURT:       All right.     Why don't we take a

       11   15-minute recess.

       12                MR. SIEGEL:       Thank you.

       13                MR. BALSER:       Your Honor?

       14                THE COURT:       Yes.

       15                MR. BALSER:       Would it be helpful for the

       16   Court to have me respond to the standing arguments

       17   before Mr. Siegel gets --

       18                THE COURT:       I'm thinking about that.       What

       19   other piece do you want to move into, Mr. Siegel?

       20                MR. SIEGEL:       The class certification

       21   elements.

       22                THE COURT:       All right.     Let's continue with

       23   you and then --

       24                MR. SIEGEL:       I think we've covered most of

       25   the facts.       I think now we're into here's what we want


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        1   certified and why, and I do want to walk the Court

        2   through damages and make sure that you understand.

        3   You've asked us before, so I want to make sure we

        4   address it with sufficient specificity, the damages we

        5   are claiming with respect to each claim in the case --

        6                THE COURT:      All right.

        7                MR. SIEGEL:      -- as to Capital One and as to

        8   Amazon.

        9                THE COURT:      All right.    We'll stand in

       10   recess.

       11         (Recess from 11:37 a.m. until 11:54 a.m.)

       12                THE COURT:      For planning purposes, we'll go

       13   until 1:00.      We'll break at 1:00 for lunch and resume

       14   at 2:00.     I want to finish up by 5:30.

       15                How much more do you have on your motion?

       16                MR. SIEGEL:      Well, quite a bit, particularly

       17   on damages, but it's really a function of if you have

       18   questions.      I think I can move through it relatively

       19   quickly.

       20                THE COURT:      All right.    Well, I'd like to

       21   finish up with your portion by the luncheon break.                  All

       22   right.

       23                MR. SIEGEL:      Okay.   I will endeavor to do

       24   just that, Your Honor.

       25                Thank you.


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        1               THE COURT:       All right.

        2               MR. SIEGEL:       All right.    So if I may

        3   continue, Your Honor?

        4               THE COURT:       Yes.

        5               MR. SIEGEL:       Thank you.

        6               So let's move into why we're here, which is

        7   class certification.         Your Honor, the slides beginning

        8   with 73 are the classes that we're seeking to certify

        9   here and the representative plaintiffs for each.                These

       10   are out of our papers, so I won't go through each of

       11   them.   But each of them identifies the class and the

       12   representative plaintiff that is representative of that

       13   class, the claims for which the class is bringing those

       14   claims, and then the defendants.

       15               So it will say at the end Capital One and

       16   AWS, the full class, which is all applicants, that's

       17   the 98 million number.         We have our representative

       18   plaintiffs there.       Those claims include breach of

       19   contract or, in the alternative, breach of implied

       20   contract against Capital One and claims of negligence,

       21   unjust enrichment, and declaratory judgment against

       22   both Capital One and AWS.

       23               There is an alternative.          Again, this is

       24   straight out of our papers.          I know we don't have all

       25   the time in the world, so I won't go through each.                  But


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        1   this tracks our briefing on the identified classes, the

        2   alternatives, the California subclass beginning on

        3   slide 76.

        4                With respect to the CLRA, that claim is

        5   bought only against Capital One and not Amazon because

        6   the Court found it did not apply.

        7                As to the Florida claim, that is against

        8   Amazon but not Capital One because it cannot be brought

        9   against banks.

       10                The New York claim is against both

       11   defendants.

       12                The Washington state claim is against both

       13   defendants.

       14                So at the conclusion of that portion, you

       15   will see in the original presentation I was going to

       16   move into standing, but I think we've talked quite a

       17   bit about that.

       18                I just do want to touch on slide 84 because I

       19   think this is how we finished up.           But I just want to

       20   emphasize the concept here.          We've identified just

       21   these examples, but there are more in the complaint.

       22   With respect to these three plaintiffs, Zielicke,

       23   Gershen, and Sharp, all had fraud.            They have sworn in

       24   their interrogatories and have been deposed that they

       25   have had fraud, and so we think there is little


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        1   question that those folks have standing.

        2                And then the only other --

        3                THE COURT:      Well, what can the Court consider

        4   on the traceability issue?         Because, for example, in

        5   Gershen's case, his name and his date of birth and some

        6   financial information was obtained, likewise with, I

        7   think, the other two.        Capital One has offered an

        8   explanation for why it's not traceable.             In your view,

        9   can the Court consider that?

       10                MR. SIEGEL:      Not for this consideration.

       11   It's a contested fact.

       12                THE COURT:      What's contested?

       13                MR. SIEGEL:      The question of whether the

       14   fraud that those representatives have alleged, that

       15   they've sworn to, it's evidence.           The jury will hear

       16   that they've been defrauded in these ways.                The jury

       17   will hear that the information taken in the breach can

       18   be connected to the fraud that they suffered through

       19   our experts.

       20                THE COURT:      What evidence is that?         It's the

       21   experts saying, I think that's the case.

       22                MR. SIEGEL:      It's the experts saying that

       23   this is the nature of data that can lead to a fraud

       24   like this.      Again --

       25                THE COURT:      Well, let's not get into the


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        1   other issue.

        2               MR. SIEGEL:       Okay.

        3               THE COURT:       But you have an explanation for

        4   example.    I'm not sure exactly which it is but Capital

        5   One has offered.      For example, he's claiming that he

        6   had a credit card opened up in his name which couldn't

        7   be opened unless you had a social security number,

        8   which wasn't obtained from Capital One.             Is that

        9   something the Court can consider?

       10               MR. SIEGEL:       We don't think the Court should

       11   consider that because, again, now we're talking about a

       12   factual question.       Our expert has said that a social

       13   security number or not, this data can be enriched and

       14   how it's enriched and why it's valuable to hackers and

       15   how they use it.      And so we think this is very much a

       16   merits question.

       17               This is exactly what this recent Blackbaud

       18   case decided post TransUnion , that this concept of

       19   traceability is intertwined with the facts.               But based

       20   on the same exact claim that -- and, again, back to

       21   Hutton, Hutton says -- again, their defendant was

       22   saying, We weren't breached at all.            It's not just the

       23   data isn't connected or the fraud isn't connected to

       24   us.   It's we had nothing.        We weren't breached.

       25               And the Fourth Circuit said, They claim a


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        1   fraud.     They claim a fraud that could have been, could

        2   have been based on the data compromised in the breach,

        3   and that's sufficient for Article III standing.

        4                So if you move beyond that, if you read

        5   Blackbaud, we think you'll come away with the same

        6   conclusion as the court did there, that these

        7   traceability challenges, based on whether there is

        8   evidence that the breach is connected to the fraud or

        9   the fraud is connected to the breach is intertwined

       10   with the causation elements of the tort.

       11                THE COURT:       Again, what do you think you need

       12   to show factually other than having an expert say, "I

       13   think it's possible," to establish traceability for the

       14   purposes of Article III standing?

       15                MR. SIEGEL:       I think we have to allege and

       16   have sufficient facts to present to a jury --

       17                THE COURT:       Right.

       18                MR. SIEGEL:       -- that they suffered a fraud,

       19   the type of which could be caused or contributed to

       20   cause by the data compromised in the breach.

       21                THE COURT:       Why is that sufficiently

       22   particularized and not speculative?            It could have

       23   been.    It could have been a lot of things.              I mean,

       24   doesn't there have to be some concrete traceability to

       25   a source?


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        1                MR. SIEGEL:       I think Hutton says no.

        2                THE COURT:       Well, Hutton is just a -- you

        3   pled enough to get past a Rule 12(b)(6) motion.

        4                MR. SIEGEL:       But no.   It was an Article III

        5   question.

        6                THE COURT:       Right.

        7                MR. SIEGEL:       That's what you're asking.

        8   You're asking about an Article III question for

        9   purposes of these named representatives.

       10                THE COURT:       Right.

       11                MR. SIEGEL:       It's the same question.       It

       12   doesn't change a class certification.            There's not a

       13   different standard.        At trial there might be a

       14   different standard, but what you're asking about is a

       15   causation question.

       16                THE COURT:       No.   The standard was did -- was

       17   there pled in Hutton --

       18                MR. SIEGEL:       Say again.

       19                THE COURT:       The issue was whether there was

       20   pled in Hutton facts that made plausible that there was

       21   traceability.

       22                MR. SIEGEL:       Right.

       23                THE COURT:       We're now at the point where you

       24   need to present facts that there was, in fact,

       25   traceability.


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        1               MR. SIEGEL:       Right.

        2               THE COURT:       All right.    And what are those

        3   facts?

        4               MR. SIEGEL:       But we have presented facts.           We

        5   have the sworn interrogatory responses that these folks

        6   committed fraud.      We have a breach with information

        7   that our expert could plausibly connect to the fraud,

        8   but more than that is a causation question.               I think

        9   where, respectfully, Your Honor is getting tripped up

       10   is there's an element of our claim that's causation,

       11   you know, in the negligence claim.            I mean, there's not

       12   in the breach.      The breach is the breach.          They were

       13   obligated to protect the data, and this is why the

       14   breach claim -- they don't challenge standing because

       15   once there's a breach, then the law implies harm under

       16   Virginia law.      So that claim, there's standing, and no

       17   one is challenging standing.           Capital One is not even

       18   challenging standing with respect to unjust enrichment.

       19               They are doing a very narrow argument that

       20   goes to causation, and that is what we believe is

       21   inextricably tied with the facts that we think the

       22   Fourth Circuit has said that is a -- if that is an

       23   element of the claim, whether we can establish

       24   causation for purposes of our negligence claim,

       25   obviously, is a question of fact.           You may conclude at


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        1   the summary judgment stage.          We think not, but a jury

        2   will ultimately determine it.

        3               In any event, for purposes of standing, it's

        4   not a standing argument.         It's a causation argument.

        5   It is an element of the claim and one that should not

        6   be determined on an Article III basis.             We think the

        7   law in the Fourth, based on the cases we've cited, is

        8   clear on that.      And, again, we think the conclusion the

        9   Blackbaud court reached is right on point as well with

       10   respect to that standing question.

       11               THE COURT:       All right.

       12               MR. SIEGEL:       I know my partner, Lindsay

       13   Perkins, can speak for a much longer time on standing,

       14   but given the time, I'll move ahead unless you have

       15   more additional questions.

       16               THE COURT:       All right.

       17               MR. SIEGEL:       Let me just turn to the final

       18   points on standing.       So, again, Capital One doesn't

       19   challenge plaintiffs' Article III standing on the

       20   unjust enrichment claim, but Amazon does.              But, again,

       21   like Capital One's challenge -- Capital One is

       22   arguing -- I'm sorry.        Amazon is arguing that there's a

       23   question about whether plaintiffs can demonstrate they

       24   conferred a benefit on Amazon.

       25               And this is, again, I think a demonstration


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        1   of a merits challenge, and this is explained on

        2   slide 90.        And, again, as a merits challenge, it is

        3   improper for consideration and should be based at trial

        4   or on summary judgment and not at the class

        5   certification stage.           So, again, another merits

        6   question.

        7                They being Amazon also make a prudential

        8   standing argument.        That, too, fails.      This is the

        9   concept that plaintiffs are attempting to assert a

       10   claim that's really Capital One's, but of course, I

       11   think the Court made clear in its order on the motion

       12   to dismiss in setting out the claims that the way we

       13   pled it is appropriate; that is, plaintiffs' claims are

       14   premised on Amazon's failure to provide adequate data

       15   security to plaintiffs and protect their data.

       16   Therefore, the claim for unjust enrichment is

       17   appropriate directly, and there's not a prudential

       18   standing issue.

       19                Final point:        When you look at the Blackbaud

       20   case, the Kerns case from the Fourth Circuit regarding

       21   these jurisdictional questions, if they're tied up with

       22   causation, they should be treated as merits issues for

       23   summary judgment or trial.           Again, we think that is

       24   very clearly law in the Fourth.

       25                If you go back to Spokeo and read what


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        1   Justice Thomas says about these common-law claims, they

        2   trigger in instances where the state law, where the

        3   common law implies a harm.         Certainly, that is, we

        4   suspect, the reason that Capital One, for example, did

        5   not even seek to challenge standing on the breach of

        6   contract claim.       Those damages, even if they're

        7   nominal, are implied.

        8                So let's move on to the Rule 23 standards

        9   here.    These are well-worn, and I don't think they're

       10   in dispute.       The first concepts are those of

       11   numerosity, commonality, whether the claims are typical

       12   of the class, and whether the representative plaintiffs

       13   and the lawyers are adequate.

       14                This is a rudimentary pie chart of the size

       15   of class against the adult U.S. population.               It's a big

       16   class.     Obviously, numerosity is not an issue.            It's

       17   like, I think, 12 Virginias.          There's about 8.5 million

       18   people in this state, Your Honor.           It is a large class.

       19   Again, the reason I went through that evidence is to

       20   demonstrate that the facts underlying plaintiffs'

       21   claims apply to these rather large classes all the same

       22   way.

       23                At the bench I went through on slide 98

       24   the -- maybe I didn't go through 98 at the bench,

       25   David, but I think you've identified this document.


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        1               In any event, Your Honor, on page 98 is the

        2   numbers that fall into the various classes and

        3   subclasses.      I think Capital One has asked that that be

        4   under seal.

        5               MR. BALSER:      (Nods head up and down.)

        6               MR. SIEGEL:      I think the common questions are

        7   apparent to the Court.        Examples abound.       We've listed

        8   many on page 21 of our brief, including things like did

        9   Capital One have a contractual obligation to protect

       10   plaintiffs' data, right.         There's sort of cross-motions

       11   on this issue now.       We've, obviously, moved for summary

       12   judgment on this very issue.          It applies to all

       13   98 million people the same way.

       14               Did they breach?       We think that's also

       15   apparent from the evidence and can't be disputed.

       16               Likewise, did Capital One and Amazon have a

       17   common-law duty to protect plaintiffs' data and, if so,

       18   did they breach that duty?

       19               The challenges to commonality are themselves

       20   common.    And so, for example, the question that Capital

       21   One continues to pursue for reasons that we don't quite

       22   understand -- but the question of whether

       23   noncardholders -- despite Capital One acknowledging the

       24   privacy notice applies to applicants, the question of

       25   whether noncardholders can assert contract claims under


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        1   the privacy notice, they are contesting that.               Well, we

        2   know who those people are who are applicants, not

        3   cardholders, and that's going to rise or fall for all

        4   of that cohort of this class.          It is a challenge that

        5   creates more common issues, not less.

        6                Likewise, the factual question that we

        7   discussed at length already, whether there's a risk or

        8   whether, in fact, the data was disseminated.               We think

        9   there's no question that it was disseminated and will

       10   be answered the same way from -- we know it was

       11   disseminated because they admit that Paige Thompson

       12   hacked their systems.

       13                THE COURT:       So your view is that there's no

       14   need for you to prove anything beyond breach?               You

       15   don't have to prove any injury beyond breach?

       16                MR. SIEGEL:       For standing.     For the claim, we

       17   do, sure.

       18                THE COURT:       So for the claim you need to?

       19                MR. SIEGEL:       Yes, and I'm going to get to

       20   that.

       21                THE COURT:       All right.

       22                MR. SIEGEL:       I'm gearing up.     I promise.

       23                THE COURT:       All right.

       24                MR. SIEGEL:       Again, I don't think commonality

       25   is seriously in dispute.         I would like to just pause on


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        1   slide 102.       I have about a nine-minute video that I'd

        2   like to present.       And, Your Honor, look, I mean,

        3   there's a lot of lawyers here, dozens.             We represent

        4   these representative plaintiffs, the putative class

        5   here.     We have a very short video with respect to the

        6   Rule 23(a)(3) adequacy provisions about whether our

        7   clients are adequate.          We don't believe there's any

        8   question about that.          If you prefer, I can play it

        9   later or just submit it.

       10                THE COURT:       If you would, just submit it.

       11   This relates to the fourth element, whether they're

       12   adequately represented?

       13                MR. SIEGEL:       Whether they're adequate and

       14   their -- we would like the Court to listen to it.

       15                THE COURT:       All right.   I'll listen to it.

       16                MR. SIEGEL:       They are short clips from their

       17   depositions.

       18                THE COURT:       All right.   Why don't you submit

       19   it.     I'll listen to it.

       20                MR. SIEGEL:       They are Americans from all

       21   across the country who have stepped up to serve as

       22   representative plaintiffs.          It is a diverse group.          We

       23   have disabled vets from Washington state.              We have a

       24   retired deputy sheriff from Wisconsin, really a

       25   cross-section of, not surprisingly given the class


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        1   size, folks all across the country.

        2                THE COURT:        All right.

        3                MR. SIEGEL:        So let me move to predominance.

        4   So in most certification motions, this is where the

        5   fight is.        It's not Article III standing.        It's whether

        6   the claims -- the common claims, the common issues

        7   predominate.        This is perhaps why Capital One is so

        8   focused on standing, because there's little question

        9   here, despite the class size, that these common issues

       10   do predominate.

       11                THE COURT:        I mean, the issue is not just

       12   whether they're common issues.              The question is whether

       13   there are common answers to the issues.

       14                MR. SIEGEL:        That's right, exactly.       We

       15   agree.     We agree.

       16                Those questions that I posed, does Capital

       17   One have an obligation under the --

       18                THE COURT:        Right, I understand those.

       19   That's why I asked about your view on consequential

       20   injury with respect to the breach of contract claim.

       21                MR. SIEGEL:        Okay.   But here's where that's

       22   important.        Let me pause there.        So I'm going to get to

       23   our damages theory quickly -- theories quickly here,

       24   but I want to be clear.          Our classwide damages

       25   theories, how we propose to try this case, we have very


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        1   specific classwide damages theories.            Those damages

        2   theories apply to the class as a whole.

        3                We also recognize, consistent with Supreme

        4   Court jurisprudence, like Tyson, that there may need to

        5   be follow-on proceedings with respect to either unique

        6   defenses or unique damages.          So, for example, if a

        7   plaintiff claims that they have a $1,000 fraud as a

        8   result of the breach, we're not proposing that as a

        9   classwide damage.       That individual -- we would plan to

       10   prove up our class representatives, our representative

       11   plaintiffs' individual damages with respect to that,

       12   but our separate classwide theories of relief apply to

       13   the class all the same way.

       14                And I do think that is a critical question

       15   you've asked and one I'd like to turn to because I

       16   think -- I'm going to move quickly through predominance

       17   and then get to the damages.

       18                THE COURT:       All right.

       19                MR. SIEGEL:       So I think the sort of easiest

       20   one to conceptualize under this predominance standard

       21   of whether these common issues are more prevalent than

       22   noncommon or aggregation defeating issues, in the words

       23   of Tyson.        And again, Tyson provides for these -- you

       24   can have these separate follow-on proceedings with

       25   respect to specific defenses and damages without


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        1   impairing predominance.

        2               And so the question at the end of the day,

        3   the Fourth Circuit's spin on what the Supreme Court has

        4   said about this, is that if common questions represent

        5   a significant aspect of the case and can be resolved

        6   for all members of a class as a single adjudication,

        7   then they predominate over individual questions.                And,

        8   again, each plaintiffs' claim would not be identical to

        9   satisfy that requirement.

       10               So we have the live claims in the case.

       11   Count 1 is negligence.        Unjust enrichment is 3.          Breach

       12   of contract is 6.       Breach of implied contract is

       13   Count 7.    I'd like to start with the contract claim.

       14   So traditional -- this is slide 108.            The traditional

       15   elements of a contract claim, you need a legally

       16   enforceable obligation.        You need a defendant's

       17   violation or breach of that obligation.             You need

       18   injury or damage caused be the breach.             Right.

       19               And so, as I said, this question about this

       20   promise to protect your personal information from

       21   unauthorized access and use and whether they used

       22   adequate security measures, Your Honor, both a common

       23   question and a common answer, that will be answered the

       24   same for all with respect to this promise Capital One

       25   made to all 98 million class members.


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        1                We can go through chapter and verse on why

        2   that's the case and what our proof will be at trial,

        3   including our expert, Mr. Kelley, who explains why

        4   these standards are required under federal law and why

        5   a violation of federal law is violating the obligations

        6   under the contract.

        7                So Capital One says a couple of things in

        8   response to that.       First, they say you can't ascertain

        9   the class because there are differences in the privacy

       10   notice.    There's two privacy notices.          We say they say

       11   the exact same thing.         They say they don't.

       12                Again, if they don't, we know who is in which

       13   class.     We know who had pre-2010 privacy notices,

       14   post-2010 privacy notices.         Capital One has that

       15   information.       And the law is quite clear, as long as

       16   you can identify those folks, they do not defeat

       17   predominance.

       18                They also raise in sort of a kitchen sink

       19   approach this idea that some class members would be

       20   subject to a claim that the class member materially

       21   breached the contract first.          This is an affirmative

       22   defense that was not raised, and so we don't think it

       23   should be considered at all.          In any event, it's clear

       24   under Tyson that if they have these defenses as to

       25   particular plaintiffs, that could be dealt with


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        1   posttrial.

        2                Setoff and recoupment, likewise, do not

        3   defeat predominance of the contract claim.                Setoff is a

        4   counterclaim, not a defense, and was not brought.                And

        5   like first material breach, to the extent the Court

        6   would even consider setoff or recoupment, those can be

        7   dealt with under Tyson in a posttrial proceeding.

        8                Obviously, we have a claim for implied

        9   contract that the Court has endorsed to the extent that

       10   there is a finding that there's no actual contract,

       11   which we think there should be at this point and have

       12   moved for summary judgment on that basis.

       13                Similarly, with respect to the unjust

       14   enrichment claim, the elements there are the receipt of

       15   the benefit and the unjust retention of the benefit at

       16   the expense of another.

       17                THE COURT:       What slide are you on?

       18                MR. SIEGEL:       I'm on slide 117.

       19                We cited in our papers, Your Honor, numerous

       20   cases.     The In re Checking Account Overdraft Litigation

       21   cite on slide 118 actually has other cases there.                The

       22   concept of unjust enrichment claims, given the

       23   simplicity of the elements involved, that is, the

       24   conferring of the receipt of a benefit and the unjust

       25   retention of the benefit, are particularly suitable for


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        1   class treatment.      And we think here -- if you skip

        2   ahead to 119, we -- again, one dataset, all 98 million

        3   people.    That data was conferred on Capital One.              It

        4   was conferred on Amazon.         Capital One aggregated and

        5   mined the data and benefited from its use through its

        6   various fraud monitoring programs.

        7               Likewise, AWS, Amazon, used Capital One's

        8   data of plaintiffs' PII to generate significant

        9   profits.    So these are all global questions that can be

       10   resolved in one fell swoop for the class.

       11               With respect to the unjust enrichment claim,

       12   the finding that this Court made on page 44 in

       13   characterizing the claim, we think, you know, again,

       14   still applies.      This is just a statement of the claim.

       15   And whether it is an equitable and unconscionable to

       16   prevent the defendants to retain these benefits will be

       17   a classwide issue resolved one way or the other, based

       18   on the evidence, for all plaintiffs and all class

       19   members.

       20               Amazon raises a specific defense or challenge

       21   to predominance with respect to unjust enrichment.

       22   They have sort of a laundry list, including whether

       23   plaintiffs were aware that Amazon was providing any

       24   security for the data.        We don't think that is an

       25   element of the claim and, therefore, should not be


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        1   considered.

        2               Likewise -- now on slide 121 -- whether any

        3   particular plaintiff had heard of Amazon, not relevant,

        4   not an element of the claim.          And we've outlined in our

        5   papers why the other defenses, we think, are not well

        6   taken to predominance of that claim as to Amazon.

        7               There are two cases related to unjust

        8   enrichment.      One is a Florida case where Florida law

        9   specifically requires sort of an examination of each

       10   individual circumstances, something that Virginia law

       11   does not apply.      That would be the Vega case, and then

       12   defendants also cite this Grandalski v. Quest case, a

       13   Third Circuit case.       But in that case, plaintiffs were

       14   refunded overbillings and, therefore, the court found

       15   that there was not sufficient predominance in that

       16   case, given the individualized nature of these

       17   transactions and refunds, to support class

       18   certification of an unjust enrichment claim.

       19               Finally, although pled first, our common --

       20   our negligence claim.        Obviously, duty, breach, injury

       21   are the elements of that claim.           We will explain here

       22   in a minute why we think we satisfy all of those and

       23   what we will present on a classwide basis.                Like the

       24   contract claim, we think the breach element discussed

       25   on page 124 of the presentation is common to the class


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        1   and applies classwide.        They were aware of the

        2   vulnerabilities and risks associated with their

        3   systems.     They didn't do anything about it, and

        4   plaintiffs suffered the harm and resulting damage from

        5   that.

        6                The statute of limitations defense, this is a

        7   whole separate motion, Judge.          This is another item

        8   that was raised belatedly.         This is part of the Rule 72

        9   appeal, this Capital One notion of adding an additional

       10   affirmative defense after the close of discovery on the

       11   day we filed our class certification motion.               I do not

       12   want to get into that.        I think that is a separate

       13   motion Your Honor is planning to hear tomorrow.

       14                In any event, the timing of when the

       15   retention of that benefit became unjust, because of the

       16   failure to secure it properly, that's going to be the

       17   same for everybody.       So, again, we don't think the

       18   defense should be in there.          If it is in there, the

       19   question about timing, there will be a date, and then

       20   we will know, based on Capital One's records, who was

       21   in and who was out for purposes of recovery for that

       22   claim.     Therefore, it does not defeat predominance.

       23                There's sort of, again, another kitchen sink

       24   effort to suggest that online applications, despite the

       25   stated applicability to all applicants, whether, you


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        1   know, mitigation can be a defense.            These are all

        2   issues that, I think, Tyson makes quite clear cannot

        3   defeat predominance.         Therefore, we think this is

        4   perhaps, despite the size of the class, the great

        5   weight of the predominant common issues really should

        6   be not in question, including many of the common issues

        7   we talked about with respect to liability.                Those will

        8   go one way or the other, positive or negative, for the

        9   class as a whole.       Of course, we're standing here

       10   believing they will be positive at the end of the day

       11   once heard by a jury.

       12               So, Your Honor, there's a similar analysis

       13   with the statutory claims.         I would just ask the Court

       14   to review our presentation on that.            It is consistent

       15   with our papers.      I was just highlighting the arguments

       16   with respect to the statutory claims.

       17               I think the key point there, the damages

       18   elements that we will be presenting, the actual damages

       19   elements are the same.         The statutory claims are not

       20   dependent on any misrepresentations.            Some cases get

       21   tripped up -- I'm on slide 129 now -- around the idea

       22   that a state statutory claim or statutory fraud claim

       23   is based on a misrepresentation.           That is not what the

       24   plaintiffs have argued here.

       25               There was certainly a classwide omission, and


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        1   that omission is not disclosing that there was

        2   inadequate security both at Capital One and Amazon.

        3                Okay.     So I've rushed through that so I can

        4   bring you to 132, Your Honor, and I think this is kind

        5   of where the rubber meets the road.            So Your Honor

        6   asked about this, as I said, months ago, about what

        7   damages are attached to which claim.            This chart

        8   includes that.        So 133 is the Capital One chart, and

        9   134 is the Amazon chart.

       10                And what Comcast says, the Supreme Court

       11   case, is that as part of the Rule 23 analysis, the

       12   Court should consider what damages are applying to what

       13   claim.     You should avoid sort of the ball of wax

       14   approach.        So here's what we have.      We have this chart

       15   and then significant detail behind it, as the basis for

       16   each of these damages claims, that will apply to the

       17   class as a whole.

       18                So there are -- with respect to Capital One,

       19   there are really five categories of damages, the

       20   concept of present value of identity theft production

       21   is one.     The value of access to PII is two.            The

       22   disgorgement of gains is three.           Nominal damages, four,

       23   as an alternative to those.          And then, of course, if we

       24   are successful on a tort, we believe punitive damages

       25   are appropriate as well, not listed in your chart but


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        1   would apply to at least the negligence claim.

        2               And so the questions that will -- and

        3   likewise with respect to Amazon.           Obviously, there's no

        4   contract on slide 134, so there is no contract claim.

        5   And so the claims are limited to unjust enrichment and

        6   negligence and, again, we think a punitive basis.                  The

        7   same four categories of damages in addition to the

        8   punitives on the negligence claim, the value of the ID

        9   protection, the value of access to the PII,

       10   disgorgement of gains from the benefit conferred from

       11   the PII, and nominal damages apply.

       12               So let me walk the Court, first, through the

       13   first theory of damages here, which is the concept of

       14   the present value of identify theft protection.               So

       15   this is the concept, Your Honor, that we were talking

       16   about earlier:      Will the jury conclude that Capital

       17   One's failure to protect this data is such that under

       18   the contract claim -- let's just start there -- the

       19   jury should award or put the plaintiff class back in

       20   the position they would have been but for the breach,

       21   that is, their data is protected.

       22               So we have two components of that.             One is

       23   Mr. Mitnick, who we've talked about, that explains why

       24   the class is at current and ongoing risk.              And then we

       25   have Mr. Long, who is merely presenting an actuarial


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        1   exercise of taking the very specific individual class

        2   member data about when they were borne and figuring out

        3   what it would cost to protect somebody for a lifetime

        4   because Capital One failed to fulfill its obligation to

        5   do it under the contract.         Those numbers are aggregated

        6   on page 136.

        7                So, look, we get it.        These are big numbers.

        8   So -- but I'd like you to look at the top of the chart

        9   here where it says average per class member.               So if --

       10   Mr. Long explains and provides multiple periods of

       11   time.     If the jury concludes that class members only

       12   need three years of protection, it's $995 per class

       13   member.    Then if they decide five years, ten years --

       14   and there's a high range, of course, for a lifetime of

       15   protection.       These are average numbers based on the

       16   life expectancy of each class member on the right side.

       17                And so the aggregated classwide damages on

       18   the bottom row -- so for all class members to get three

       19   years of present value of the monitoring that -- to put

       20   them back where they should have been but for the

       21   breach, that is a $97 billion price tag.

       22                We recognize, again, it's a big number, but

       23   it's very important here to understand, Your Honor,

       24   that the big number is a function of the number of

       25   victims.     And this is a theme we've heard from Capital


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        1   One throughout the litigation, certainly in response to

        2   the motions before Your Honor today and tomorrow, is

        3   that plaintiffs are asking for huge damages.

        4                You know, if there are 50 people in this

        5   courtroom, maybe 50 lawyers in this courtroom, and we

        6   were here presenting the damages on a classwide basis

        7   and instead of 97 million it was 50,000 to provide

        8   three years of credit monitoring to put this class,

        9   this smaller class in a position plaintiffs should have

       10   been in but for the breach, I don't think anybody would

       11   be the least bit concerned about that.

       12                And so it is not the $995 or even the $8,369

       13   figure.    It's the 98 million people who are in the

       14   class, and the reason they're in the class is because

       15   Capital One and Amazon breached their obligations to

       16   keep this information protected.           And this is the way

       17   to put them back where they should have been.               If they

       18   had made like remittitur arguments in response to class

       19   certification, which we think should come at the close

       20   of trial, not as opposition to class certification.

       21                So the next category of damages is the value

       22   of access to class members' PII.           Your Honor, in the

       23   motion to dismiss phase, rejected the notion that there

       24   was a concept of loss of value of PII but this is

       25   different.      This is the idea -- you will hear a lot


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        1   about this tomorrow.         Mr. Olsen explains that

        2   essentially the plaintiffs here are effectively the

        3   equivalent of a patent holder where there is a use of

        4   the patent by a noncompeting company, and the relief

        5   offered in those cases is a license.            And so that is

        6   the equivalent of what we have here, and Mr. Olsen

        7   calculates that using a standard market approach.

        8               So it is not a diminution in value theory.

        9   It's correlated to the value of a license, and I'll

       10   explain that in a little more detail here in the final

       11   half an hour.

       12               The value of that, again, is quite granular

       13   to class members.       So this is in his report if you look

       14   at Tables 1 and 2 and 9 of Mr. Olsen's report.               If you

       15   look at the top there, it says range for each class

       16   member.    That's actually range for each class

       17   representative plaintiff.         So the range for each

       18   representative plaintiff is $14.55 to $30.30.

       19               And what Mr. Olsen did using a lot of data

       20   was looked at what the value of this information trades

       21   for to come up with a correlated license value for the

       22   data that was compromised in the breach.             If you look

       23   at the range for all class members, it's wider.               It's

       24   as little as $1.41 per head to as high as close to $300

       25   where all of that data, social security number, bank


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        1   account information, was consolidated.

        2               Those tables -- I was going to pop them up on

        3   the ELMO, but I think we're running low on time for

        4   that -- and walk the Court through it.             But those

        5   tables show, if the Court looks at table 9, for

        6   example, very specifically how those numbers aggregate

        7   to the $1,048,130,903 number you see here.

        8               But that's not the result of taking some

        9   average or impermissible sampling in the Duke spirit.

       10   This is a very specific -- each of those 98 million

       11   plaintiffs, we're going to figure out the license value

       12   for each of their information.          Sometimes it's $1.41;

       13   sometimes it's more.         If we get a verdict for this

       14   claim in this amount, we can distribute that money to

       15   those plaintiffs in the amount identified in

       16   Mr. Olsen's report.

       17               Finally, we have the disgorgement of gains

       18   from the benefit from using the PII.            We've already

       19   talked about this a little bit in terms of the unjust

       20   enrichment claim, but Mr. Olsen calculates both the

       21   benefit to Capital One and the benefit to Amazon as a

       22   result of using plaintiffs' PII without protecting it.

       23               Your Honor, Mr. Newby told me he believes the

       24   next page, 140, is under seal.          So I'll just reference

       25   it here.    Those are the totals -- oh, I'm sorry.              Those


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        1   are the totals reflected for both Capital One and

        2   Amazon.

        3               The Capital One numbers, you will see, are

        4   divided between those former and current customers that

        5   entered into a cardholder agreement and those that were

        6   not.   Remember, Capital One used all of that data

        7   whether or not they were cardholders ultimately.

        8               On the Amazon side, you will see the

        9   calculation that Mr. Olsen undertook with respect to

       10   the revenue and then the profit margins enjoyed by AWS

       11   as a benefit from using and housing plaintiffs' PII

       12   while not maintaining adequate data security.

       13               So what is the test here?          On page 141, I

       14   mentioned the Comcast case.          The important thing is

       15   that the models measure damages to each class member

       16   resulting from the defendants' conduct, and that's

       17   exactly what we've done here.          And we believe we've met

       18   the standard perfectly.        We've spent a lot of time on

       19   it.    We think it meets the standard set forth by

       20   Comcast.    Our damages theories are attached to our

       21   claims, and we're prepared to present these at trial.

       22   It's all math at the end of the day.

       23               Now, how are those claims tethered to these

       24   damages theories?       So I started to talk about

       25   slide 142, which is this present value of the identity


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        1   protection services as contract damages.             So Virginia

        2   law applies to restatement of contracts.             And, again,

        3   it's the concept found in Section 344 of the

        4   restatement, which has been cited numerous times by

        5   Virginia courts, that the goal of remedy for a breach

        6   of contract case is to put the class in as good a

        7   position as they would have been in had the contract

        8   been performed, that is, had there been no breach.

        9               Obviously, plaintiffs here are in the class.

       10   The expectation, the contractual expectation was that

       11   Capital One would protect their PII and not increase

       12   their risk, which I don't think is in dispute here as

       13   to whether the risk is increased.           In any event, it's a

       14   triable issue.

       15               And then, of course, how to restore that

       16   contractual expectation.         We believe the appropriate

       17   way to do it is provide the protection that Capital One

       18   promised and then failed on, which is protecting this

       19   information going forward through this monitoring

       20   product for which we've taken to a present value for

       21   damages purposes.

       22               Your Honor, starting at slide 143, we do a

       23   deeper dive into the restatement.           As I said, we've

       24   spent substantial time, and I would like to go through

       25   this with you.


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        1                THE COURT:      Well, this is what we're going to

        2   talk about tomorrow; isn't it?

        3                MR. SIEGEL:      I'm sorry?

        4                THE COURT:      This is what we're going to talk

        5   about tomorrow?

        6                MR. SIEGEL:      I don't know how much this is

        7   going to come up tomorrow.         So let me just walk through

        8   it.   I think I can get through most of it in about 20

        9   minutes here.

       10                THE COURT:      All right.

       11                MR. SIEGEL:      I just -- what I want to do, at

       12   least for purposes of this argument and how it relates

       13   to class certification and these damages theories being

       14   grounded in solid Virginia law tethered to our claims

       15   on behalf of the whole class, for purposes of

       16   certifying the class, that's really the goal for today.

       17                So we add a little more detail here on 143

       18   about there's two ways to conceptualize this, the value

       19   to the plaintiffs or the cost of remedy, the breach of

       20   Capital One's failed performance.           These, again, are

       21   concepts under the restatement, Sections 347 and

       22   348(2)(b).      We believe that a court -- I'm sorry -- a

       23   jury can easily find that those are appropriate

       24   mechanisms to determine that this relief is

       25   appropriate.


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        1                So under that first one, under 347, the

        2   concept of this present value of credit monitoring, as

        3   a measure of the value of Capital One's contractual

        4   performance, that is one way to think about it.

        5   Buyers, you know, willingly purchase products and

        6   services that safeguard PII.          I mean, those are

        7   open-market products, so we're able to value those.                  We

        8   think that is exactly what the restatement says about

        9   using that value as a fiat for Capital One's

       10   performance of its promise to protect the data.

       11                The next concept is just a little different

       12   under 348.      That is the -- the concept of this credit

       13   monitoring is a measure of the cost to remedy Capital

       14   One's defective performance.          You can either -- you can

       15   do two things with this data.          You cannot disclose it,

       16   which is what Capital One promised or -- now once

       17   disclosed, now that the cat is out of the bag -- and

       18   Mr. Mitnick is quite clear about this part, that the

       19   only way to protect it at this point is to actively

       20   monitor.     So because it can't be undisclosed under

       21   348(2)(b), we think this is a second basis to support a

       22   contract theory applying the concept of present value

       23   of future monitoring.

       24                We also think, as we -- on those initial

       25   boxes, you will see a checkmark for these damages as it


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        1   relates to negligence as to both Amazon and Capital

        2   One.   We walk through in these slides, Your Honor, the

        3   concept of medical monitoring.          The defendants have

        4   argued that medical monitoring concepts are

        5   inapplicable because there's no present injury.               We

        6   believe that is not the case here because we can show

        7   that, unlike medical monitoring cases that the

        8   defendants have raised, here we have the value of

        9   identity theft protection is accompanied -- it's not

       10   sitting out there naked.         It's accompanied by a

       11   presently compensable injury in the form of this value

       12   of access to plaintiffs' PII, the concept of this

       13   royalty that I'll talk about here shortly and,

       14   therefore, we think is well supported by established

       15   Virginia common law.

       16               So to do a little bit of a deeper dive as it

       17   relates to using this value identity protection

       18   services as a theory of damages for the negligence

       19   claim as to both defendants -- so this perhaps gets to

       20   an earlier question on standing, but I just -- the

       21   concept held in restatement of torts, again, frequently

       22   cited in Virginia law, this specific section, 910,

       23   says, One injured by the tort of another is entitled to

       24   recover damages from the other for all harm, past,

       25   present, and prospective, legally caused by the tort.


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        1               And so the concept of this credit monitoring

        2   cost to repair the confidentiality of the PII are these

        3   future mitigation costs referred to in the restatement,

        4   and these include expenditures reasonably made in an

        5   effort to avert the harm threatened by the defendants'

        6   conduct.    And we think that applies to both Capital One

        7   and Amazon.

        8               Alternatively, under Section 928, you will

        9   see there's a basis under Virginia law for cost to

       10   repair.    When diminution in value is not available, as

       11   it's not here, the alternative under Virginia law is to

       12   measure damages as the reasonable cost of repair under

       13   a negligence theory.

       14               So that's, in a nutshell, the value of

       15   identity protection services, the present value of that

       16   and how that is captured by our claims.

       17               Let me turn to the value of access to PII.

       18   This begins on slide 149.         This is Mr. Olsen's report.

       19   He walks through in great detail the concept of this,

       20   of the nonpracticing patent owner who's been damaged

       21   through the unauthorized use of the patent.               So this is

       22   a concept where, in this instance, when you have this

       23   type of patent infringement by a noncompetitor, the

       24   damages are a reasonable royalty.           We think that can

       25   correlate precisely, precisely to the facts we have


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        1   here.

        2               The threshold for that, beginning on 150, is

        3   accepting, Judge, the threshold question of whether

        4   there is a protectable property interest in personal

        5   information.      I think -- I don't think there's anything

        6   in your order that sort of decided that issue one way

        7   or the other even though it was discussed at the motion

        8   to dismiss phase.

        9               But the concept of a protectable property

       10   interest is certainly well supported in data breach

       11   cases, Marriott being one of the most recent that Your

       12   Honor cited for a different proposition in the order on

       13   the motion to dismiss.        In that case, Judge Grimm

       14   collects the cases for the, quote, growing trend across

       15   courts that have considered the issue to conclude that

       16   individuals have property interest in their personal

       17   information.

       18               And so that is a threshold question.

       19   Obviously, it applies to the class as a whole.               Either

       20   it is or it isn't.       We think the Court will ultimately

       21   conclude that is a protectable property interest.

       22               So the concept of a reasonable rental value

       23   for damages associated with unauthorized use of

       24   personal property, which is what we have here, that is

       25   contained under a statement of torts at 931, at


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        1   Comment A.       And that rental value is the market value.

        2   They have similar transactions.           That's exactly the

        3   exercise that Mr. Olsen took here.

        4                This can also be applied to a contract theory

        5   as to Capital One, the concept of value of an

        6   unauthorized access as a measure of restitutionary

        7   recovery for a breach of contract.            This is Section 42

        8   of the restatement of restitution that recognizes these

        9   patent-like damages, measures for unauthorized use

       10   beyond the traditional IP categories.            They are

       11   comparable to rights that control the use of any idea,

       12   expression, or information.          Again, really consistent

       13   with what Justice Thomas has said throughout his

       14   jurisprudence about these common-law claims and

       15   personal privacy rights and interest in your own

       16   information.       We identify the specific comments to the

       17   restatement that provide for these restitutionary type

       18   values as relief for a breach of contract claim.

       19                Finally, disgorgement.        Obviously, it's

       20   tethered, in the first instance, to unjust enrichment.

       21   The concept of disgorgement is measured by the benefit

       22   realized and retained by the defendant.             That is the

       23   Virginia Supreme Court.        And that benefit is quite

       24   broad.     The restatement provides it can be profits, but

       25   it can also be things like savings and other


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        1   consequential gains from retention, in this case, of

        2   plaintiffs' PII unjustly.

        3               So with respect to Capital One, on slide 153,

        4   we -- they were certainly enriched by the use of class

        5   members' PII as a nonreturnable benefit.             We have

        6   specific dollar values associated with that benefit

        7   that are in the summary chart under seal I referred to

        8   earlier.    And it can be measured by the value of --

        9   that harm, that damage can be measured by the value of

       10   the benefit in advancing the purposes of the defendant,

       11   and that's what Mr. Olsen has done here.

       12               And the fraud loss is avoided through

       13   modeling using class members' PII, including people who

       14   were never cardholders.        They were just applicants.

       15   They're using all this data.           We believe that is an

       16   appropriate theory of damages for unjust enrichment.

       17               THE COURT:       One question I had about the

       18   unjust enrichment.       As I understand the theory, it's

       19   that somebody provided a benefit for which they have

       20   not been compensated.        Correct?

       21               MR. SIEGEL:       No.     It's provided a benefit,

       22   the retention of which, under the circumstances, is

       23   unjust.

       24               THE COURT:       Right.

       25               MR. SIEGEL:       So that's a little different


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        1   than looking at the benefit conferred to the plaintiff.

        2   It is a -- it's, obviously, a broad spectrum of factual

        3   scenarios that may fall under that.            But if the

        4   plaintiffs conferred their personal information and the

        5   defendants retained that under circumstances for

        6   long-term --

        7               THE COURT:       That are unjust.

        8               MR. SIEGEL:       That are unjust.

        9               THE COURT:       In assessing the circumstances,

       10   though, you need to consider what the person providing

       11   the information received in return.

       12               MR. SIEGEL:       I can --

       13               THE COURT:       How would you otherwise measure

       14   unjustness?

       15               MR. SIEGEL:       Yeah.   Well, I think that is a

       16   circumstance, sure.       I think that may be in the panoply

       17   of circumstances a jury can consider on whether it's

       18   just or unjust.      Sure.    And I think, obviously, we

       19   think the facts here are going to suggest that that

       20   retention is unjust.

       21               Disgorgement, it can also be an alternative

       22   to the contract remedy.        So where a breach is

       23   deliberate -- this is citing a Pennsylvania case, but

       24   this refers to the restatement.           If there is a

       25   deliberate breach of a contract that results in profit


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        1   to a defaulting promisor -- in this case, Capital

        2   One -- the available remedy -- again, only Capital One

        3   has the contract.        So the available remedy -- this

        4   would only apply to Capital One -- affords inadequate

        5   protection to the promisees' contractual entitlement.

        6                So if for some reason there is not a finding

        7   of damages with respect to the contract claim, the jury

        8   can consider this disgorgement theory as an

        9   alternative.        And I do believe it would be an

       10   alternative under this particular theory of damages

       11   under the contract claim.

       12                We provide there the concept of cost savings

       13   under the restatement, which is what certainly we have

       14   in the case of Capital One in support for our unjust

       15   enrichment claim, and how they used plaintiffs' PII for

       16   fraud modeling conferring this benefit that was

       17   retained unjustly.

       18                With respect to this claim against Amazon,

       19   the unjust enrichment claim, the Court touched on this.

       20   This is slide 156.        Plaintiffs, obviously, directly

       21   transacted business with Capital One, but I think the

       22   Court understood the claim here that ultimately there

       23   was a benefit conferred on Amazon by Amazon's use of

       24   that PII.        And, again, Amazon profited, and we have

       25   Mr. Olsen providing the profit calculations based on


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        1   Amazon's retained benefits from retaining plaintiffs'

        2   PII and, obviously, a function of its contracts with

        3   Capital One.

        4                Finally, Your Honor, nominal damages.            So the

        5   case I was searching for earlier is Paulette , among

        6   others.     Kerns v. Wells Fargo is probably the key one,

        7   818 S.E. 2d 779, which is a Virginia Supreme Court

        8   case.     This is the concept that once there is breach,

        9   the law infers damage.

       10                And so this touches on the standing question,

       11   but clearly, if there is a legal threshold to damage,

       12   there's Article III standing.          But I don't want to

       13   rehash that argument.

       14                THE COURT:       All right.

       15                MR. SIEGEL:       It is the case I was searching

       16   for earlier that I could not come up with when we were

       17   talking about this.        So here it is.      It's Kerns.

       18                The concept here is nominal damages as to the

       19   breach of contract claim initially.            This is the

       20   minimum recovery if the jury does not accept our other

       21   theories of damage but finds breach.            In other words,

       22   if they find breach -- if they find we've met the

       23   elements but did not -- if they find we've lacked proof

       24   in quantifying the damage, we're entitled to nominal

       25   damage.


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      1               THE COURT:       Well, I mean, nominal damages --

      2   and I understand these cases are a little unclear about

      3   exactly what they're talking about.            But as I read

      4   them, I understand nominal damages to essentially be a

      5   default measure of damages in a breach of contract case

      6   for a proven injury.         It doesn't mean you get nominal

      7   damages where there's no injury.           It's where you have

      8   injury that can't be measured or people chose not to

      9   measure.    It's the default measure of an injury.

    10                MR. SIEGEL:       Of damage.

    11                THE COURT:       Of damage, yes.

    12                MR. SIEGEL:       Yes, agreed.

    13                THE COURT:       Flowing from an injury.

    14                MR. SIEGEL:       Correct.

    15                THE COURT:       All right.

    16                MR. SIEGEL:       So the concept of nominal

    17    damages, again, in this Kerns case where there's a

    18    legal right to be vindicated where there has been no

    19    actual present or loss of any kind where from the

    20    nature of the case some injury has been done but the

    21    proof fails to show the amount, which I think is

    22    exactly what Your Honor just said --

    23                THE COURT:       Right.

    24                MR. SIEGEL:       -- that's Kerns.

    25                And so, again, we think, you know, this is a


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      1   jury question:        Is there an injury?      And the jury may

      2   find, yes, injury, but reject our damages theories.                 We

      3   hope not.        But if that's the case, we would be entitled

      4   to nominal damages at that point as an alternative

      5   remedy.

      6                And so just the concepts here.          Because this

      7   has come up in various arguments on unrelated issues

      8   and certainly has been injected as part of the

      9   certification question.         The concept of nominal damages

    10    in a class action cannot be diminished because there's

    11    98 million people.        That would be a plain violation of

    12    the Rules Enabling Act, which can't increase or

    13    decrease the rights of individuals, and Rule 23

    14    wouldn't permit Capital One to attempt to subvert that

    15    right, individual right, through Rule 23.

    16                 So each individual would be entitled to -- if

    17    we prove the elements of our contract claim but not

    18    this damage to specificity -- a nominal damages for

    19    breach of contract -- there are cases all over the map.

    20    It's our view -- and we'll ask for $100 per class

    21    member.     Again, I think Capital One has objected to

    22    that as being somehow outrageous.

    23                 Again, Your Honor, I would just put it to the

    24    Court this way:        $100 per head of people in this room,

    25    you know, we're talking about $5,000.            The function of


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      1   the large numbers, if it's $100 a head and we're at

      2   $9.8 billion, that is a function of Capital One's

      3   failure to protect this data for this massive group of

      4   people.    That's not the plaintiffs' fault.

      5                And so individually, even for a nominal

      6   damage, $100, which has been accepted by Virginia

      7   courts, we would think would be appropriate as an

      8   alternative remedy, again, not something that needs to

      9   be determined as part of the class certification but

    10    something that is surely going to be briefed down the

    11    pike.

    12                 So there are -- there is a basis for nominal

    13    damages as well for unjust enrichment.            We've cited

    14    cases on slide 159 where, again, if we meet the

    15    elements, damages are unproved, then we are in the

    16    nominal damages territory with respect to the unjust

    17    enrichment claim.

    18                 Slide 160 provides a similar basis to

    19    consider nominal damages with respect to the negligence

    20    claim.     Again, I would just ask the Court to look at

    21    the Kerns case, Kerns v. Wells Fargo , the Virginia

    22    Supreme Court case, which talks about the concept of

    23    nominal damages to vindicate a right where there's --

    24    in negligence where no actual loss occurred.              Here,

    25    again, we think there has been an actual loss that has


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      1   occurred, and that's the concept of this royalty value,

      2   this rental value that Mr. Olsen has put on behalf of

      3   the plaintiff class that makes that injury or damage

      4   current and, therefore, appropriate for a negligence

      5   theory.

      6               I will -- because actual damages are

      7   available, all of these damages theories I've just

      8   described are available under the state statutory

      9   claims -- I won't go through them -- and that begins on

    10    161 for detail.

    11                The actual damages are available under New

    12    York, Washington, California, and CLRA.            All the

    13    theories, the theories of loss market value of access

    14    to PII, the actuarial present value of the identity

    15    theft protection are -- the rental value, I should say,

    16    and the actuarial present value of identity theft

    17    protection are actual damages available under these

    18    state statutory claims and satisfy as well

    19    restitutionary claims under California's UCL and CLRA.

    20                Finally, the next slide is the same with

    21    respect to Amazon.      It includes a Florida statute which

    22    was not included in the prior slide.            It excludes the

    23    CLRA which was included as to Capital One but otherwise

    24    identical with respect to what damages are available

    25    under those state statutory claims.


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      1                So I think I've addressed the predominance

      2   issues, as I've gone through here, that defendants have

      3   raised.

      4                And in my final two minutes, as I'm going to

      5   dutifully stay to the Court's limitation here, is the

      6   concept of superiority.        So this is under

      7   Rule 23(b)(3).       This is a critically important idea,

      8   and that is that a class action is the right tool to

      9   resolve these issues.

    10                 So I think the -- and there's elements under

    11    Rule 23(b)(3) which should be considered by the Court.

    12    But the concept that a class action is superior to

    13    having 98 million people come through your doors or

    14    even a tiny percentage of that, we think it's

    15    unquestionably the right way to resolve these issues

    16    for good or ill as to the plaintiff class.               Maybe the

    17    defendants will win, but they'll win as to the entire

    18    class.     And we just think that is the appropriate way

    19    to deal with a case that has this many common issues

    20    that will transfer across all 98 million class members.

    21                 It is also quite clear that under 23(b)(3)(A)

    22    that the realistic alternative to a class action is no

    23    recovery for these plaintiffs, and we think that is an

    24    important consideration.        You can see what is lined up

    25    to my right back here.        They have an incredible legal


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      1   team that is fighting this case tooth and nail, and for

      2   an individual to do battle against Capital One and

      3   their lawyers, it really means there is no alternative

      4   to a class action.      That is a consideration under

      5   Rule 23(b)(3)(A) and one that the TD Bank case we cite

      6   on slide 171 talks about.

      7               We also satisfy (3)(b) and (3)(c) as

      8   superiority concerns.        I think if you look at TD Bank,

      9   that goes actually through superiority.            It's very

    10    similar.    You have a common contract, a form contract,

    11    and the issues in TD Bank are very similar -- in the

    12    certified case, very similar to the issues present

    13    here.

    14                Finally, certification under 23(b)(2), this

    15    is Count 4 for declaratory relief.           That is appropriate

    16    under (b)(2) when a party opposing the class has acted

    17    or refused to act on grounds that apply generally to

    18    the class making final injunctive relief appropriate.

    19                The relief here is definite and concrete we

    20    are seeking, the injunction we're seeking regarding the

    21    protection of this data as to both Capital One and

    22    Amazon.    The injunction is not seeking damages.             So

    23    there's no question that we're not trying to jam a

    24    damages theory into a (b)(2) certification, which

    25    sometimes has gotten plaintiffs into trouble.              But it


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      1   is purely a separate injunctive relief with respect to

      2   ensuring the protection of this data on a prospective

      3   basis.

      4                And our expert describes in great detail what

      5   is necessary to satisfy a reasonable security standard,

      6   included -- summarized in slide 178 where Professor

      7   Madnick explains what is necessary to ensure that this

      8   data is protected.

      9                Finally, issue certification.          Really

    10    finally, I think.      We're close to really finally.

    11                 Issue certification, we don't -- you know,

    12    Rule 23(c)(4) is something we moved under.               We think

    13    it's appropriate to certify --

    14                 THE COURT:      I've seen that.

    15                 All right.      We're going to go ahead and break

    16    for lunch.

    17                 MR. SIEGEL:      Thank you, Your Honor.

    18                 THE COURT:      We will start at 2:00 with

    19    Mr. Balser.

    20                 MR. BALSER:      Thank you, Your Honor.

    21                 THE COURT:      The Court will stand in recess.

    22         (Recess from 1:03 p.m. until 2:03 p.m.)

    23                 THE COURT:      Mr. Balser.

    24                 MR. BALSER:      Thank you, Your Honor.         David

    25    Balser on behalf of Capital One.


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      1                I would like to take the Court up on its

      2   invitation to begin argument with a focus on standing,

      3   and I agree with the Court that the issue with standing

      4   is imminently bound up with the class certification

      5   issue.     So I do think it makes sense to spend some time

      6   working our way through the standing issues.

      7                And like Mr. Siegel, we have prepared a

      8   PowerPoint that we think will assist or hope will

      9   assist the Court as we go through the argument.

    10                 THE COURT:       All right.

    11            (Documents are passed up to the Court.)

    12                 MR. BALSER:       And I'd like to do a deep dive

    13    into standing before we turn to the Rule 23

    14    predominance arguments and the other Rule 23 arguments

    15    that we have.

    16                 To begin, the eight representative plaintiffs

    17    -- and that's really all the Court can focus on here.

    18    There's 98 million absent class members, but there's 8

    19    representative plaintiffs whose claims are at issue

    20    here.    Not one of them has suffered an injury that's

    21    sufficient to confer standing for this Court to hear

    22    their negligence, statutory and injunctive relief

    23    claims under Article III.

    24                 Plaintiffs' standing is foreclosed by two

    25    Fourth Circuit cases, which this Court is now very


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      1   familiar with.      The Beck and Hutton cases, as well as

      2   the Supreme Court's recent decision in TransUnion v.

      3   Ramirez.    The Court must resolve this challenge to its

      4   jurisdiction to hear those claims before addressing any

      5   of the other pending motions, including plaintiffs'

      6   motion for class certification, because plaintiffs who

      7   lack standing cannot pursue claims on behalf of an

      8   alleged class.      That's just black-letter law, and

      9   plaintiffs' invitation to delay the consideration of

    10    the standing issues is inviting error.

    11                Fortunately, deciding this jurisdictional

    12    question at this stage of the proceedings is a

    13    straightforward matter because the record evidence is

    14    now established, and it clearly shows that these eight

    15    representative plaintiffs have not been injured by the

    16    cyber incident.

    17                THE COURT:       How does the Court do that?

    18    Under a summary judgment standard?

    19                MR. BALSER:       It is a summary judgment

    20    standard, Your Honor, absolutely.           Could a reasonable

    21    juror conclude, based on the evidence, that the

    22    plaintiff has shown that it has suffered an

    23    injury-in-fact that is traceable to the data breach?

    24    That's the standard.

    25                THE COURT:       Okay.


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      1               MR. BALSER:       And it's not a jury question.

      2   It's a question for the Court to decide.             The jury

      3   doesn't get to decide Article III issues.             It's the

      4   Court --

      5               THE COURT:       Well, under the summary judgment

      6   standard, the issue is whether there's a factual issue

      7   or whether there's no genuine issues of disputed fact.

      8               MR. BALSER:       No genuine issue of disputed

      9   fact from which a jury can conclude the standing.

    10                THE COURT:       Right.

    11                MR. BALSER:       And I think we all agree on what

    12    the summary judgment standard is, and we agree that

    13    that is the standard that the Court should apply.

    14                THE COURT:       Right.   But those facts under the

    15    summary judgment standard are to be viewed most

    16    favorably to the plaintiff with all reasonable

    17    inferences drawn in their favor.          So if the Court were

    18    to conclude, based on that standard, that there's a

    19    genuine factual issue, then that would go to the jury?

    20                MR. BALSER:       Well, the Court would then have

    21    established that the plaintiffs have standing.              We

    22    still would have our arguments under Rule 23, and we

    23    have a summary judgment motion that's pending.              So we

    24    would say, no, it's never going to get to the jury, you

    25    know, once the Court takes up our summary judgment


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      1   issue, but it would have passed the --

      2               THE COURT:       All right.    I understand, the

      3   standing issue.

      4               MR. BALSER:       It would have passed the

      5   standing threshold.

      6               THE COURT:       All right.

      7               MR. BALSER:       So let's be clear what claims

      8   we're asking the Court to dismiss under Article III.

      9   It's three sets of claims, the negligence claim, the

    10    state statutory violations, and the injunctive relief

    11    claim.

    12                As Your Honor well knows, Article III

    13    requires plaintiffs to invoke the jurisdiction of a

    14    federal court to establish standing.            Much of the

    15    argument that I heard this morning from Mr. Siegel

    16    attempts to shift the burden to the defendants to prove

    17    that the plaintiffs don't have standing, but that's not

    18    the standard.      It's the plaintiffs who have the burden

    19    to show standing, and to establish standing, they have

    20    to show that they suffered an injury-in-fact that's

    21    fairly traceable to the challenged conduct of the

    22    defendant and it's likely to be redressed by favorable

    23    judicial decision.       We don't contest redressability

    24    here.

    25                Because discovery has closed, plaintiffs must


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      1   prove their standing with evidence.            The Fourth

      2   Circuit's cases are clear about this fundamental

      3   requirement, which descends from the Supreme Court's

      4   decision in Lujan.        In Beck, the Fourth Circuit held

      5   that because the plaintiffs had developed a summary

      6   judgment record, they were required to prove their

      7   standing with evidence and specific facts.

      8                We cited the Libertarian Party of Virginia v.

      9   Judd case, which is another Fourth Circuit case that

    10    held that following the close of discovery, plaintiffs

    11    were required to establish their standing with

    12    evidence.        And as Your Honor properly noted, the proper

    13    evidentiary standard resembles summary judgment.

    14                 In the Department of Commerce v. U.S. House

    15    of Representatives case, the Supreme Court held that to

    16    proceed to trial, plaintiffs must establish at least a

    17    genuine issue of material fact as to each element of

    18    their standing.        And as I said before, importantly,

    19    this is a threshold consideration that the Court needs

    20    to take up.        This means that plaintiffs here are

    21    required to make this evidentiary showing at this

    22    juncture before this Court considers whether to certify

    23    a class.

    24                 Under the Supreme Court's decision in Steel

    25    Company v. Citizens for a Better Environment , it's not


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      1   appropriate for district courts to exercise

      2   hypothetical jurisdiction over actions where as a

      3   matter of fact standing has not been established.

      4   Indeed, in the Rivera v. Wyeth, this Fifth Circuit case

      5   that we've cited in our motion for leave to file

      6   supplemental brief on Ramirez, the Fifth Circuit held

      7   that it was reversible error to certify a class where

      8   the named plaintiffs clearly lack standing.              We cited

      9   both of those cases, both Rivera and the Steel Company

    10    case in our papers.

    11                As I'm going to discuss in a little more

    12    detail here in a minute, no class should be certified

    13    in this case in any event, but the Court shouldn't even

    14    reach that issue and inquiry until it assures itself

    15    that it has jurisdiction over the claims of the named

    16    plaintiffs.

    17                So how does the Court make that

    18    determination?      Fortunately, the Fourth Circuit has

    19    provided ample guidance on this.          It is twice

    20    considered in the context of claimed data breaches

    21    whether plaintiffs have standing.           Beck and Hutton both

    22    make clear that the mere compromise or theft of data

    23    fails to satisfy the injury-in-fact requirement of

    24    Article III.      I'll get into the facts of those cases in

    25    a little more detail in a minute, but the upshot of


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      1   Beck and Hutton is that plaintiffs cannot establish

      2   standing based on the mere fact of a data breach.

      3                As the Court well knows and we briefed, the

      4   Supreme Court recently considered standing in the

      5   TransUnion v. Ramirez case.         There the court affirmed

      6   the fundamental requirement that plaintiffs must prove

      7   a concrete injury-in-fact to invoke the jurisdiction of

      8   a federal court.       Justice Kavanaugh writing for the

      9   court said not once but twice, no concrete harm, no

    10    standing.

    11                 The Supreme Court held in that case that

    12    plaintiffs do not have Article III standing to seek

    13    damages based only on a future risk of harm.              That is

    14    clear from Ramirez.       The court recognized as persuasive

    15    TransUnion 's argument that in a damages suit -- and I

    16    quote -- The mere risk of future harm, standing alone,

    17    cannot qualify as a concrete harm.

    18                 The court adopted that reasoning as the basis

    19    for its decision when it said, Here the 6,332

    20    plaintiffs did not demonstrate that the risk of future

    21    harm materialized.       Therefore, their damages claims,

    22    based on an unasserted risk of future harm, is

    23    unavailing.

    24                 Thus, the real risk of harm under Ramirez --

    25    the risk of real harm must either materialize into an


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      1   actual harm or cause some independent harm to occur in

      2   order to confer standing.

      3               THE COURT:       The Court in Hutton distinguished

      4   Beck on the grounds that in Beck all there was was the

      5   theft of a computer that happened to have personal

      6   information on it and distinguished Beck from the

      7   allegations in Hutton that there was a targeted hack

      8   for the purposes of obtaining personal information.

      9   The court, I believe, said for the purposes of

    10    establishing plausibility, you could reasonably infer

    11    that somebody who targeted personal identification did

    12    so with the intent to use it in some fashion.              It was

    13    really on the basis of that, I think, that they said

    14    you can infer plausibly actual harm for the purposes of

    15    Article III standing.

    16                What's unclear to me is whether the

    17    reasonable inference is still reasonable in light of

    18    what Ramirez has to say.

    19                MR. BALSER:      It may not be, and I think it's

    20    a really good question.        I think that, you know, there

    21    are a couple of differences between Hutton and Ramirez.

    22    Hutton was decided on pleadings.           It was a facial

    23    challenge, not a factual challenge.           And Ramirez

    24    certainly occurred after a full evidentiary hearing.

    25                But I do think, you know, in Ramirez, even


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      1   if -- like, to take the facts of our case, I mean, even

      2   if the plaintiffs could prove there is dissemination of

      3   the data, which they haven't, I don't think that gets

      4   them far enough under Ramirez.          Whereas under Hutton,

      5   it might have.       So I think there may be some curtailing

      6   of the rationale in Hutton by Ramirez.             I think Hutton

      7   actually helps our case, even though the Court found

      8   standing there, because I think it shows what a

      9   plaintiff would have to show to satisfy traceability.

    10    The facts of that case were really pretty compelling at

    11    least as alleged.

    12                 In that case, there were members of an

    13    optometry association who over a course of years had

    14    provided PII, including name, date of birth, social

    15    security number, in order to take the optometry exam to

    16    get licensed.       And what started happening is a number

    17    of these people, all of whom were members of this

    18    association who had provided that information, all

    19    started getting false Visa cards opened in their own

    20    names.     Some of those names were maiden names that had

    21    been provided only to the optometry association 20

    22    years ago.

    23                 And so when you look at the facts as alleged

    24    there, the court, I think, correctly found that

    25    traceability had been met.         That's a far cry from the


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      1   circumstances that we have here, and I'm going to go

      2   through the individual plaintiffs in a little bit of

      3   detail here to show the differences.

      4               But I do agree with Your Honor that I think

      5   Ramirez is a game changer, and I do think that fairly

      6   read, the rationale in Hutton may no longer hold up

      7   under Ramirez where future risk of harm is just clearly

      8   insufficient to support standing.

      9               THE COURT:       Well, that's the issue.       Can you

    10    establish Article III standing in the absence of

    11    materialized harm based on the threat no matter how

    12    substantial?

    13                MR. BALSER:       I think the answer is clearly no

    14    after Ramirez.      I just think the answer is no.           And I

    15    think there's other indicia in Ramirez that supports

    16    that conclusion.      For example, the court in Ramirez

    17    made clear that courts are not permitted to redress

    18    legal violations absent concrete harm.            There was that

    19    great quote that Justice Kavanaugh used from the

    20    Casillas case that Justice Barrett had written when she

    21    was on the Seventh Circuit which said that Article III

    22    grants federal courts the power to redress harms that

    23    defendants cause plaintiffs, not a freewheeling power

    24    to hold defendants accountable for legal infractions.

    25                Without proof of an injury-in-fact, this


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      1   Court cannot award plaintiffs damages here by holding

      2   Capital One accountable for some legal infraction that

      3   caused no harm.       I mean, I think they're absolutely

      4   clear.     You have got -- it has to be a concrete

      5   particularized materialized harm in order to meet the

      6   standard for Article III.

      7                So I think the key takeaways under Ramirez

      8   are a plaintiff has to have suffered concrete harm to

      9   have standing to seek damages.             The mere risk of harm

    10    is not concrete under Ramirez, and federal courts don't

    11    have some freewheeling power to correct a violation of

    12    law divorced from actual injuries.             That's what the

    13    court says.

    14                 So before I get further into the core

    15    Article III arguments and apply them to the facts here,

    16    I do want to address the plaintiffs' arguments on

    17    Ramirez, some of which Mr. Siegel made this morning,

    18    some of which were in the briefs.

    19                 THE COURT:       All right.

    20                 MR. BALSER:       In a recently filed supplement

    21    brief and some this morning, the plaintiffs have tried

    22    the gloss over Ramirez with three incorrect arguments

    23    that are unsupported by that opinion.             This is what

    24    they rely on to try to get by Ramirez.

    25                 First, they argue that they have standing --


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      1   this is their argument -- that they have standing to

      2   assert their negligence claim because it arises under

      3   common law.      That's their argument.       The second one is

      4   they have standing because they seek damages.              And

      5   their third argument -- and I want to spend some time

      6   on this because Mr. Siegel spent quite a bit of time on

      7   it -- they say that this Court should assume standing

      8   because the issue is intertwined with the merits.                Each

      9   of these arguments is wrong, and I want to just briefly

    10    address each of them in turn.

    11                So let's start with this theory about

    12    common-law right.      First, the plaintiffs incorrectly

    13    argue that they've established standing by merely

    14    alleging the violation of a common-law right as opposed

    15    to a statutory right.        Asserting a common-law right

    16    does not automatically grant standing.             Ramirez did not

    17    hold that, and no other Supreme Court case has either.

    18                In fact, Ramirez states an injury-in-law is

    19    not an injury-in-fact, and they go on to say that in a

    20    suit for damages, the mere risk of future harm,

    21    standing alone, cannot qualify as a concrete harm.

    22    Ramirez simply does not limit the concrete harm

    23    requirement to statutory violations.            Plaintiffs'

    24    negligence claim here alleges only an injury-in-law.

    25    That is not sufficient for standing.


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      1                Now, plaintiffs have not cited a single case,

      2   not one, applying this theory of standing, which would

      3   mean that plaintiffs would always have standing to

      4   assert any tort claim.        Hutton forecloses that theory.

      5   There the Fourth Circuit held that plaintiffs had

      6   standing to sue for negligence but only after

      7   painstakingly analyzing whether they had, in fact,

      8   alleged an injury-in-fact.

      9                In fact, if we put up on the slide here the

    10    entire opinion in Hutton, two pages of that opinion

    11    were devoted to analyzing whether there was an

    12    injury-in-fact sufficient to support standing.              In

    13    plaintiffs' view of standing, that was an unnecessary

    14    analysis.

    15                 And as we talked about a minute ago, the

    16    plaintiffs in Hutton had standing or were found to have

    17    standing because they had alleged actual fraud and had

    18    tied that fraud to the only common source of the

    19    plaintiffs' data; that is, they alleged that the injury

    20    was traceable to the defendant.

    21                 I think it's just worth noting that this

    22    argument would apply only to the negligence claims in

    23    any event and not to the state statutory claims, which,

    24    of course, are not common-law rights.

    25                 I think it's also important to note on this


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      1   theory of, you know, because we've alleged negligence,

      2   we get into federal court, courts in data breach cases,

      3   both within the Fourth Circuit and outside, routinely

      4   dismiss negligence claims for lack of standing.               On

      5   this slide here that we have, we've listed ten cases,

      6   all of which are data breach cases, that were dismissed

      7   by courts for failure to plead or prove standing in

      8   data breach cases.       At least two of those cases were

      9   affirmed on appeal by the Eighth Circuit and the Third

    10    Circuit.

    11                 In contrast, plaintiffs have not cited a

    12    single case adopting their novel theory of standing

    13    under which a plaintiff can always assert any

    14    common-law claim in federal court even if they were

    15    uninjured.       They rely on a couple of cases, each of

    16    which is in apposite.         The one I like the most is the

    17    Whittemore v. Cutter case.         That's a 208-year-old

    18    patent case.

    19                 Even if that case suggests that legal

    20    violations are injuries -- and I invite the Court to

    21    read that opinion and see whether the Court can find

    22    that inference anywhere in there -- Ramirez says the

    23    opposite.        Ramirez is clear that an injury-in-law is

    24    not an injury-in-fact.

    25                 They rely on the FMC Corp. v. Boesky case,


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      1   which is a Seventh Circuit case.          That was a case that

      2   dealt with common-law actions that do not require a

      3   proof of injury, like fiduciary duty claims, and they

      4   say so in that decision.        That case does not hold that

      5   plaintiffs can seek compensatory damages under a

      6   negligence theory without proving that they've been

      7   harmed.

      8               Plaintiffs also rely on Justice Thomas'

      9   concurrence in Spokeo.        Of course, a concurrence is not

    10    the law.    The Spokeo majority held that to establish an

    11    injury-in-fact, a plaintiff must show that he or she

    12    suffered an invasion of a legally protected interest

    13    that is concrete and particularized.            That's two

    14    separate inquiries.       The law asked whether there's been

    15    a legal invasion, and the second question is whether

    16    that invasion is concrete.         The upshot is that legal

    17    invasions are not always concrete.

    18                They cite the Servicios case, which is a

    19    breach of contract case, and it does not hold that

    20    negligence claims can proceed without proof of injury.

    21    They cite the Supreme Court's decision in the

    22    Uzuegbunam case.

    23                Easy for me to say.        Good luck with spelling

    24    that one, Ms. Montgomery.

    25                That case involved a constitutional violation


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      1   which is clearly an injury-in-fact.           The court's

      2   opinion in that case was limited to nominal damages and

      3   redressability.       It says nothing about whether

      4   uninjured plaintiffs have standing to claim

      5   compensatory damages for negligence.

      6                They mention in a footnote in their Ramirez

      7   brief that they would still have standing

      8   notwithstanding Ramirez because the harm they allege is

      9   similar to disclosure of private information, which the

    10    Supreme Court recognized in Ramirez as a common-law

    11    harm.     There's a reason that one is in the footnote,

    12    not in the text of their brief.          Capital One did not

    13    disclose plaintiffs' information here.            The information

    14    was stolen from Capital One, and much of the

    15    information at issue here was already public anyway, as

    16    the Court knows.       There is no common-law liability and

    17    analogous circumstances, and Ramirez does not suggest

    18    otherwise.

    19                 This theory is also foreclosed by Beck and

    20    Hutton.     Ramirez does not overrule or abrogate those

    21    cases except, I think, as Your Honor pointed, that some

    22    of the reasoning in Hutton about traceability might not

    23    still be good law after Ramirez.           I think Ramirez does

    24    go farther than Hutton did, but those cases clearly

    25    hold that mere exposure of data does not create


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      1   standing.        Certainly, those holdings have only been

      2   reinforced by Ramirez, not stirred by it.

      3                The next argument is a really interesting

      4   one.   They argue that because they allege damages, they

      5   automatically get into federal court.              But a claim for

      6   money damages does not mean that plaintiffs have

      7   suffered a monetary injury.           Plaintiffs cite no case

      8   adopting that extreme position.           Although Ramirez did

      9   recognize that monetary injuries are classic harms in

    10    common law, it does not follow that a mere allegation

    11    of money damages is enough to establish standing.

    12                 Plaintiffs' argument conflates damages, which

    13    is an element of their negligence claim, with injury,

    14    which is what Article III requires.              The fact that a

    15    plaintiff seeks money damages for a noninjury does not

    16    morph the noninjury into an injury-in-fact, and Ramirez

    17    suggests as much when the court said the mere risk of

    18    future harm, without more, cannot qualify as a concrete

    19    harm in a suit for damages.           The allegation of damages

    20    itself is not a concrete harm.           Otherwise, plaintiffs

    21    could get into federal court with only frivolous

    22    damages allegations, and that's not the law.

    23                 They argue quickly and briefly about

    24    mitigation expenses.           They argue that the claim for

    25    mitigation expenses saves the risk of harm theory, but


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      1   mitigation expenses are not analogous to the separate

      2   concrete harms identified by the Supreme Court in

      3   Ramirez.    They simply don't have a common-law cause of

      4   action based only on mitigation expenses, let alone

      5   mitigation expenses that are incurred in response to a

      6   nonimminent risk, which have clearly been foreclosed by

      7   both Clapper and Beck.

      8               Here is the argument I want to spend the most

      9   time on that they made, which is this argument about

    10    the standing issue being intertwined with the merits.

    11    Basically, what plaintiffs are asking the Court to do

    12    is kick the can down the road on standing because these

    13    issues are intertwined.        But if plaintiffs cannot show

    14    a genuine issue of material fact as to their

    15    standing -- and they cannot -- then dismissal for lack

    16    of jurisdiction is required and plaintiffs cannot

    17    proceed to trial on those claims.           That's the teaching

    18    of the Supreme Court's Department of Commerce case.

    19                Plaintiffs' argument that this Court can

    20    assume jurisdiction is not the law in a case that is

    21    proceeded through discovery where plaintiffs must prove

    22    their standing with evidence.          In addition to Beck and

    23    Libertarian Party of Virginia , which we discussed a few

    24    minutes ago, the Fourth Circuit in this Baehr v. Creig

    25    Northrop Team case quoted the Supreme Court's decision


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      1   in Lujan for the proposition that plaintiffs -- and I

      2   quote -- are obliged to set forth by affidavit or other

      3   evidence specific facts that when taken as true

      4   establish each element of Article III standing.

      5               This next slide, Your Honor, I think is the

      6   most important one.       Tellingly, the only cases that

      7   plaintiff cite are cases that were decided at the

      8   pleading stage, which we are far past.            You asked

      9   Mr. Siegel, and I wrote it down:          Can I consider these

    10    issues, these fact issues now?

    11                And Mr. Siegel said:        No, you can't

    12    because -- and he cited you to the Blackbaud case.                The

    13    Blackbaud case is dispositive, he said.

    14                That's a Rule 12(b)(1) case that was decided

    15    on the pleadings.      There's not one case that they cite

    16    that is not a facial challenge at the 12(b)(1) stage.

    17    The time to decide whether the Court has jurisdiction

    18    is now, not sometime in the future.

    19                Plaintiffs have had two years of discovery to

    20    come up with evidence that they've been harmed, and

    21    they haven't been able to do it.          Discovery is closed.

    22    Cross-motions for summary judgment are on file, and the

    23    law is clear that plaintiffs have to prove their

    24    standing with evidence.        Plaintiffs argument to the

    25    contrary is just incorrect.


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      1               Having taken the Ramirez issues off the

      2   table, I want to just quickly address the core

      3   Article III arguments.        And the Court is familiar with

      4   Beck and Hutton.      I'm not going to belabor the cases,

      5   but you know, the Fourth Circuit in Beck clearly held

      6   that the mere theft of plaintiffs' data, without more,

      7   cannot confer Article III standing.

      8               And I know Your Honor knows this, but I think

      9   it's worth pointing out here that unlike in the vast

    10    majority of data breach cases Mr. Siegel has been

    11    involved in and I've been involved in and others in

    12    this room have been involved in, the perpetrator here

    13    is in custody.      Her electronic devices have been

    14    seized.    The stolen Capital One data has been recovered

    15    and remains in the custody of the FBI.            Critically,

    16    there's no evidence that the stolen information has

    17    been disseminated or misused in any way.

    18                I think maybe the most important -- I mean,

    19    just a key, key fact is, you know, they rely on this

    20    purported expert, Kevin Mitnick, the former criminal

    21    hacker who -- I don't know if they knew this or not

    22    before his deposition, but he blurted out in his

    23    deposition that he had looked for the Capital One data

    24    on the dark web but couldn't find it.            And you don't

    25    have to take my word for it.         We have the clip, and


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      1   it's really worth watching.         It's two minutes at the

      2   most.

      3                THE COURT:      Go ahead and play it.       I've read

      4   the transcript.      Go ahead.

      5           (A video is played.)

      6                MR. BALSER:      That's their expert, not ours.

      7   They looked.      They couldn't find it.        The evidence here

      8   shows nothing more than a mere compromise of the data,

      9   which under Beck is insufficient to afford standing.

    10    If plaintiffs' data was not disseminated, it could not

    11    have been used to commit a fraud.

    12                 But I think to Your Honor's point, you know,

    13    a few minutes ago, even if the plaintiffs had evidence

    14    that Thompson disseminated the stolen data, plaintiffs

    15    could not establish standing based on some unspecified

    16    risk of fraud in the future.         I think that's what

    17    Ramirez holds.      That risk-based theory of standing is

    18    out after Ramirez.

    19                 Plaintiffs' only avenue for establishing

    20    standing would be to prove that they suffered identity

    21    theft traceable to the cyber incident, and the record

    22    conclusively shows that the frauds that the plaintiffs

    23    alleged were not committed with Capital One data.

    24                 The second standard -- and I know the Court

    25    is familiar --


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      1                THE COURT:       Mr. Siegel centrally disputes

      2   that.     He says that there is sufficient evidence from

      3   which the inference of traceability can be made.

      4                MR. BALSER:       We'll look at it.     We'll look at

      5   it for each plaintiff very quickly.

      6                THE COURT:       All right.

      7                MR. BALSER:       I don't want to belabor it, but

      8   we'll go through them one by one.

      9                THE COURT:       All right.

    10                 MR. BALSER:       The second thing that

    11    Article III requires is traceability.            The traceability

    12    inquiry here completely debunks the plaintiffs' claims

    13    of actual identity fraud.

    14                 The Fourth Circuit held in David v. Alphin

    15    that Article III requires a fairly traceable connection

    16    between the alleged injury-in-fact and the alleged

    17    conduct of the defendant.         We've already talked about

    18    Hutton.     I'm not going to rehash the facts there, but I

    19    think the most important part of the Hutton holding is

    20    the traceability portion of that opinion where the

    21    court permitted standing on the 12(b)(1) challenge

    22    because the allegations were that the defendant was the

    23    only common source that collected and continued to

    24    store the exact information that was required to commit

    25    the fraud that the plaintiffs experienced.


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      1               Thus, here, to prove that actual fraud was

      2   traceable to the cyber incident, which post Ramirez is

      3   the only way plaintiffs could have standing to seek

      4   damages, plaintiffs must show that the stolen data has

      5   already been misused and that the instances of fraud

      6   that they claim to have suffered could have been

      7   committed using the data stolen in the cyber incident.

      8               Seven of the eight representative plaintiffs

      9   here claim to have suffered actual fraud as a result of

    10    the cyber incident.       As an initial matter, for the

    11    reasons I've already discussed, these frauds are not

    12    traceable to the cyber incident because the data was

    13    not disseminated.      If Thompson herself didn't commit

    14    fraud and there was no dissemination, then the data,

    15    obviously, cannot be used to commit fraud.

    16                Moreover, as we explained in our motion and

    17    I'm going to go through in a minute, Your Honor --

    18                THE COURT:       The one that hasn't is Hausauer?

    19                MR. BALSER:       I'm sorry?

    20                THE COURT:       The plaintiff that hasn't claimed

    21    actual fraud is Hausauer?

    22                MR. BALSER:       Correct.

    23                Each specific instance of fraud alleged by

    24    plaintiffs would have required data that was not

    25    exfiltrated in the breach.


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      1                So I promised you we would do this.           Let's

      2   look at each plaintiff:

      3                So Brandi Edmondson alleged that there were

      4   Amazon charges placed on her Capital One card and that

      5   she had unemployment benefits filed with the Texas

      6   Workforce Commission.         In order for those frauds to

      7   have occurred, she would have needed to have credit

      8   card information and a social security number

      9   exfiltrated in the breach, but that information was not

    10    stolen as to Ms. Edmondson.

    11                 Next, Plaintiff Emily Gershen.          Her alleged

    12    fraud was attempted account openings at various banks

    13    and an attempt to transfer money from her Charles

    14    Schwab account.       Again, social security number and

    15    Charles Schwab information which were required to

    16    commit that fraud were not stolen in the cyber

    17    incident.

    18                 THE COURT:       So what establishes the need for

    19    the social security number in the record?

    20                 MR. BALSER:       I'm sorry, Your Honor.      Oh,

    21    that's identity fraud.         So in order for someone to take

    22    over someone's identity and attempt to open a new

    23    account, you would have to have their social security

    24    number.

    25                 THE COURT:       That's reflected where in the


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      1   record?     Is that in an affidavit, or is that in

      2   testimony?

      3                MR. BALSER:       I can find a cite for Your

      4   Honor.     My team will help me do that.

      5                THE COURT:       All right.

      6                MR. BALSER:       Sara Sharp, she alleged that she

      7   had a $100 debit against her account and that a Kohl's

      8   account was opened in her name.            Again, the information

      9   necessary to commit those frauds was not stolen in the

    10    cyber incident.

    11                 Mr. Spacek alleged fraudulent activity on his

    12    BB&T account.       That activity occurred prior to the

    13    cyber incident and, of course, could not be traceable

    14    to the incident since it occurred before the cyber

    15    incident.

    16                 Caralyn Tada, she alleges attempted and

    17    successful fraudulent charges on her credit union

    18    account and accounts opened at various retailers.

    19    Again, the information necessary to commit those frauds

    20    was not taken in the data breach, not stolen as to

    21    Ms. Tada.

    22                 Gary Zielecke alleged a problem with his

    23    phone number, attempted charges on his Capital One

    24    card, and a line of credit opened in his name at

    25    Synchrony Bank.       Again, the information necessary to


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      1   commit these frauds was not stolen in the cyber

      2   incident.

      3                And as Your Honor noted, Brandon Hausauer

      4   does not even claim identity fraud that would be

      5   traceable to the breach.

      6                So, again, when you look at this, the only

      7   people you can look at are people who sued us, the

      8   eight people who are representative plaintiffs here,

      9   and none of these people has suffered a fraud that's

    10    attributable, directly traceable to the cyber incident.

    11     Accordingly, they cannot show injury or traceability,

    12    and they have no standing.

    13                 So facing these headwinds, plaintiffs offer

    14    several legal arguments and factual arguments, none of

    15    which is persuasive.          I want to start with the legal

    16    arguments, and I'm going to briefly address the factual

    17    arguments.       Your Honor picked up on several of those

    18    earlier today.

    19                 The first argument -- they argue four things.

    20    They argue that Olsen's access theory of injury does

    21    not depend on dissemination.          So it doesn't matter if

    22    the data wasn't disseminated under Olsen's theory.

    23    They argue that they have standing because the data

    24    could have been enriched, and that's Mitnick's opinion.

    25    They say they have standing based on incurrence of


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      1   their mitigation expenses, and they argue that they've

      2   shown a risk of imminent harm sufficient for injunctive

      3   relief.

      4                So let's start with this access theory of

      5   Olsen.     What plaintiffs argue is that, based on

      6   Mr. Olsen's opinion, plaintiffs should be awarded the

      7   value of Paige Thompson's access to their data.               They

      8   argue that -- and I quote, this is from their brief --

      9   that the plaintiffs were injured the moment the hacker

    10    exfiltrated their PII.

    11                 But equating access with injury is no

    12    different than equating the mere compromise of

    13    plaintiffs' personal information with injury, which the

    14    Fourth Circuit has squarely rejected in Beck and

    15    Hutton, which we've discussed extensively.               To

    16    reiterate, those cases hold that mere compromise of

    17    data is not an injury-in-fact.          This forecloses

    18    plaintiffs' argument that they were injured at the

    19    moment of Thompson's access.

    20                 The logical extension of plaintiffs' argument

    21    about Olsen's theory is that plaintiff would always

    22    have standing to sue for a data breach.            No court has

    23    accepted that position.

    24                 Their second argument is that the possible

    25    enrichment of plaintiffs' data can confer standing.


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      1   But as a matter of law, Mr. Mitnick's enrichment theory

      2   is not traceable to the cyber incident because it

      3   relies on data that's not stolen from Capital One.

      4   That theory requires several compounding speculative

      5   assumptions.

      6               There's really four of them.          The first

      7   assumption is that the stolen data is available to bad

      8   actors, but that's contrary to all record evidence.

      9   The second assumption is that a bad actor would target

    10    one of these eight plaintiffs as opposed to one of the

    11    98 million other putative class members, and then that

    12    the bad actor would commit an intermediate criminal

    13    offense to enrich that plaintiffs' data and then that

    14    the bad actor would misuse the enriched data to commit

    15    fraud that causes harm to these plaintiffs.

    16                The Clapper court had a great quote I think

    17    is apt here.      They said that this is a highly

    18    attenuated chain of possibilities that the Supreme

    19    Court held in Clapper fails to establish standing.

    20                There's a great quote in the Third Circuit

    21    case of Reilly v. Ceridian Corporation -- this is a

    22    data breach case -- where the Third Circuit found that

    23    there was no standing.        And what they said in that case

    24    was similarly, we cannot now describe how appellants

    25    will be injured in this case without beginning our


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      1   explanation with the word "if."          If the hacker read,

      2   copied, and understood the hacked information and if

      3   the hacker attempts to use the information and if he

      4   does so successfully, only then will appellants have

      5   suffered an injury.

      6               So too here.      It's impossible to trace

      7   plaintiffs' allegations f actual fraud to Thompson's

      8   stolen data without a similar string of hypothetical

      9   ifs.   As a result, plaintiffs' enrichment theory cannot

    10    meet the traceability test.         Moreover, enrichment would

    11    show, at most, that plaintiffs were at risk of identity

    12    fraud in the future, which, as we discussed, is

    13    insufficient for standing after Ramirez.

    14                We've talked about mitigation expenses some,

    15    but we haven't talked about their new theory about

    16    mitigation expenses, which is they argue that

    17    mitigation expenses alone can constitute an

    18    injury-in-fact as long as the perceived risk of harm

    19    was objectively high at the time they were incurred.

    20    That is a construct created by the plaintiffs.              That's

    21    not the law.

    22                In Clapper, the Supreme Court held that where

    23    the harmed plaintiffs seek to avoid is not certainly

    24    impending, any cost incurred as a reasonable reaction

    25    of that risk of harm cannot confer Article III


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      1   standing.        No court has adopted plaintiffs' hindsight

      2   theory of mitigation damages, and the theory is further

      3   undermined by Ramirez, which limited Clapper to the

      4   context of injunctive relief only.

      5                THE COURT:        This gets back to my earlier

      6   comment and question; that is, from your perspective

      7   there's no level of future risk absent materialized

      8   harm that would satisfy standing after Ramirez?

      9                MR. BALSER:        I don't think so.    I think the

    10    answer is no.        I think that it has to materialize or it

    11    has to create another harm that was identified in

    12    Ramirez as a common-law harm that could support

    13    standing.

    14                 THE COURT:        But what if in this case -- and

    15    this is making up facts that's not in the record.               But

    16    let's say the evidence was Paige Thompson, instead of

    17    saying what she did, she said, Before you got me, I was

    18    able to exfiltrate it out.          There are any number of

    19    people that have it out there, people who I know want

    20    this information.        I would expect they're going to use

    21    this information.

    22                 Instead of Mitnick saying his people couldn't

    23    find anything, he says, I went on the dark web.               It's

    24    out there.       I can find it.     If I wanted to use it

    25    malevolently, it would be an easy thing to do.


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      1               Do you think those kinds of facts in the

      2   absence of an actual materialized harm would be enough?

      3               MR. BALSER:       I don't think for a damages

      4   claim it would.

      5               THE COURT:       Well, for standing.

      6               MR. BALSER:       I don't think it would -- I

      7   don't think that would rise to the level of standing

      8   for a damages claim.         It might change the calculus on

      9   imminent risk of harm for injunctive relief.              I think

    10    if you read Ramirez, just the plain language of

    11    Ramirez, I think a risk of harm has to materialize and

    12    become concrete before it can support a claim for

    13    damages.

    14                Again, it's -- of course, those aren't our

    15    facts, and I think your hypothetical is certainly, you

    16    know, different.      It would be a little more

    17    challenging, but those aren't our facts.             But even

    18    under those facts, unless the harm is concrete and

    19    particularized and it's materialized, that wouldn't be

    20    enough.

    21                Now, in your hypothetical, if, for example --

    22                THE COURT:       Let me ask:    During that interim

    23    situation from the risk until something has

    24    materialized, are the statutes even operating, the

    25    statute of limitations?         So that if somebody five years


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      1   out can prove -- ten years out can prove that their

      2   identity was stolen and it's reasonably traceable back

      3   to this data breach in 2019 --

      4               MR. BALSER:       It's a great question.       It would

      5   depend on each state.        I think accrual statutes on when

      6   a statute begins to run, whether it's first notice of

      7   potential harm or whether actual injury, would create

      8   the accrual.      So I don't -- I think it would depend.

      9               Coming back to your hypothetical, I think

    10    there are ways, for example, that standing for damages

    11    could occur in your counter-factual hypothetical on

    12    this -- it's out there and everybody knows it's out

    13    there, but nothing has happened yet.            If someone, for

    14    example, alleged some kind of emotional distress as a

    15    result of that, which isn't alleged here, I think that

    16    is the kind of harm that could support standing under

    17    Ramirez.    But for a claim for damages for misuse of the

    18    information, I don't think the fact that it's out there

    19    but not yet misused would support standing for a claim

    20    for damages under Ramirez.

    21                THE COURT:       All right.

    22                MR. BALSER:       So let's talk about injunctive

    23    relief.    Post Ramirez plaintiffs' risk of future harm

    24    argument can, as a matter of law, only support standing

    25    to seek injunctive relief.         This is what we were just


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      1   talking about.       But they can't meet that standard here.

      2                Under Griffin v. Department of Labor , which

      3   is a Fourth Circuit case from 2019 that we cite, the

      4   Fourth Circuit said that an injury should be certainly

      5   impending to serve as the basis for standing and to sue

      6   for injunctive relief.

      7                In Beck, interestingly, the Fourth Circuit

      8   held that there was no standing to seek an injunction

      9   even though the defendant hospital in that case had

    10    suffered at least 17 data breaches after the 1 that

    11    gave rise to the plaintiffs' lawsuit.            The court there

    12    said that the most that can be reasonably inferred is

    13    that plaintiffs could be victimized by a future data

    14    breach.

    15                 To get an injunction, plaintiffs have to show

    16    a sufficient likelihood that they will, again, be

    17    wronged in a similar way.        Plaintiffs can't even prove

    18    that they've been harmed by this breach, let alone that

    19    they're at imminent risk of suffering harm from another

    20    one.     And so they shouldn't -- the Court should find

    21    that they don't have standing to assert an injunction

    22    claim.

    23                 So none of plaintiffs' legal arguments hold

    24    up.    So now what do the plaintiffs resort to?            With the

    25    law clearly against them, they've attempted to create


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      1   several factual disputes based on things like

      2   Thompson's social media posts, these grassy knoll

      3   second shooter theories, and other outlandish

      4   speculation.

      5               They try to create several factual disputes.

      6   I would start -- I do want to touch on them because

      7   Your Honor had focused on those and asked Mr. Siegel

      8   some questions about them this morning.            But I will

      9   note at the outset:       Based on the charts that we looked

    10    at with respect to each of those plaintiffs, it doesn't

    11    matter.    I mean, they could have a factual dispute on

    12    some of these, but it wouldn't be one from which a jury

    13    could conclude that any of these plaintiffs suffered a

    14    harm that's directly traceable to the data breach for

    15    all the reasons we looked at with respect to each of

    16    those.

    17                My team has given me the answer to Your

    18    Honor's question.      Exhibit 11 to our standing motion,

    19    which is the supplemental report of Rebecca Kuehn,

    20    K-U-E-H-N, at pages 20-23 goes through each plaintiff

    21    and addresses the data that would be needed for those

    22    harms to have been committed.

    23                THE COURT:       All right.

    24                MR. BALSER:       So let's talk just very briefly

    25    about these factual disputes.


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      1               Thanks, Guys.

      2               So the first is she shared information on

      3   Twitter.    I do want to correct one misstatement that

      4   Mr. Siegel made this morning.          She did not put the

      5   exfiltrating information on GitHub.           What she put on

      6   GitHub were purported instructions on ways to attack

      7   our website, not the data itself was loaded there.

      8               So she made all of these statements about

      9   what she might do and what she could do.

    10                THE COURT:       So it wasn't instructions on how

    11    to access the data that she had taken separate and

    12    apart from hacking the system again?

    13                MR. BALSER:       She shared the instruction on

    14    how to download the S3 buckets from Capital One's

    15    cloud.

    16                First, I'd say all the statements are

    17    inadmissible hearsay.        But in any event, those

    18    statements show, at most, that Thompson thought about

    19    disseminating the data, had ideas about disseminating

    20    the data, but no jury could reasonably conclude from

    21    only those statements that Thompson did, in fact,

    22    disseminate the data.

    23                THE COURT:       This is between March and July,

    24    right?

    25                MR. BALSER:       That's right.


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      1               Let's talk about the criminal case.

      2   Plaintiffs point to several facts that, at best, invite

      3   speculation into what Thompson might have done or might

      4   do.   They say that the data was in a format that was

      5   easily searched and readable.          They say her trial has

      6   been continued five times.         The government's

      7   investigation is continuing.         She's got a cell phone,

      8   and she's out on bail.        And they point to the

      9   superseding indictment, which we'll talk about in a

    10    minute.    But none of this shows that Thompson used the

    11    data for fraud or that plaintiffs are at imminent risk

    12    of harm, which post Ramirez can only give standing for

    13    injunctive relief anyway for the reasons we've talked

    14    about.

    15                So let's talk about the superseding

    16    indictment because Mr. Siegel mentioned that this

    17    morning and alluded to it.         I think it is important and

    18    interesting to look at:        What did happen in the

    19    superseding indictment?        We have this on the slide.

    20    The superseding indictment actually underscores that

    21    plaintiffs lack standing.

    22                So they've now been investigating her crimes

    23    for nearly two years, and they've charged her only with

    24    possession and attempted use.          They have not charged

    25    her with actual use, only possession, and we knew that


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      1   from the beginning, that she possessed it.               But if the

      2   government could have proven that she used it or

      3   transferred it, they would've, and they only allege

      4   that she possessed it, again, which we've known.               So

      5   there's nothing new there other than they brought

      6   enhanced charges, but they didn't charge her with use

      7   or transfer, which would have given them enhanced

      8   penalties if they had been able to prove it.

      9                So let's talk for a second about Mr. Mitnick

    10    and the burden.       I heard Mr. Siegel say today, this

    11    morning, that plaintiffs said we can't prove that the

    12    data wasn't disseminated, but it's not our burden to

    13    show that.       It's their burden to show that they have

    14    standing.

    15                 You know, they now try to characterize

    16    Mr. Mitnick's search as inconclusive or superficial,

    17    but no matter how they characterize his search, he

    18    didn't find any evidence of it on the dark web.               And

    19    plaintiffs, in their own words, can only speculate that

    20    others may have the data even if it's not on the dark

    21    web.   And under Ramirez, that's just not enough to

    22    confer standing for a damages claim.

    23                 In addition, I heard Mr. Siegel say something

    24    this morning about Mr. Mitnick opining that the

    25    plaintiffs here had been injured.           But in addition to


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      1   lacking any evidence of dissemination, Mitnick also

      2   made clear in his deposition that he is not offering

      3   any opinions on whether any of the representative

      4   plaintiffs suffered any specific incident of fraud or

      5   identity theft as a result of the cyber incident.

      6               Again, as Your Honor has repeatedly

      7   questioned today, the issue isn't just injury.              It's

      8   also traceability, and they have no evidence of either.

      9               I am not going to spend a lot of time on this

    10    second intruder theory, but they assert this, what we

    11    call the grassy knoll theory.          It's a disputed issue of

    12    fact as to whether Thompson was the sole attacker.

    13    They have absolutely no evidence, zero evidence, that

    14    there was a second intruder.         They haven't even

    15    conducted their own forensic investigation.              Rather,

    16    the so-called disputed evidence that they point to is

    17    actually the absence of evidence.           They say there's no

    18    way to be certain that there wasn't another intruder

    19    given the absence of some of the ModSec WAF logs.               But

    20    this is based on plaintiffs' and Dr. Madnick's

    21    misunderstanding of logs with which he admitted he had

    22    no experience.

    23                In fact, Capital One maintained a

    24    comprehensive set of logs, which are called the Cloud

    25    Trail logs.      Capital One indefinitely retained those


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      1   Cloud Trail logs, and they are duplicative of the

      2   ModSec WAF logs.        The ModSec WAF logs would not have

      3   shown any additional exfiltration activity that's not

      4   reflected in the Cloud Trail logs.           The Cloud Trail

      5   logs were sufficient for both Capital One and Mandiant

      6   to conduct a forensic investigation, and that

      7   investigation showed that Paige Thompson was the only

      8   intruder.        Plaintiffs cannot create a fact issue by

      9   speculating about what the evidence does not show.

    10                 They also suggested earlier this morning that

    11    this data was openly accessible to anyone from the

    12    Internet.        That's not true.   I will point the Court to

    13    the expert report of Mr. Art Euhan, E-U-H-A-N.              The

    14    data was not open to the Internet.

    15                 They didn't say much this morning --

    16    although, they did in their papers -- about some theory

    17    that this was an inside job as opposed to Paige

    18    Thompson.        But there's no evidence that there was a

    19    second intruder either inside or outside of Capital

    20    One.   And, again, it's not our burden to prove that

    21    there wasn't a second attacker.          Plaintiffs have no

    22    evidence from which a jury can conclude that anyone

    23    other than Paige Thompson accessed the data.

    24                 We've already talked about enrichment.            I'm

    25    not going to repeat the arguments that I've made.                 I'll


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      1   only note that Mitnick also admitted in his deposition

      2   that there's no evidence that any plaintiffs' data

      3   actually was enriched here.         There's no evidence that

      4   Thompson or anyone else actually enriched the data.

      5   It's pure speculation that's insufficient to support

      6   standing.

      7                They raise factual issues about remediation.

      8   The plaintiffs say that there are hotly contested

      9   factual disputes, but they don't say what those are.

    10    But the uncontroverted record evidence shows that

    11    Capital One immediately remediated the root causes of

    12    the cyber incident.       And in addition, they

    13    comprehensively improved its security practices under

    14    the continuing oversight of its regulators.

    15                 In any event, under Beck, Beck requires an

    16    imminent risk of a similar harm, which plaintiffs here

    17    cannot show.       And it's undisputed that the

    18    misconfigured WAF that led to the breach has been

    19    remediated.       So none of plaintiffs' factual arguments

    20    have any merits.

    21                 Even if there were -- again, back to this

    22    Ramirez problem.       Even if there were a kernel of truth

    23    to these disputes -- and there's not -- there's still

    24    not enough to give plaintiffs standing.            These factual

    25    disputes would show, at most, that there's a future


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      1   risk of fraud, which after Ramirez is gone as a theory

      2   of standing.

      3               Plaintiffs would still be required to

      4   demonstrate that they have suffered actual fraud that's

      5   traceable to the cyber incident, and they just can't do

      6   that.   None of the eight representatives plaintiffs can

      7   show with evidence that they suffered an actual fraud

      8   as a result of the cyber incident.

      9               So in conclusion, when you read Ramirez,

    10    Beck, and Hutton together, it's clear that Article III

    11    requires a concrete, nonspeculative injury that's

    12    traceable to conduct of the defendant in order to

    13    confer standing.      Risk of harm is insufficient.

    14    Speculative inferences are insufficient.

    15                And because plaintiffs have not provided

    16    evidence of concrete, nonspeculative injury, this Court

    17    should dismiss plaintiffs' negligence claim, the state

    18    statutory claims, and their claims for injunctive

    19    relief for lack of Article III standing.

    20                I think that provides a really good framework

    21    for us to dive into the class cert arguments.              I mean,

    22    unless the Court has further questions about standing,

    23    I would like to turn now to responding to plaintiffs'

    24    motion for class certification.

    25                I think the standing arguments -- and I'll


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      1   explain how right upfront -- can and should, should the

      2   Court agree with us on our standing arguments, makes

      3   the Rule 23 job much, much easier.           I'll kind of walk

      4   the Court through why I say that.

      5               I think the place to start, Your Honor, on

      6   plaintiffs' motion for class certification is to look

      7   at where the plaintiffs started and where they are now.

      8   Plaintiffs filed their complaint in this case primarily

      9   pursuing claims of negligence which they alleged

    10    resulted in monitory damages that would flow from the

    11    misuse of their personal information that was stolen in

    12    the cyber incident.       That's how the complaint is framed

    13    up.

    14                After nearly two years of litigation and

    15    extensive discovery showing that no such injuries

    16    materialized, plaintiffs have pivoted to a claim that

    17    Capital One somehow breached a contract, based upon

    18    statements in its privacy notices, causing alleged

    19    damages to the class that are untethered to any misuse

    20    of the stolen information or in the data breach itself.

    21                Plaintiffs' new theories of injury fair no

    22    better than the ones that they've abandoned.              Their

    23    claims are legally deficient.          They're based upon

    24    speculative and inadmissible expert testimony.              And for

    25    the reasons I'm going to talk about now, they're wholly


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      1   unsuitable for class certification.

      2               We struggled mightily to figure out the best

      3   way, the most efficient way to present these arguments

      4   to Your Honor.      It's -- you know, their motion covers a

      5   lot of ground.      Mr. Siegel had 170-plus slides.           We

      6   think the best way to approach it is to really focus on

      7   their theories of injury.

      8               To set things up, I think it makes sense to

      9   just remind the Court what it is the plaintiffs are

    10    seeking to certify.       So they're seeking certification

    11    of a nationwide 23(b)(3) damages class under claims for

    12    breach of contract, negligence, and unjust enrichment.

    13    They're seeking certification of four state

    14    statute-specific subclasses under the California Unfair

    15    Competition Law, under the California Consumers Legal

    16    Remedies Act, under the New York General Business Law,

    17    and under the Washington Consumer Protection Act.

    18    They're seeking certification of a nationwide 23(b)(2)

    19    injunctive relief class and, alternatively, they're

    20    seeking issue certification on elements of duty and

    21    breach.

    22                I want to start by orienting the Court to the

    23    standards which I know the Court is familiar with, but

    24    I think it does make sense to think about first

    25    principles here and what we're doing.


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      1                Class actions are an exception to the general

      2   rule that a party in federal court may vindicate only

      3   his own interest.       That's the Thorn v. Jefferson-Pilot

      4   case.     Plaintiffs bear the burden to affirmatively

      5   demonstrate their compliance with Rule 23.               That's the

      6   Wal-Mart case.       Plaintiffs also bear the burden of

      7   establishing that damages are capable of measurement on

      8   a classwide basis.       That's Comcast.       The Court must

      9   conduct a rigorous analysis of plaintiffs' motion.

    10    That's Thorn.       As part of that rigorous analysis, the

    11    Court has to make findings on whether the plaintiffs

    12    carried their burden of demonstrating compliance with

    13    Rule 23.     And Wal-Mart also teaches that a class cannot

    14    be certified on the premise that a defendant will not

    15    be entitled to litigate its defenses to individual

    16    claims.

    17                 Now, before I jump in to the Rule 23 morass,

    18    the rubric that we have to work our way through, I want

    19    to explain upfront the relevance of the other pending

    20    motions to the question of class certification.

    21    Plaintiffs' motion for class certification does not

    22    exist in a vacuum.       There are several other pending

    23    motions that relate to and inform the Court's analysis

    24    here.     The Court, I think, correctly noted that when

    25    asking us to address standing in tandem with the class


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      1   certification inquiry.        It's appropriate.

      2               And the way the Court rules on those other

      3   motions may greatly simplify the work that's necessary

      4   to conduct the rigorous analysis that's required under

      5   Rule 23.    For example, let's take a look at what -- so

      6   this is a list of all -- what I've got on this chart,

      7   Your Honor, is a list on the left side of all the

      8   claims that the plaintiffs are seeking to certify, and

      9   on the right a list of the alleged harms that they say

    10    correspond to those claims.

    11                THE COURT:       Before we get to that, tell me

    12    what's your position and where we are on Article III

    13    standing with respect to the breach of contract claim.

    14                MR. BALSER:       As I'm going to explain in a few

    15    minutes, I think the -- and we'll see this as I go

    16    through this chart.       I think where we are is that the

    17    Court agrees with us on our standing arguments.               The

    18    theories --

    19                THE COURT:       On the Article III standing with

    20    respect to negligence, statutory claims, and unjust

    21    enrichment?

    22                MR. BALSER:       Right.   But part of our argument

    23    on standing is that these claims for increased risk --

    24    like submitting this claim of increased risk is not a

    25    viable theory.      And the market value theory that


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      1   measures a noninjury is not a viable theory that can

      2   confer standing.        We think that if you agree with us on

      3   those and that those theories of damages are out of the

      4   case either on standing analysis or under Daubert,

      5   which we'll talk about in a minute, then I think what

      6   you're left with on breach of contract --

      7                THE COURT:        But those are damages

      8   methodologies, correct?          Those aren't injury

      9   methodologies.

    10                 MR. BALSER:        That's right.   I think on injury

    11    they've alleged that -- and we don't think they can

    12    prove, but they have alleged that they've suffered

    13    these harms of, you know, disgorgement, increased risk

    14    of harm and market value, for example, to support their

    15    breach of contract claim.          They claim those are

    16    injuries.        We don't think those are requisite injuries.

    17                 So we think, really, everything would be -- I

    18    mean, if the Court accepts our argument, as I think it

    19    should, that you need a real injury to support a claim

    20    for nominal damages, then I think the breach of

    21    contract claim would also be gone for certification

    22    purposes.        Because absent injury, you can't have

    23    nominal damages.        And we say these speculative theories

    24    of increased risk in market value are not injuries that

    25    are cognizable for purposes of standing.             So I think


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      1   that's where we would be left if the Court accepts our

      2   arguments on standing.

      3               THE COURT:       But isn't that the same as

      4   arguing that there's no Article III standing as to the

      5   breach of contract claim?

      6               MR. BALSER:       It is.   I think it is.      In

      7   effect, it is.      The only difference is that when --

      8   when we raised this motion, you know, we didn't have

      9   before the Court all of these arguments we have on

    10    market -- we didn't have Ramirez, and we didn't have

    11    the market value and disgorgement theories completely

    12    teed up.    But I think the logical extension of the

    13    arguments that we make is that without injury, there's

    14    no standing.      You've got to have injury to get even

    15    nominal damages.

    16                THE COURT:       All right.

    17                MR. BALSER:       So that's kind of where I was

    18    going, right.      So if the Court finds that there's no

    19    standing, then I think the negligence injunctive relief

    20    and the state statutory claims are gone.             If the Court

    21    grants our Daubert motions, that would provide

    22    additional independent bases to eliminate the theories

    23    of injury that underlie these claims both from Olsen

    24    and from Mitnick and Long, which are based on, you

    25    know, the increased risk theory.


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      1                Then you would be left with the question of

      2   in the absence of injury, can you award nominal

      3   damages?     And the answer to that is no, and that's the

      4   basis of our summary judgment motion that's pending --

      5   part of the basis for our summary judgment motion

      6   that's pending.

      7                THE COURT:       Right.   Doesn't that go to the

      8   merits rather than certification in the sense that --

      9                MR. BALSER:       It does.

    10                 THE COURT:       -- the issue is whether there's a

    11    common damages methodology that plaintiffs want to

    12    apply classwide that can be adjudicated on a classwide

    13    basis that has a common answer as to all members of the

    14    class?     Now, it may prove that the damages theory

    15    doesn't hold up on the merits.

    16                 MR. BALSER:       There are many reasons --

    17                 THE COURT:       That could be decided within the

    18    context of a certified class if we get that far.

    19                 MR. BALSER:       Well, there are many reasons

    20    that we'll talk about why these damages theories can't

    21    satisfy Rule 23.       So I think it's not just a merits

    22    issue.     It's whether these theories -- and really,

    23    they're traveling under three main theories, the market

    24    value theory, this increased risk of harm theory, and

    25    disgorgement.


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      1               THE COURT:       Right.

      2               MR. BALSER:       And that's how we've really

      3   tried to organize the argument because I think that's

      4   really the organizing principle here, to look at what

      5   they're claiming, what relief they're seeking.              And

      6   when you pull those apart and analyze them, I think

      7   they have -- there are a host of gating and threshold

      8   problems with them.       But just on a pure Rule 23

      9   predominance analysis, they fail, and I'll explain why.

    10                THE COURT:       All right.

    11                MR. BALSER:       Okay.   So the point I'm trying

    12    to make is that there are numerous gating issues that

    13    are raised in our other motions that have the potential

    14    to significantly narrow the claims and the injuries

    15    that are relevant to class certification.             That's the

    16    point.

    17                And those motions should be decided before

    18    the Court rules on class certification.            Of course, we

    19    haven't argued the Daubert motions yet.             So I'm going

    20    to proceed today under the assumption that these claims

    21    and injuries are all properly considered for purposes

    22    of certification even though for the reasons I've

    23    explained in the standing argument, I think, you know,

    24    most of them should be out, the vast majority of them.

    25                So I will touch on those other issues that


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      1   are raised by the other pending motions as appropriate

      2   in the course of my argument.          And again, I'm happy to

      3   focus on and address any issue the Court has an

      4   interest in, but I plan to cover the following points.

      5               I want to start with a very brief summary of

      6   the relevant facts.       I know the Court is very familiar

      7   with the record.      I want to talk just briefly about

      8   standing through the lens of Rule 23.            We talked about

      9   essentially the merits of the standing problems, but

    10    there's some Rule 23 issues as well.            I want to address

    11    each of the plaintiffs' injury theories, the increased

    12    risk theory, the market value theory, and disgorgement

    13    primarily to explain how they fail to satisfy the

    14    predominance requirement of Rule 23(b)(3).               Then I want

    15    to have a very brief discussion of nominal damages

    16    since Mr. Siegel spent some time on that this morning.

    17    Then I want to briefly cover some additional barriers

    18    to class certification for plaintiffs' claims for

    19    breach of contract, unjust enrichment, and violations

    20    of the state consumer protection statutes.               Then very,

    21    very briefly I wanted to hit on injunctive relief,

    22    issue certification, and superiority.

    23                So real quickly on the facts, this Court

    24    knows the data stolen in the cyber incident largely

    25    consists of nonsensitive information that consumers


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      1   submitted to Capital One when applying for credit

      2   cards.     There are 98 million putative class members.

      3   The putative nationwide class includes both applicants

      4   and cardholders -- we'll talk about that -- who applied

      5   for credit over a 15-year period from 2005 to 2019.

      6                Importantly, Your Honor -- and we tried to

      7   explain this in our papers.         I'm not sure, but I hope

      8   we did a good job of it.        But during this 15-year

      9   period, consumers applied for different Capital One

    10    credit cards using many, many different applicant

    11    channels, and they received a variety of different

    12    documents along the way doing that.           And those

    13    differences in the methods of applications are

    14    significant here.

    15                 Plaintiffs have asserted that each applicant

    16    was provided with Capital One's privacy notice when

    17    they applied, but that's not true.           The disclosures,

    18    notices, and information provided to applicants varied

    19    over time and by channel.        If you look at this slide

    20    that we have up, this is a description of the

    21    application channels for Capital One branded cards.

    22    It's all the different channels through which someone

    23    could apply on the left and then the manner in which

    24    the privacy notice was or was not delivered with

    25    respect to each of those Capital One branded cards.


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      1               And then another layer of complexity here is

      2   that some of the putative class members did not apply

      3   to Capital One for credit at all.           They, instead,

      4   applied through other entities that were later acquired

      5   by Capital One, or they applied to our retail partners.

      6   So if you look at the slide that's up here, this is the

      7   application channels for our partnership cards.               So not

      8   Capital One branded cards but partnership cards.               And

      9   again, there are different channels.            And the privacy

    10    notice was either not provided or provided optionally

    11    through a request to click, but all in different

    12    manners through the different channels.

    13                Now, look, as the Court knows -- I'm not

    14    going to belabor this on the privacy notice, but of

    15    course, the Court is aware that the content of the

    16    privacy notice itself changed during the putative class

    17    period.    Before 2010 -- after 2010, it included the

    18    language that says security -- we have security

    19    measures that comply with federal law.            The privacy

    20    notice before 2010 did not include that language.

    21                Turning to the cyber incident itself, the

    22    Court knows we discovered Paige Thompson's theft of the

    23    impacted data in July of 2019.          Capital One worked with

    24    law enforcement to identify her and aid in her arrest.

    25    Since that cyber incident occurred, Capital One has


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      1   remediated all of the factors that led to it and made

      2   comprehensive improvements to its cybersecurity

      3   defenses.

      4                Capital One also offered free credit

      5   monitoring to anyone whose information was stolen.

      6   Mr. Siegel asked why did we do that:             Why would Capital

      7   One have done that?        There are a couple of reasons.

      8   One is several states data breach notification statutes

      9   require a company that's a victim of a data breach to

    10    provide credit monitoring.             And also, Capital One

    11    wanted to let its customers know that even though,

    12    under the best evidence that we had, the data was not

    13    out there, we wanted them to have this service and show

    14    that we were concerned about them and cared about them.

    15                 THE COURT:       So all 98 million were offered

    16    the data monitoring?

    17                 MR. BALSER:       Yes.

    18                 THE COURT:       For how long?

    19                 MR. BALSER:       Yeah.     They didn't all get an

    20    invitation in the mail.         But, yes, it was open -- in

    21    fact, not only was it open to the 98 million people, it

    22    was actually open to any U.S. citizen.             So even if you

    23    were not a victim of the data breach, you could have

    24    signed up for free credit monitoring through --

    25                 THE COURT:       How many people signed up?


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      1               MR. BALSER:       I don't know if I have the exact

      2   number.    It may be in our papers, but that's, you know,

      3   really kind of an interesting issue.            Not very many,

      4   and that kind of goes to -- that actually bears on some

      5   of our arguments on the claim for unjust enrichment,

      6   whether plaintiffs really -- you know, how much they

      7   care about the fact that there was a data breach,

      8   especially when the data hasn't been disseminated.                But

      9   there was not a huge uptake.         A very small percentage

    10    of --

    11                THE COURT:       How long was the monitoring

    12    offered?

    13                MR. BALSER:       At least two years.

    14                Is it still in place?

    15                It's still open.       I mean, you can still

    16    enroll.    You can enroll today.

    17                THE COURT:       All right.

    18                MR. BALSER:       So as I mentioned before, the

    19    vast majority of the stolen data was nonsensitive

    20    information, like names, addresses, phone numbers,

    21    dates of birth, self-reported income that could not be

    22    used to commit fraud or identity theft.            Less than

    23    .2 percent of the putative class had social security

    24    numbers or bank account numbers taken.            So 99.8 percent

    25    of the class did not have social security numbers or


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      1   bank account numbers taken.

      2                And we point this out in our papers, and this

      3   is important.       I'm going to come back to it.         The data

      4   combinations that were stolen by Paige Thompson are

      5   extremely diverse.       There are over 724 different unique

      6   combinations of data elements presented with respect to

      7   the 98 million people in the class.

      8                Look, the representative plaintiffs

      9   themselves illustrate the variation across the impacted

    10    data elements.       For example, Plaintiff Brandi Edmondson

    11    did not have any identifying information stolen, such

    12    as her name, address, or date of birth.            Rather, her

    13    anatomized credit information was stolen, and Capital

    14    One was only able to link that information to her based

    15    on her own internal account ID number.

    16                 On the other hand, Plaintiff Hausauer is part

    17    of the .1 percent of the putative class who had his

    18    social security number stolen.          His name and date of

    19    birth were also stolen, but he doesn't allege identity

    20    theft.     So, you know, the harms alleged, you know, also

    21    vary.    Ms. Edmondson and four other plaintiffs claim

    22    they had an unauthorized charge on their credit or

    23    debit card after the cyber incident even though no card

    24    numbers were impacted in the breach at all, none, zero

    25    credit card numbers.          But Mr. Hausauer and another


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      1   plaintiff, John Spacek, don't allege any misuse of

      2   their information at all after the data breach.

      3                Okay.     I've got the answer on the credit

      4   monitoring.

      5                THE COURT:        All right.

      6                MR. BALSER:        Two years credit monitoring was

      7   offered.     It's still open, but you would get two years

      8   if you signed up.        Less than 1 percent of the class

      9   signed up for credit monitoring.

    10                 In addition, every single named plaintiff was

    11    impacted by at least one data breach before the cyber

    12    incident.        This is a chart that shows that fact.         So

    13    when you look at this, John Spacek was the victim of

    14    six different data breaches; Brandi Edmondson, six

    15    different data breaches.

    16                 THE COURT:        These are all before March 2019?

    17                 MR. BALSER:        All before March 2019.

    18                 You know, many of them were victims of the

    19    Equifax data breach, several of Yahoo and Marriott.

    20                 And so the point is that -- you know, kind of

    21    getting back to this traceability issue, you can see --

    22    and this kind of goes to this -- the slide that

    23    Mr. Siegel showed you earlier on the concurrent cause.

    24    You know, jury charge under Virginia law.             I mean, in

    25    order for there to be a concurrent cause, both causes


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      1   have to have been shown to be potential proximate

      2   causes.     As we looked at when we went through each of

      3   the named plaintiffs, none of their fraudulent charges

      4   are traceable to this data breach.           But you look at the

      5   fact that there's all of these other data breaches that

      6   affected their data, and you can understand how fraud

      7   could occur.       It's just not traceable to our breach

      8   such that a concurrent cause kind of -- a jury

      9   instruction would be appropriate here.

    10                 Beyond that, beyond just the named

    11    plaintiffs, we sought discovery from plaintiffs named

    12    in the member complaints that are consolidated in this

    13    MDL.   And of the 99 member plaintiffs who answered --

    14    most of them dismissed their complaint when we asked

    15    them for discovery -- nearly half were impacted in

    16    prior data breaches, and nearly 20 percent of those

    17    were victims of identity theft before the cyber

    18    incident.

    19                 So these findings, when you apply them to the

    20    putative class more broadly, suggests that the vast

    21    majority of the proposed class has also been the

    22    subject of at least one prior data breach.

    23                 Finally, discovery also revealed ways in

    24    which plaintiffs' data is accessible to third parties

    25    completely unrelated to the cyber incident, including


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      1   by voluntarily making their information available in

      2   the public domain, generally for free on social media,

      3   Facebook, LinkedIn, and the like, public record

      4   searches, and the like.

      5                So that's just a real brief overview of the

      6   facts.     I know the Court is familiar with them, but I

      7   wanted to just kind of set the stage here.

      8                I want to talk just real briefly about the

      9   Rule 23 implications of the Article III standing

    10    discussion that we had.         Article III standing issues

    11    create serious problems for the plaintiffs on class

    12    certification completely apart from the merits issues

    13    that we discussed in two key respects.

    14                 As I'm going to talk about in some detail,

    15    plaintiffs' market value and increased risk theories of

    16    injury fail under Article III.          Beck and Hutton

    17    foreclosed Olsen's market value theory, which is mere

    18    access, which is just like mere compromise of data

    19    provides some injury.         That's the claim.      That's

    20    foreclosed by Beck and Hutton.

    21                 And Ramirez clearly forecloses Mr. Mitnick's

    22    increased risk theory, which is the basis of Mr. Long's

    23    exorbitant $838 billion calculation present value of

    24    damages to guard against that increased risk, which is

    25    not a theory of damages that's now cognizable under


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      1   Article III and, therefore, certainly couldn't support

      2   class certification.

      3               So, you know, where does that leave us?             I

      4   think it means that the negligence and state statutory

      5   claims are out.      We do need to talk about disgorgement

      6   damages, and we need to talk about nominal damages,

      7   which we will.      But I think this highlights the

      8   importance of the Court ruling first on Capital One's

      9   standing challenge because I do believe it could, if

    10    the Court agrees with us, and would significantly

    11    narrow the class certification issues.

    12                Setting aside -- like even if the Court

    13    didn't agree with us on what Beck and Hutton hold and

    14    require as to this market value theory or with our

    15    arguments that Ramirez forecloses the increased risk

    16    theory, the Article III standing issues also impact the

    17    Rule 23 analysis because Ramirez made clear that every

    18    class member, every class member has to have

    19    Article III standing in order to recover individual

    20    damages.

    21                And Ramirez also confirmed that the Court

    22    can't simply presume concrete harm to absent class

    23    members.    Plaintiffs have to present evidence to

    24    factually establish each class members' harm, which was

    25    totally lacking for the approximately 6,000 class


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      1   members in Ramirez found not to have standing.

      2               So that means to get a claim for damages

      3   certified, plaintiffs have the burden of showing how

      4   they will establish with common evidence concrete harm

      5   for each of the 98 million class members, and they

      6   can't do that.      They have completely failed to meet

      7   their burden in that respect.

      8               But even if you accepted those injuries, that

      9   is, the market value injury and the increased risk

    10    injury as legally viable, plaintiffs have put forth no

    11    method for proving those injuries for each class member

    12    using common classwide evidence.          Rather, proving each

    13    of plaintiffs' theories of recovery across the putative

    14    class would require millions of individual mini-trials.

    15                Why do I say that?       Let's just think about a

    16    couple of examples.       Plaintiffs have no way of

    17    determining on a classwide basis which class members'

    18    PII was already exposed or publicly available.

    19    Plaintiffs have no way of determining on a classwide

    20    basis which class members' application data was used by

    21    Capital One's models to prevent fraud, and plaintiffs

    22    have no way of determining on a classwide basis whether

    23    any risk of harm from the stolen Capital One data

    24    materialized into actual harm using that data.

    25                There's not a shred of evidence for any


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      1   putative class member to prove those points, and

      2   plaintiffs haven't even tried to show otherwise.               There

      3   are numerous other individualized issues that we will

      4   discuss.

      5               So we will get into those issues in more

      6   detail, but the critical point to keep in mind is that

      7   plaintiffs have not met their burden of showing that

      8   they'll be able to prove with common admissible

      9   evidence the claims and damages of each of the 98

    10    million class members.

    11                And this is important.         Because if any claims

    12    are certified, the Court will preside over a trial

    13    where plaintiffs will have to factually establish with

    14    common evidence the alleged injuries of each class

    15    member.    Ramirez made that clear.

    16                In other words, I think the Court should be

    17    thinking about what a trial on these claims would look

    18    like and whether plaintiffs have demonstrated that they

    19    can prove their claims with common evidence or whether

    20    individualized issues would make a trial practicable or

    21    really more realistically impossible.

    22                So before discussing the numerous reasons why

    23    plaintiffs' theories of classwide injury fail to meet

    24    the requirements of Rule 23, it is important to note

    25    that the Court cannot certify any claims based upon


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      1   damages theories that are supported only by an expert,

      2   and his opinion should being excluded.

      3               To recap, as the Court knows, we have moved

      4   to exclude all three of plaintiffs' classwide injury

      5   theories, the market value theory espoused by Olsen,

      6   the increased risk theory espoused by Mitnick and Long,

      7   and the disgorgement theory put forth by Olsen.               And

      8   because the plaintiffs rely on these expert opinions in

      9   support of class certification, the Court must decide

    10    whether those opinions are admissible under Daubert .

    11                And, again, I would remind the Court that our

    12    standing and Daubert motions have the potential to

    13    significantly narrow the claims and theories that must

    14    be analyzed for class certification, as does our motion

    15    for summary judgment which is pending.            And this slide

    16    that we put up earlier, I think, shows what -- you

    17    know, if the Court rules in our favor, how simple the

    18    class certification analysis becomes if the Court goes

    19    with us on standing and Daubert.

    20                So I now would like to just dive into a

    21    discussion of why the theories of injury that the

    22    plaintiffs advance can't be certified.            First, I think

    23    it's important to note -- I touched on this briefly,

    24    but I think it's worthy of a little bit of focus --

    25    plaintiffs have abandoned any chance of classwide


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      1   discovery for the vast majority of the harms that

      2   they've alleged in their complaint, including actual

      3   fraud, identity theft, lower credit scores, time spent

      4   mitigating the consequences of the cyber incident,

      5   mitigation expenses, etc.        None of that is being

      6   requested as a theory of damages to be asserted

      7   classwide.

      8                Aside from nominal damages and injunctive

      9   relief, plaintiffs now assert only three primary

    10    theories of classwide injury, which are increased risk

    11    of harm, the market value of PII, and disgorgement.                 So

    12    in order to obtain class certification, plaintiffs have

    13    to satisfy the Court that they can prove these theories

    14    of injury with common classwide evidence, and they fail

    15    to do so.

    16                 Now, plaintiffs have tried to reframe our

    17    opposition to these theories as involving only

    18    individualized damages calculations or challenging only

    19    whether their damages models satisfy Comcast, but

    20    that's not correct.       We are challenging that plaintiffs

    21    can prove an injury that is proximately caused by the

    22    cyber incident under these theories.

    23                 Injury and causation are essential elements

    24    that plaintiffs must prove for all their claims, and

    25    certification depends on the plaintiffs demonstrating


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      1   that common questions of law and fact predominate over

      2   the individual questions with respect to each theory of

      3   injury that they are seeking to certify.

      4                Let's start with the increased risk theory of

      5   harm.     So just as an overview of that theory, the

      6   plaintiffs claim that all class members face increased

      7   risk of identity theft and other fraud because the

      8   stolen PII can be used to commit identity theft in the

      9   future.    Plaintiffs rely entirely on their experts,

    10    Mitnick and Long, to show this purported increased risk

    11    injury.

    12                 Mitnick's opinion rests on speculation, as

    13    we've already discussed, about how bad actors can

    14    theoretically misuse the stolen data if they had access

    15    to it, including by enriching the stolen data with

    16    information available from other sources.             Even though

    17    Mitnick and the plaintiffs have no evidence that the

    18    stolen data was enriched, disseminated, or otherwise

    19    misused, Mitnick concludes that all putative class

    20    members are at, his words, serious risk of ID theft,

    21    fraud, such that all of them need the same credit

    22    monitoring product, which is LifeLock Ultimate Plus, at

    23    $29.99 a month.

    24                 Then Mr. Long takes Mr. Mitnick's

    25    recommendation regarding LifeLock Ultimate Plus and


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      1   calculates the present value of purchasing that product

      2   for all putative class members leading to absurdly high

      3   damages figures ranging from $97.5 billion on the low

      4   end to $832.2 billion on the high end, sums far in

      5   excess of the net worth of the entire company.

      6               Plaintiffs say this theory applies to breach

      7   of contract and negligence claims.           We've explained in

      8   our motion for summary judgment why that theory of harm

      9   does not apply to the contract claim.            But even if

    10    these were a viable measure of damages in the abstract,

    11    this theory doesn't satisfy Rule 23.            So kind of

    12    putting aside whether it can survive the Article III

    13    challenge and the other merits-based problems, they've

    14    got predominance problems that can't be overcome.

    15                As an initial matter, the theory is untenable

    16    because Mitnick's and Long's opinions are predicated on

    17    the notion that the stolen data was disseminated, but

    18    plaintiffs lack any proof that that occurred.              Without

    19    dissemination, their increased risk theory is directly

    20    foreclosed by Beck and Ramirez.

    21                Again, I don't know how many times I need to

    22    say it, but Beck said the mere theft of PII, without

    23    more, cannot converse Article III standing.              And

    24    Ramirez upheld that a mere risk of future harm that

    25    never materializes cannot establish even Article III


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      1   standing; thus, it certainly cannot support

      2   certification of class.

      3               So Mitnick does not claim that any risk is

      4   actually materialized into concrete harm.             And as we've

      5   pointed out, each plaintiffs' contention of actual

      6   fraud has been disproven.        But again, setting those

      7   issue aside and even assuming dissemination, plaintiffs

      8   can't prove with common classwide evidence that they

      9   suffered an increased risk of harm as a result of the

    10    cyber incident.

    11                Why do I say that?       Well, the critical thing

    12    to keep in mind here is that this theory of injury is

    13    premised on increased risk.         So meaning for any given

    14    individual, the Court must first consider that

    15    individual's baseline level of risk and then assess

    16    whether the cyber incident, in fact, increased that

    17    baseline level above what it was before.

    18                Determining whether any individual class

    19    member's baseline level of risk has increased depends

    20    on a host of individual factors, including, one,

    21    whether that individual's information has been exposed

    22    to bad actors previously; two, which specific data

    23    elements were stolen in the breach out of over 700

    24    possible unique combinations; and, three, whether that

    25    data either on its own or in conjunction with other


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      1   data could be used to commit identity theft or fraud

      2   due to its nature, its accuracy, how old it is, etc.

      3   In addition, plaintiffs would have to show that the

      4   increase in risk is uniform across the 98 million

      5   person putative class.

      6               These individual issues are not merely

      7   hypothetical as the facts developed in this case show.

      8   The issue of prior exposure is a huge problem for

      9   plaintiffs that they don't meaningfully address.                That

    10    encompasses not only prior data breaches, as I've

    11    discussed, but the voluntary disclosures on social

    12    media, involuntary disclosures, like stolen wallets or

    13    laptops, and other forms of public available

    14    information, like public records.

    15                Then there's the problem with the variation

    16    in the impacted data.        Our expert, Professor Lorin

    17    Hitt, went through chapter and verse about the 724

    18    unique combinations of exfiltrated data.             Of course,

    19    different data elements have different sensitivity.

    20    For example, stealing someone's name and address, when

    21    for many of us are available on our Facebook accounts

    22    or Instagram accounts or LinkedIn, is much different

    23    than having a social security number taken.              And,

    24    again, as our expert, Rebecca Kuehn, makes clear, the

    25    vast majority of impacted data here cannot have been


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      1   used to commit fraud in the first place.

      2                So when you look at all of these issues about

      3   the data, including how old it is, the likelihood that

      4   some of it's not accurate anymore, it requires an

      5   individualized inquiry that's just not susceptible to

      6   class treatment.       All of these factors I just discussed

      7   are specific to each individual in this 98 million

      8   person putative class.

      9                So in order for the Court to determine

    10    whether any given class member suffered an increased

    11    risk of future harm -- that's their theory -- increased

    12    risk of future harm because of the cyber incident

    13    requires analyzing the number of prior exposures or

    14    breaches that he or she was involved in, what

    15    information had been exposed, whether that same or

    16    different information was exposed in this cyber

    17    incident, whether the information exposed in the cyber

    18    incident could be used to commit identity theft or

    19    fraud.     And these inquiries go not only to damages but

    20    to the elements of injury and causation.

    21                 Another problem, despite all those

    22    individualized questions I just went through,

    23    plaintiffs propose a one-size-fits-all remedy for the

    24    entire class, which is this $29.99 a month LifeLock

    25    Ultimate Plus credit monitoring.          They just completely


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      1   ignore the substantial variation I just discussed.                In

      2   fact, they didn't even address the prior exposures of

      3   plaintiffs' and class members' data in their papers.

      4   They don't respond to our arguments on them.

      5               Instead, in their reply, what they say is,

      6   Mitnick's thorough opinion concludes that all class

      7   members have been injured such that they need this

      8   remedy.    And, thus, in plaintiffs' view, the extent to

      9   which plaintiffs and class members vary is irrelevant,

    10    their word.

    11                Their reply doesn't even mention Mitnick's

    12    speculative enrichment opinion, but that's critical to

    13    their increased risk theory.         So, again -- and we'll

    14    talk about this more tomorrow.          I won't, thankfully,

    15    for you and for me.       Somebody else will.        But if

    16    Mitnick's opinion is excluded, as it should be under

    17    Ramirez, this theory of injury necessarily fails.

    18                But even if you don't exclude Mitnick's

    19    opinion, plaintiffs cannot prove with common evidence

    20    that all class members, in fact, suffered the same

    21    increased risk injury in light of all of these

    22    variations that I just discussed.           And as we noted in

    23    our brief, other courts considering whether to certify

    24    claims arising from data breaches reached the same

    25    conclusion.


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      1                Now, plaintiffs like to cite Tyson Foods for

      2   the argument that the existence of individualized

      3   damages issues don't preclude certification, but that's

      4   not the argument that we're making here.             That argument

      5   is unavailing because we're challenging not just the

      6   calculations that were made, but also the injury and

      7   causation that are required elements of their claim.

      8                So, in any event, the damages issue in Tyson,

      9   which centered on time spent by workers donning and

    10    doffing protective gear, is much more susceptible to a

    11    reasonable average than the raft of the individualized

    12    issues that I just went through here.            And Wal-Mart

    13    stands for the proposition that class certification is

    14    improper where individualized determinations regarding

    15    the existence and extent of each plaintiffs' injury are

    16    required.

    17                 So unless Your Honor has any question about

    18    the increased risk of harm theory, I now would like to

    19    turn to the market value.

    20                 THE COURT:       All right.   Why don't we take a

    21    recess at this point.         We'll take about a 10- or

    22    15-minute recess.

    23                 I'd like to give Mr. Newby time to speak

    24    today.     I don't know if you two have coordinated your

    25    time.


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      1               MR. BALSER:       I'll make sure he has time, Your

      2   Honor.

      3               THE COURT:       All right.    Very good.

      4               The Court stands in recess.

      5         (Recess from 3:37 p.m. until 3:53 p.m.)

      6               THE COURT:       Mr. Balser.

      7               MR. BALSER:       So, Your Honor, before I jump

      8   into the market value theory of harm discussion, I do

      9   want to make sure that we're on the same page about

    10    these theories of injury that I'm talking about.

    11                So Your Honor referenced -- you asked me a

    12    question about whether these are just damages

    13    calculations that can be dealt with in some other way

    14    or down the road.      The point that, I think, is

    15    important for the Court to keep in mind is this is the

    16    evidence that they are presenting of their injury.                So

    17    they say, Our injury that not only gets us in the

    18    courthouse door under Article III but that can be

    19    certified is this access theory of damages or this

    20    increased risk of harm.

    21                That's the evidence of injury that they rely

    22    on.   And so the point that I was trying to make when I

    23    was talking about -- when you asked me a question,

    24    well, what's the effect, like what's left if I grant

    25    the standing motion?


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      1                THE COURT:       Right.

      2                MR. BALSER:       My point about these theories of

      3   damages are that the Court can find that these are just

      4   not cognizable, not even sufficient to get them in the

      5   courthouse door, as a matter of law, just these

      6   theories themselves, which I think is the right answer,

      7   in which case you don't even have to get to the

      8   predominance arguments that I'm making.            That's the

      9   point I was trying to make.

    10                 THE COURT:       All right.

    11                 MR. BALSER:       So it's not just an issue of

    12    calculations.       It's whether these theories that

    13    they're -- this evidence of injury is all they have,

    14    whether these amount to enough to even get you in the

    15    courthouse door, much less certify class based on the

    16    theories.

    17                 THE COURT:       All right.    I understand.

    18                 MR. BALSER:       So let's talk about the market

    19    value, the market value theory of harm.            So plaintiffs

    20    have proffered the opinion of Gary Olsen, who purports

    21    to measure the market value of the hacker's

    22    unauthorized access to the PII.            And he does this by

    23    comparing the stolen data to average list prices for

    24    PII that's offered for sale by criminals on the dark

    25    web and then aggregating those values across the class.


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      1                I took his deposition.        Frankly, it's unclear

      2   exactly what he's measuring.         But what he testified

      3   that he's measuring is -- and I'm quoting here -- the

      4   value of a one-time nonexclusive access to the PII.

      5   And that's what they say is injured.            Plaintiffs say

      6   that this theory of harm applies to the breach of

      7   contract, negligence, and unjust enrichment claims.

      8                There are a few threshold problems before we

      9   get to the predominance problems.           The first problem is

    10    the Court has already rejected this theory.              The

    11    plaintiffs struggle mightily to distinguish Olsen's

    12    market value opinion from their already rejected theory

    13    of harm based on the inherent value of their PII.               The

    14    Court in its motion to dismiss order at page 29 said

    15    that plaintiffs do not allege any facts explaining how

    16    their PII became less valuable as a result of the

    17    breach.     That was the basis upon which Your Honor

    18    dismissed the claim, but this is essentially the same

    19    theory.     And plaintiffs still do not claim that class

    20    members unsuccessfully attempted to sell the data or

    21    receive less than they would have absent the cyber

    22    incident.        Indeed, no plaintiff even individually makes

    23    that claim.

    24                 The second problem -- and it won't surprise

    25    you to hear me say this -- this theory is also


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      1   foreclosed by Beck and Hutton, which made clear that a

      2   mere compromise of personal information, without more,

      3   fails to satisfy the injury-in-fact element in the

      4   absence of identity theft.

      5               So, regardless, this repackaged market value

      6   theory that plaintiffs now advance is rife with

      7   individual issues that affect the purported value of

      8   Thompson's unauthorized access, whether any class

      9   member in fact lost that value, and whether the loss is

    10    causally linked to the cyber incident.            Those

    11    individual issues include whether a given individual's

    12    data was already accessible to actors, and much of the

    13    stolen data was.

    14                It includes whether the market value of a

    15    given individual's data varies drastically depending on

    16    characteristics specific to that individual, for

    17    example, based on net worth, their credit score,

    18    occupation.      There's substantial variation in the types

    19    and combination of the data elements that were stolen

    20    in the data breach.       And the stolen data, much of it is

    21    outdated given that it goes back to 2005 rendering much

    22    of it now inaccurate.

    23                So, again, these individual issues go to the

    24    core elements of injury and causation.            Let's just

    25    think about a couple of examples.           So if a class


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      1   members' information that was accessed by Paige

      2   Thompson was already publicly available, then that

      3   class member cannot have lost the value of unauthorized

      4   access to it as a result of the breach because it was

      5   already accessible.

      6                To take another example, suppose that a class

      7   member applied for a credit card in 2005 but has since

      8   moved and changed her name.         If Thompson accessed only

      9   her old address and former name, those data elements no

    10    longer have market value because they're no longer

    11    accurate.        Plaintiffs do not even attempt to account

    12    for these kinds of individualized differences.

    13                 Olsen did not attempt to check whether any of

    14    the personal information underlying the market value

    15    theory of injury was already in the public domain or

    16    for sale on the dark web.         Nor did he account for many

    17    other individual factors that affect market value

    18    despite admitting in his deposition that these were all

    19    relevant factual inquiries.

    20                 For example, Olsen didn't control for

    21    characteristics specific to each consumer such as age,

    22    occupation, creditworthiness, etc. even though he

    23    admitted in his deposition that those affect the value

    24    of the PII.

    25                 Indeed, Olsen attempts to calculate damages


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      1   by grouping the vast array of different impacted data

      2   elements -- these 724 unique combinations I've talked

      3   about -- into just four categories.           He also averages

      4   the prices for which this type of data is offered

      5   despite acknowledging that prices on the dark web vary

      6   substantially.      And he admits that he has no idea what

      7   the data on the dark web that he uses for his damages

      8   calculations actually sell for.          There are no sale

      9   prices reflected on the dark web for stolen data, only

    10    offering prices.

    11                So in this sense, plaintiffs' market value

    12    theory is quite similar to the approach that the

    13    Supreme Court rejected in Wal-Mart.            Plaintiffs,

    14    essentially, are asking this Court to discard

    15    individual differences among class members and certify

    16    a class based on a statistically insignificant random,

    17    cherry-picked sampling of dark web prices offered by

    18    criminals that are averaged, grouped into categories,

    19    and then multiplied across the class.

    20                But a class cannot be certified on the

    21    premise that a defendant will not be entitled to

    22    litigate its defenses to individual claims.              That's

    23    what Wal-Mart tells us.

    24                Now, plaintiffs claim that despite all of

    25    this individual variation that's inherent in this


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      1   theory, Olsen's market value analysis damages can be

      2   applied mechanistically across the data elements

      3   impacted for each class member.          This argument misses

      4   our point.

      5                Capital One contends that Olsen's formula

      6   itself is defective because it does not consider

      7   individualized factors that affect the market value, if

      8   any, of Thompson's unauthorized access to PII.              For

      9   example, because Olsen does not control for information

    10    already in the public domain, he would award damages

    11    for information, like name and data of birth, that are

    12    already publicly available.         And that's not

    13    hypothetical.      In fact, he awards $55 million in

    14    damages to the putative class for those data elements

    15    which are available on people's Facebook page.

    16                 Not only have plaintiffs not suffered an

    17    injury based on information that's already publicly

    18    accessible, but Olsen's model independently violates

    19    the Supreme Court's Comcast decision by failing to

    20    measure only those damages that are attributable to

    21    their theory of liability.         The theory of liability is

    22    it's unauthorized access.        But if I voluntarily put my

    23    information out in the world, how is accessing that

    24    same information providing entitlement for $55 million

    25    in damages?


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      1               Plaintiffs also fail to explain how this

      2   cyber incident caused them to suffer their supposed

      3   market value injury.         And this is where I think this

      4   theory really breaks down.         The plaintiffs state that

      5   the market value theory does not depend on individual

      6   proof that class members would or did sell their PII.

      7   They also say that the question of whether their PII

      8   lost value is completely irrelevant to their market

      9   value theory.      If that's the case, then how were

    10    plaintiffs economically damaged by Thompson's

    11    unauthorized access?         They simply don't say.

    12                I mean, this is an uneconomic harm.            This is

    13    a made-up harm created out of whole cloth that they

    14    claim constitutes injury sufficient not only to get

    15    them into the courthouse door on Article III, but

    16    certify a class.

    17                Like, what do they do?         How do they try to

    18    get around that?      They analogize their damages to

    19    reasonable royalties for patent infringement, but that

    20    analogy is inapt and has been rejected.            The only court

    21    that has considered this same precise theory in a data

    22    breach case rejected it out of hand, and that's the

    23    Adkins v. Facebook case.

    24                And my friends here, Mr. Yanchunis and

    25    Ms. Riebel, were plaintiffs' counsel in that case.


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      1   They used the same expert firm as Olsen here.              They

      2   didn't use Olsen.      They used his partner, Ian Ratner.

      3   And in that case, Mr. Ratner proposed the same theory

      4   that Olsen proposes here; namely, that Plaintiff Adkins

      5   was injured when unauthorized third parties got access

      6   to his personal information for free without

      7   compensation to the plaintiff.          Judge Alsup in that

      8   case rejected the theory as -- and I quote -- too

      9   speculative to assert a claim for negligence.              Faced

    10    with that adverse decision, plaintiffs' only response

    11    is that the Adkins court was simply incorrect in its

    12    ultimate conclusion.         But plaintiffs are wrong, and the

    13    Adkins court is right.

    14                For all those reasons, the Court cannot

    15    certify any of the claims premised on the market value

    16    theory of harm.

    17                So now I'd like to turn to their third theory

    18    of harm that they rely on to certify a class, and

    19    that's disgorgement.         This is a theory that was also

    20    concocted by Gary Olsen.         As a recap, this theory

    21    proposes alleged damages of approximately $300 million

    22    to compensate plaintiffs in the putative class for

    23    Capital One's use of their application data in models

    24    to prevent fraud between 2015 and 2020.

    25                According to the plaintiffs, Capital One


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      1   should have to disgorge the amount of fraud it

      2   prevented, that is, the benefit it allegedly obtained,

      3   by using the application data because Capital One

      4   allegedly was not adequately protecting that data.

      5               As an initial matter, I'll just note it's

      6   somewhat odd for plaintiffs to seek disgorgement for

      7   fraud prevention which is intended to protect customers

      8   like the plaintiffs.         But there are three threshold

      9   problems that I think the Court needs to consider

    10    before we get to the serious predominance problems with

    11    this damages claim:

    12                First, as my colleagues will explain when we

    13    argue the motion to exclude Olsen, his disgorgement

    14    theory falls apart.       It's neither relevant nor

    15    reliable, and the Court should exclude under Daubert.

    16                The second threshold issue is -- and this is,

    17    I think, a fatal blow that the Court needs to consider,

    18    and that is that none of these eight plaintiffs can

    19    recover disgorgement damages as a matter of law.               All

    20    eight of the representative plaintiffs here have

    21    entered into a cardholder agreement with Capital One,

    22    and each of those plaintiffs is asserting a breach of

    23    their express contracts related to the cyber incident.

    24    It's black-letter law that plaintiffs' express

    25    contracts with Capital One preclude an unjust


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      1   enrichment claim based on the same subject matter, and

      2   the Court held in its motion to dismiss order that this

      3   unjust enrichment claim is just an alternative to the

      4   express contract claim.

      5                And, you know, plaintiffs' answer to that is,

      6   well, they can seek leave to add a new applicant-only

      7   plaintiff.      But they haven't done that, and the time to

      8   do so is long past.       They've amended twice, including

      9   to add new plaintiffs.        And plaintiffs chose to proceed

    10    by representative complaint, rather than consolidated

    11    complaint.      And they're the ones that chose these

    12    cardholders as their representative plaintiffs.               We

    13    didn't choose them.       They did.

    14                 Third and finally, plaintiffs keep saying

    15    that they can recover disgorgement damages under breach

    16    of contract claim, but they can't cite any Virginia

    17    authority to support that position.           We explain in our

    18    summary judgment motion why that's wrong.             But in sum,

    19    the Court should first decide whether, as a matter of

    20    law, any of these plaintiffs can recover disgorgement

    21    damages before it goes through the trouble of analyzing

    22    whether this theory of injury satisfies Rule 23, which

    23    for the reasons I'm going to explain now it doesn't.

    24                 So even if Olsen's disgorgement theory could

    25    survive these threshold challenges, the Court should


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      1   reject the plaintiffs' request to certify class claims

      2   based on this opinion.

      3               You know, there's a lot of remarkable things

      4   that have kind of come through in the briefing here,

      5   but to me, one of the most significant ones is that the

      6   plaintiffs have conceded that their disgorgement theory

      7   is completely untethered to the cyber incident.               So

      8   what do I mean by that?        Their theory is premised on

      9   the remarkable notion that consumers can disgorge the

    10    profits of a company just because that company

    11    allegedly had deficient data security measures in place

    12    at some time, regardless of whether a breach occurred

    13    or any other harm was caused to those consumers.

    14    That's their theory.

    15                If the Court were to recognize this novel

    16    theory, it would open the door to an untold number of

    17    class actions alleging that businesses that keep

    18    consumer data, like banks, healthcare companies,

    19    airlines, etc., may have at some point in time employed

    20    deficient data security measures irrespective of any

    21    harm.   Setting aside that no court has accepted that

    22    theory of liability, plaintiffs fail to show how they

    23    can prove that each class member is entitled to

    24    disgorgement damages using common evidence.

    25                To start, Olsen incorrectly assumed that all


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      1   98 million class members had their application data

      2   used in a fraud model between 2015 and '20 and that

      3   each class members' application data prevented the same

      4   exact amount of fraud, 56 cents per year.             That's

      5   wrong.     This fictional average of 56 cents per

      6   application is untethered to the facts of any putative

      7   class member, which fails under Ramirez and Wal-Mart.

      8   There's no record evidence to support this simplistic

      9   and incorrect assumption.        Rather, not surprisingly,

    10    some data is more useful in preventing fraud than other

    11    data, and some class members' data wasn't even used in

    12    fraud models during the time period relevant to Olsen's

    13    calculation.

    14                 Determining whether any given class members'

    15    data was actually used by a model to prevent fraud

    16    during the relevant time period and, if so, how much,

    17    would require a highly-individualized inquiry, and

    18    plaintiffs don't show otherwise.

    19                 But under plaintiffs' theories, class members

    20    would be awarded damages when there's nothing to

    21    disgorge, and their data was never used in any fraud

    22    model, let alone used successfully, to prevent fraud.

    23    Plaintiffs try to dodge this issue by saying there's no

    24    evidence in the record that Capital One's fraud models

    25    couldn't function without any one individual's PII, but


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      1   that's factually untrue.        As the record shows, Capital

      2   One has fraud models that function without using any

      3   application data.      And it's plaintiffs' burden to prove

      4   that their damages can be established on a classwide

      5   basis and not our burden to disprove it.

      6               And plaintiffs' position makes no sense.              If

      7   a given class member's data did not result in actual

      8   fraud savings, then that class member conferred no

      9   benefit on Capital One and plainly is not entitled to

    10    disgorgement damages.        Rule 23 does not permit the

    11    Court to award damages to uninjured class members.                And

    12    if Ramirez teaches us anything, it teaches us that,

    13    because those 6,200 uninjured class members couldn't

    14    recover.

    15                Finally, in short, Olsen's incorrect

    16    assumption that each of the 98 million class members'

    17    application data prevented the same amount of fraud is

    18    just a transparent attempt to paper over the

    19    individualized inquiries that make this theory of

    20    recovery improper for classwide treatment.

    21                But there's another problem, and that is that

    22    the disgorgement theory fails to consider benefits

    23    obtained by the putative class, and Your Honor asked

    24    about this.      You asked -- it was a perceptive question

    25    to Mr. Siegel.      The law of disgorgement requires an


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      1   offset of any benefits that are received by the

      2   plaintiffs in exchange for providing their data to

      3   Capital One.

      4               And plaintiffs try to confuse that issue by

      5   suggesting that the question is whether class members

      6   would have received benefits regardless of whether

      7   Capital One obtained fraud savings, but that's not the

      8   right question.      The correct question is what benefits

      9   did class members receive in exchange for providing

    10    their data to Capital One, and the answer is that all

    11    class members received at a minimum -- and Your Honor

    12    has noted this more than once -- the benefit of having

    13    their application considered.          Most class members and

    14    all the plaintiffs who are cardholders also received

    15    additional benefits in the form of credit, credit card

    16    services, and the like.

    17                And then there's an additional question about

    18    whether any given class member benefited from Capital

    19    One's fraud prevention program specifically.              So what

    20    if somebody tried to misuse your card and Capital One

    21    caught the hacker -- I mean, the fraudulent person and

    22    prevented the fraud on your account?            That's some

    23    benefit.    That's an individualized -- one of hundreds

    24    individualized inquires that would need to be made to

    25    figure out the offsetting benefits to calculate the


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      1   disgorgement damages that would need to be run against

      2   the 98 million person class.

      3                But plaintiffs fail to even acknowledge these

      4   indisputable benefits, much less proposed method for

      5   determining the value of these benefits for each of the

      6   98 million proposed class members using common

      7   evidence.

      8                Plaintiffs testified in their depositions

      9   here of these eight named plaintiffs that they applied

    10    for Capital One credit cards for a variety of reasons

    11    proving that the value of having their application

    12    considered and a card issued would be an inherently

    13    individualized issue.         Some people like the rewards

    14    program.     Some people had lower credit scores, and this

    15    was the only credit card they could get.             I mean,

    16    there's a wide variety of reasons and benefits that

    17    different people experience in applying for these

    18    cards, all of which would need to be taken into account

    19    to try to calculate the disgorgement theory.

    20                 In sum, plaintiffs' disgorgement theory is

    21    not capable of being proven on a classwide basis using

    22    common evidence.       Suggesting otherwise, plaintiffs rely

    23    on unsupported assumptions and they ignore highly

    24    individualized inquiries that would be necessary to

    25    undertake to determine whether any given class member


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      1   can recover disgorgement damages.           And while it would

      2   be convenient for the plaintiffs if each of the 98

      3   million class members' application data benefited

      4   Capital One in the same amount of 56 cents, it's simply

      5   not the case.

      6                And because the disgorgement theory flunks

      7   Rule 23 scrutiny, it cannot provide a basis to certify

      8   plaintiffs' unjust enrichment or breach of contract

      9   claims.

    10                 All right.        So those are the three primary

    11    horses that they're trying to ride to prove injury both

    12    for Article III purposes and for certification

    13    purposes.        I now want to turn to their theory of

    14    nominal damages, which plaintiffs assert is supportive

    15    of the breach of contract.

    16                 The prospect of the class recovering nominal

    17    damages for their breach of contract claim has been a

    18    hot topic throughout this litigation.            Plaintiffs have

    19    suggested and they suggested again today that even if

    20    they can prove no actual harm to themselves or any of

    21    the 98 million putative class members, they could still

    22    walk away from trial with an up to $9.8 billion

    23    recovery, that is, $100 in nominal damages per class

    24    member.     Mr. Siegel said it again this morning.

    25                 This issue bears on several aspects of


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      1   Rule 23, most notably the superiority requirement under

      2   23(b)(3)(D).      So it's important to understand why

      3   plaintiffs' position on nominal damages is wrong.

      4               First -- and Your Honor was right on this

      5   this morning -- plaintiffs are wrong that the

      6   availability of nominal damages for a breach of

      7   contract relieves them of proving an injury.              I think I

      8   actually heard Mr. Siegel agree with Your Honor on that

      9   this morning.

    10                Our contracts professors in law school taught

    11    us that an essential element of breach of contract

    12    claim is actual injury, and I don't think the law has

    13    changed.    It's been a while since I've been in law

    14    school, but I don't think the law has changed.

    15                And the Bailey v. Potter case in the Eastern

    16    District of Virginia, I think, said it nicely.              They

    17    said it therefore follows that a claim for nominal

    18    damages does not eviscerate the consequential injury or

    19    damage element of a claim for breach of contract.

    20                Now, plaintiffs mischaracterize our argument

    21    as saying that plaintiffs have to prove compensatory

    22    damages to obtain nominal damages.           That's not what

    23    we're saying.      The point is that plaintiffs can't rely

    24    on a mere breach of the privacy notice standing alone

    25    to obtain nominal damages, and plaintiffs have failed


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      1   to show that they can establish an actual injury caused

      2   by Capital One's alleged breach of the privacy notice

      3   across the 98 million person class using common

      4   evidence; thus, nominal damages do not fix plaintiffs'

      5   predominance problems.

      6                Second, plaintiffs don't dispute that they

      7   cannot recover both compensatory and nominal damages

      8   for the breach of contract claim.           So if the Court

      9   rejects the classwide injury theories that plaintiffs

    10    advance and only their claim for nominal damages

    11    remains, the Court should decline to certify the breach

    12    of contract claim altogether.

    13                 And that's so for a couple of reasons.            The

    14    first is, as I mentioned, these classwide damages

    15    theories are their theories of injury.            That's their

    16    evidence.        So if they don't have evidence of actual

    17    injury that can satisfy the Court's scrutiny that's not

    18    cognizable, then they haven't made a case for actual

    19    injury that would support an award of nominal damages.

    20    That's point one.

    21                 The second is the Court shouldn't certify a

    22    breach of contract claim under those circumstances

    23    because a favorable classwide judgment on nominal

    24    damages would preclude absent class members from

    25    pursuing claims for any actual damages under res


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      1   judicata.

      2                Now, while we dispute vigorously that any

      3   class members suffered actual damages, as I mentioned

      4   before, plaintiffs allege a host of them in their

      5   complaint, including actual fraud, which they concede

      6   can't be resolved on a classwide basis and don't seek

      7   to certify for classwide treatment.

      8                In other words, proceeding with a class claim

      9   for solely nominal damages would not be the superior

    10    method because it's inconsistent with the case that

    11    plaintiffs have brought.         If the Court declines

    12    certification of plaintiffs' classwide injuries, these

    13    classwide injury theories that we've talked about, it

    14    should decline certification for the breach of contract

    15    claim altogether.

    16                 Plaintiffs' incorrect view of how nominal

    17    damages would be awarded confirms that certification of

    18    a nominal damages only claim is not the superior method

    19    of adjudication here.         As we explained in our

    20    opposition brief, the Fourth Circuit has not condoned

    21    awarding nominal damages in a class action to each

    22    class member.       Rather, in the Norwood v. Bain case that

    23    we cited, the Fourth Circuit followed the typical

    24    practice of awarding one dollar in nominal damages to

    25    the class as a whole.         Similarly, other courts have


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      1   awarded nominal damages only to the named plaintiffs in

      2   cases.     Virginia courts routinely describe nominal

      3   damages as, quote, token or, quote, trivial.              There's

      4   nothing token or trivial about a $9.8 billion nominal

      5   damages award.

      6                Plaintiffs have no good answer to Norwood.

      7   They just repeat the same Ninth Circuit case, Cummings

      8   v. Connell , which, in addition to being an outlier,

      9   expressly noted that its ruling was contrary to

    10    Norwood.     Plaintiffs also fail to meaningfully engage

    11    with the authorities that we cite showing an award of

    12    $9.8 billion where no class member has suffered actual

    13    harm would violate due process.

    14                 Finally, plaintiffs complain that Capital One

    15    shouldn't be let off the hook just because we got lucky

    16    that Paige Thompson was caught before the data could be

    17    misused.     But this just proves that plaintiffs are

    18    trying to use nominal damages which were meant to be a

    19    symbolic, trivial award to impose punitive damages on

    20    Capital One even in the absence of actual harm to any

    21    plaintiff.

    22                 Plaintiffs' argument does call to mind the

    23    Supreme Court's analogy in Ramirez that if a reckless

    24    driver exposes another motorist to a risk of harm but

    25    no accident occurs, that would ordinarily be cause for


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      1   celebration, not a lawsuit, and certainly not a lawsuit

      2   seeking $9.8 billion in nominal damages.

      3                Two final points on nominal damages, Your

      4   Honor.     Plaintiffs suggest that the Court need not

      5   decide now whether nominal damages can be awarded to

      6   each class member saying this should be determined at

      7   the damages phase of the case.             But while the amount of

      8   nominal damages is properly considered later, the Court

      9   should decide the gating legal question of whether each

    10    class member can recover nominal damages because it is

    11    critical to the Rule 23 analysis.

    12                 Plaintiffs say in a footnote also that

    13    nominal damages may be available for their negligence

    14    and unjust enrichment claims.          We vigorously disagree

    15    with that.       But in any event, that's just further proof

    16    of plaintiffs' singular focus on obtaining class

    17    certification irrespective of whether it can result in

    18    any meaningful relief for the class.             In short, class

    19    claims for solely nominal damages do not meet Rule 23

    20    superiority requirement under the facts of this case.

    21                 That concludes my remarks on nominal damages.

    22    Unless the Court has any questions, I now want to just

    23    quickly turn to several of plaintiffs' causes of action

    24    and discuss them in a little bit more detail.

    25                 THE COURT:       All right.


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      1                MR. BALSER:      And specifically, I want to

      2   touch on their breach of contract, unjust enrichment,

      3   and statutory claims through the Rule 23 lens.              Our

      4   arguments, again, are going to focus primarily on

      5   predominance, but I'm also going to discuss typicality

      6   and adequacy under Rule 23(a)(3) and (a)(4).

      7                Let's start with their breach of contract

      8   claim.     In short, there are three reasons that

      9   plaintiffs can't satisfy predominance as to this claim:

    10                 The first is that the relevant contractual

    11    obligations, that is, those that are contained in the

    12    privacy notice, differ across the putative class.

    13                 Second, the applicants who are not

    14    represented by this, in our view -- represented by

    15    these eights plaintiffs -- would have to present

    16    individual proof regarding contract formation.

    17                 And third, resolving contract requirements

    18    and defenses requires consideration of facts specific

    19    to each class member such that classwide relief would

    20    be inappropriate.

    21                 Plaintiffs have seized on a phrase in the

    22    privacy notice that states that Capital One's security

    23    measures comply with federal law.           But because that

    24    privacy notice did not contain that language before

    25    2010, a breach of contract claim premised on the


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      1   pre-2010 privacy notice differs significantly from a

      2   claim premised on a post-2010 privacy notice.

      3               And it's not as simple a question as

      4   Mr. Siegel would like the Court to think about whether

      5   that's something that can just be figured out with the

      6   press of a button by Capital One.           Individualized

      7   determinations would be required to determine when any

      8   particular class member applied for a credit card,

      9   which version of the privacy notice was then in effect,

    10    whether Capital One approved the application, and, if

    11    so, whether any updated version of the privacy notice,

    12    that is, for example, a version including plaintiffs'

    13    favored "comply with federal law" language applies to

    14    that putative class members' information that was

    15    stolen in the cyber incident.

    16                Plaintiffs' primary response to this argument

    17    is that some automated review of our files would show

    18    which privacy notice applies, but that's not right.

    19    Plaintiffs overlook that many plaintiffs and class

    20    members -- I mean their named plaintiffs and additional

    21    class members -- submitted multiple different

    22    applications at different points in time.             Some of

    23    which were granted, some of which were not.

    24                If an application were granted, the Court

    25    would have to determine how long the account remained


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      1   open and if an updated post-2010 privacy notice applied

      2   to the account.      The Court would then have to determine

      3   whether the information that was impacted in the cyber

      4   incident pertained to an application or an account that

      5   was governed by the pre-2010 or post-2010 version of

      6   the privacy notice, an issue that itself might be

      7   contested.      In short, Capital One cannot just press a

      8   button to generate a straightforward answer to these

      9   questions.

    10                 Similar predominance issues exist with

    11    respect to the applicants only.          In their opening

    12    brief, plaintiffs asserted that all applicants are

    13    provided with the privacy notice during the application

    14    process.     We disproved that assertion in our response

    15    showing that some applicants were not provided with a

    16    copy of the privacy notice at the time that they

    17    applied.     Other applicants had access to the privacy

    18    notice but were not required to read it, and some

    19    plaintiffs testified that they never look at privacy

    20    notices before applying for credit.           Plaintiffs do not

    21    address any of this evidence in their reply brief, and

    22    they indisputably have not developed classwide evidence

    23    that applicants were presented with, read, or relied on

    24    the privacy notice.

    25                 For applicants to be able to enforce the


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      1   privacy notice, they must present evidence that that

      2   notice formed part of the bargain that they struck with

      3   Capital One.

      4                We've cited in our brief the just

      5   black-letter law Giordano v. Atria Assisted Living , an

      6   Eastern District of Virginia case that says in order

      7   for a valid contract to be formed, the axiomatic

      8   meeting of the minds must occur.          There can be no

      9   mutual assent where one party is not even aware of the

    10    existence of the contract.

    11                 And we cited this case from the Western

    12    District of New York that's an interesting case.               It's

    13    the Fero v. Excellus Health Plan case.            In that case,

    14    it's very similar to this issue that we're talking

    15    about now, and that case involved a health plan.               Some

    16    health plan members were provided a copy of the privacy

    17    policy while others were only provided a link where

    18    they could access the document, which is the case here

    19    with respect to many of the channels.            We looked at

    20    that chart earlier and the different ways people can

    21    apply.     The court there held that there was no

    22    predominance because of the need for individual inquiry

    23    into whether a given class member received a paper copy

    24    of the privacy or a link thereto.           That is, the court

    25    denied certification of a Rule 23(b)(3) class on the


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      1   very issue presented in this case, that is, the lack of

      2   common proof that all applicants received the privacy

      3   notice.

      4               Plaintiffs don't dispute and, therefore,

      5   concede that many applicants were not given the privacy

      6   notice at the time of application.           So if the Court

      7   agrees with us that applicants cannot enforce a

      8   contract that they didn't know existed, then it should

      9   also find that these questions of contract formation

    10    defeat predominance.

    11                Very quickly, Your Honor, I want to mention

    12    the defenses we have to the contract claims.              We've

    13    explained in our briefs why determining which class

    14    members are subject to the defenses of first material

    15    breach -- and the related doctrines of setoff and

    16    recoupment -- require individualized inquiries.

    17    Plaintiffs argue that we waived that defense by not

    18    explicitly pleading it, but we did plead setoff.

    19                This court in the Dowell v. G&G Motorcycles

    20    case, which is an Eastern District of Virginia 2014

    21    case, said that an affirmative defense may be pleaded

    22    in general terms and will be held to be sufficient as

    23    long as it gives fair notice to the nature of the

    24    defense.

    25                In any event, Capital One can raise an


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      1   affirmative defense as to absent class members even if

      2   that defense does not apply to the named plaintiffs.

      3   That's a well-established point of law.            We cited the

      4   Gunnells v. Healthplan case, a Fourth Circuit case from

      5   2003, for that proposition.

      6               And finally, plaintiffs repeat their refrain

      7   that resolving this defense merely involves automated

      8   review of Capital One's customer files, but that's not

      9   true.   In fact, we don't need to look any further than

    10    the representative plaintiffs to see why automated

    11    review of Capital One's files would not resolve Capital

    12    One's first material breach defense.

    13                If we could, just take a look at Sara Sharp.

    14    We've got a slide up that shows her circumstances.

    15    Ms. Sharp, who is one of their named plaintiffs,

    16    applied for credit from Capital One four times.               Some

    17    were denied.      Some were approved.       She had multiple

    18    Capital One-issued credit cards.          She's filed for

    19    bankruptcy twice, once in 2000 and once in 2017.               She

    20    also routinely carried a balance on her Capital One

    21    account and left Capital One with nearly $1,000 in debt

    22    to charge off on at least one card.

    23                Thus, determining whether her claims are

    24    barred by the first material breach doctrine would

    25    require analysis of whether the data of hers that was


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      1   impacted in the breach related to one of the accounts

      2   that was charged off, whether Capital One did anything

      3   that could be construed as waiving her breach, for

      4   example, by issuing her another card, whether that

      5   breach was material or partial, etc.

      6               She's only one of the 98 million people in

      7   this putative class, but she provides a nice example of

      8   the highly individualized inquiry that would be

      9   necessary for us to be able to assert defenses

    10    available to us for this breach of contract claim.                And

    11    there's just no automated review of our files that

    12    could resolve these and other similar issues for 98

    13    million individuals.

    14                I want to switch gears and address

    15    plaintiffs' unjust enrichment claim.

    16                THE COURT:       All right.

    17                MR. BALSER:       I want to first discuss why the

    18    plaintiffs, who are all cardholders, are neither

    19    typical or adequate to assert this claim on behalf of

    20    the applicants.      Then I'll explain why the unjust

    21    enrichment claim independently fails the predominance

    22    test.

    23                So I know Your Honor is familiar with the

    24    standards for typicality and adequacy.            Rule 23(a)(3)

    25    provides the standard for typicality.            The claims or


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      1   defenses of the representative parties must be typical

      2   of the claims or defenses of the class.            Rule 23(a)(4)

      3   is the adequacy test.         Plaintiffs must demonstrate that

      4   they will fairly and adequately protect the interest of

      5   the class.      It's black-letter law that a unique defense

      6   precludes a finding of typicality because of the danger

      7   that the unique defense will preoccupy the class

      8   representative to the detriment of the interest of the

      9   absent class members.

    10                 So let's talk about typicality.          Plaintiffs

    11    here fail the typicality requirement with respect to

    12    their unjust enrichment claim because they cannot

    13    assert such a claim.         They don't have the claim in

    14    light of their express contracts with Capital One.                The

    15    alleged class includes 33.8 million applicants, but no

    16    plaintiff is an applicant.         They're all Capital One

    17    cardholders.

    18                 Plaintiffs have conceded on the record that

    19    there's no unjust enrichment claim as to plaintiffs who

    20    entered into a cardholder agreement and have express

    21    contractual rights under the privacy notice.              And a

    22    long line of cases establishes that to satisfy the

    23    typicality requirement, a class representative must be

    24    part of the class and possess the same claims and

    25    injuries as the class.         A class representative also


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      1   cannot be subject to a unique trial defense that would

      2   result in dismissal of the claim asserted on behalf of

      3   the class.        Plaintiffs' unjust enrichment claim and

      4   implied contract claims, therefore, cannot be

      5   certified.

      6                And there's another problem, and that's

      7   adequacy.        For similar reasons, plaintiffs are

      8   inadequate to pursue the quasi-contractual claims on

      9   behalf of the applicants.          As cardholders, plaintiffs

    10    are incentivized to pursue their breach of express

    11    contract claim.        The applicants who would not benefit

    12    from that claim, because they don't have it, are

    13    incentivized to pursue quasi-contractual claims, such

    14    as unjust enrichment.          Plaintiffs do not share those

    15    incentives because they do not have and cannot pursue

    16    an unjust enrichment claim.

    17                 For example, plaintiffs are already pressing

    18    a nominal damages express contract claim that would

    19    negate the unjust enrichment claim for what, in our

    20    view, should be, at most, a $1 recovery to the entire

    21    class.

    22                 Now, in their reply, the plaintiffs make the

    23    predictable argument that their contractual and

    24    quasi-contractual claims all rise from the same data

    25    breach and security failures; thus, Capital One's


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      1   challenges can be discarded.         But that position ignores

      2   black-letter law holding that a named plaintiff must

      3   possess the same claim as absent class members and be a

      4   member of the class that he or she seeks to represent.

      5   Plaintiffs are not members of a class that can assert

      6   quasi-contractual claims, and this creates a

      7   fundamental conflict of interest.

      8               So in addition to those threshold problems,

      9   fatal threshold issues, they fail to meet their burden

    10    of showing that they can prove their unjust enrichment

    11    claim on a classwide basis using common evidence.                So

    12    this is the predominance argument.

    13                On reply -- this is kind of amazing, and I

    14    think Your Honor touched on this this morning.              In

    15    their reply brief, the plaintiffs are now trying to

    16    distance themselves from the causal basis on which

    17    their claim is premised, that is, that no class member

    18    would have applied for a Capital One credit card had

    19    they known about Capital One's allegedly deficient data

    20    security practices, such that monetary benefits should

    21    be disgorged back to the plaintiffs.

    22                But the premise of disgorgement is to restore

    23    the status quo ante, and courts often look to whether

    24    the plaintiff would have acted differently absent

    25    expectation of payment in assessing unjust enrichment


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      1   claims.

      2                And this causal connection has also been the

      3   basis for the plaintiffs' claim since the outset of the

      4   case.     In their complaint -- we have this allegation up

      5   here in this chart -- plaintiffs allege that but for

      6   Capital One's willingness and commitment to maintain

      7   their data's privacy and confidentiality, that PII

      8   would not have been transferred and entrusted with

      9   Capital One.

    10                 And Gary Olsen, their expert, testified that

    11    this was the but-for world underpinning his

    12    disgorgement analysis.          Plaintiffs and Olsen have

    13    simply assumed this but-for causation across the entire

    14    putative class, but they fail to show how they will be

    15    able to prove it with common evidence.            In fact, they

    16    haven't even tried.

    17                 The record evidence showed that this

    18    assumption is wrong.          For example, six out of the eight

    19    plaintiffs here have testified that they intended to

    20    continue using their Capital One credit cards after

    21    they learned of the cyber incident.

    22                 And this is the point, Your Honor -- this is

    23    the point I was hinting at when Your Honor asked me

    24    what the uptake on the credit monitoring was.              Seven

    25    out of the eight plaintiffs did not sign up for credit


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      1   monitoring that Capital One offered after announcing

      2   the cyber incident, which undermines Olsen's assumption

      3   that data security is so important to them that it

      4   would drive their consumer behavior.

      5               And putative class members continue to apply

      6   for Capital One cards at similar rates after the

      7   announcement of the cyber incident as they did before

      8   the cyber incident.       Neither plaintiffs nor the Court

      9   can simply assume that the behavior of 98 million

    10    putative class members would be the same, especially in

    11    the face of contrary record evidence.

    12                Plaintiffs cite no authority for their new

    13    position that they're relieved of proving the causal

    14    basis for their unjust enrichment claim.             Allowing

    15    plaintiffs to ignore a fundamental premise for their

    16    claim would lead to absurd results.           For example, under

    17    this new theory that they put forth in their reply

    18    brief, it would be irrelevant to them if Capital One

    19    had expressly told the putative class that it would not

    20    protect their data, if we had said it wouldn't matter

    21    to their claim as they now frame it.

    22                In sum, plaintiffs were required to show that

    23    they will be able to prove that no class member would

    24    have applied for a Capital One card had they known

    25    about its alleged deficient data security.               They didn't


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      1   conduct a conjoint analysis or put forth any other

      2   method to meet their burden.         Rather, when we pointed

      3   out those problems, they ran from some of the

      4   allegations they made in their complaint and that Olsen

      5   relied on for his theory and say causation is now no

      6   longer an element.

      7               So, for these reasons, their unjust

      8   enrichment claim can't be certified.

      9               There's another problem with the unjust

    10    enrichment claim, and Your Honor is going to hear more

    11    about this tomorrow.         But the unjust enrichment claim

    12    is also improper for class treatment in light of

    13    Capital One's statute of limitations defense.              We cite

    14    Broussard, a Fourth Circuit case, that holds that

    15    resolution of statute of limitations defense would

    16    depend on facts peculiar to each plaintiffs' case,

    17    which defeats predominance.

    18                We've got, I think, a nice little graphic

    19    here that illustrates the problem.           In Virginia, an

    20    unjust enrichment claim must be brought within three

    21    years, but here plaintiffs seek disgorgement damages

    22    going back to 2015.       To determine whether a given class

    23    members' claim is barred, the Court would have to

    24    determine, at a minimum, when that class member applied

    25    for a card, and they could have applied many times.


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      1               When Capital One migrated their application

      2   data to the AWS cloud and when Capital One used their

      3   application data to prevent fraud, if at all,

      4   plaintiffs, again, suggest this would require simple

      5   automated review of Capital One's files.             But that's

      6   not so.    Even assuming all application dates could be

      7   collected and analyzed for 98 million consumers

      8   spanning a 15-year period, plaintiffs do not even

      9   respond to our point that determining when a specific

    10    data element was used to prevent fraud, if at all,

    11    would be an inherently individualized inquiry.

    12                Until Capital One used specific application

    13    data to actually prevent fraud, Capital One

    14    undisputedly obtained no benefit from having that data

    15    under plaintiffs' own theory; thus, the date on which

    16    Capital One prevented fraud using a particular data

    17    element is critical to the statute of limitations

    18    inquiry.

    19                So, in conclusion, Your Honor, plaintiffs'

    20    failure to address individualized issues related to

    21    causation and our statute of limitations defense

    22    preclude certification for their unjust enrichment

    23    claim.

    24                I want to talk for just one minute,

    25    literally, about other individual defenses that we've


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      1   raised.     The Fourth Circuit has held that predominance

      2   may be defeated if the resolution of individual

      3   defenses depends on facts peculiar to each plaintiffs'

      4   case.     That's the Broussard case.        And even in the

      5   context of potential affirmative defenses, it's the

      6   plaintiffs who have to show that the defenses can be

      7   resolved under Rule 23 with common proof.

      8                We explained in our brief why Capital One's

      9   defenses have limitation of liability.            Failure to

    10    mitigate and contributory negligence cannot be resolved

    11    with common proof.        Plaintiffs misunderstand our

    12    argument.        We're not contending that any one of these

    13    defenses standing alone defeats predominance.                  Our

    14    point is that all of the individualized issues

    15    presented by plaintiffs' theories of injury and their

    16    substantive claims and Capital One's defenses to those

    17    claims taken together defeat predominance.               The

    18    defenses raised here merely highlight the extent of

    19    individualized inquiries that would be required to

    20    adjudicate plaintiffs' claims.

    21                 We want to now turn -- and I'll do this

    22    briefly also, Your Honor -- to plaintiffs' statutory

    23    claims.     And these claims under the UCL the CLRA and

    24    the GBL and the WCPA also fail under the predominance

    25    test under Rule 23.        All of those claims require common


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      1   proof of causation and damages, which is lacking for

      2   the reasons we've been discussing today.

      3               There are some complicated issues raised by

      4   those claims, and we've addressed most of them in full

      5   in our brief.      But I do want to hit the key points and

      6   respond briefly to a few new arguments that the

      7   plaintiffs made for the first time in their reply

      8   brief.

      9               To start, if you look at their initial

    10    motion, if you look at plaintiffs' opening brief, they

    11    gave very short shrift to these claims.            In fact,

    12    plaintiffs did not even mention in their opening brief

    13    what injuries could support those proposed statutory

    14    claims.    On that basis alone, the Court can and should

    15    decline certification because it's plaintiffs' burden

    16    to meet the requirements of Rule 23.            And by clarifying

    17    those injury theories for the first time in their

    18    reply, they waive those arguments.

    19                But had they timely asserted the injuries

    20    that they now seek to certify under the statutory

    21    claims, we would have explained how none of the

    22    plaintiffs can pursue those claims.           We explain in our

    23    motion for summary judgment why the claims fail on

    24    their merits.      I'm not going to get into that here.

    25                But here's the point:        The plaintiffs made


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      1   clear for the first time in their reply brief that

      2   they're relying on the market value theory and the

      3   increased risk of harm theories of injury to support

      4   their statutory claims.        Those injury theories fail for

      5   the reasons we've been discussing almost all day today,

      6   meaning that the plaintiffs' statutory claims can't be

      7   certified because the damages theories under which

      8   they're traveling are not certifiable.

      9               But even if the claims weren't doomed on the

    10    merits, plaintiffs have failed to meet their burden by

    11    showing that they can prove the claims on a classwide

    12    basis with common evidence.

    13                It's unclear.      I heard Mr. Siegel say, I

    14    think, earlier today that the plaintiffs are not

    15    relying on alleged misrepresentations by Capital One

    16    regarding the status security practice to support these

    17    claims.    Their brief suggests otherwise.           But whether

    18    they are or aren't or whether they're relying on

    19    purported omissions, plaintiffs can't point to any

    20    common misrepresentation or omission that all

    21    98 million of the putative class members were exposed

    22    to before they applied for credit cards, as would be

    23    required to show causation and damages under those

    24    claims.

    25                They also suggest that we had some duty to


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      1   disclose to the class allegedly deficient data security

      2   practices.      That's a fraudulent concealment claim which

      3   plaintiffs expressly disavow that they were asserting

      4   in their motion to dismiss briefing.            And they haven't

      5   pointed to any duty that Capital One had to

      6   affirmatively disclose anything to the class.

      7                So before moving on, I just would note that

      8   the claims suffer from specific problems with respect

      9   to each of those statutes as well.           The WCPA, the

    10    Washington statute that they're traveling under,

    11    permits recovery for injuries to business or property,

    12    which plaintiffs don't even assert here.

    13                 The CLRA can only apply to those class

    14    members who applied for a card for personal, family, or

    15    household purposes, and plaintiffs fail to show how

    16    they can prove that condition across the class using

    17    common evidence.

    18                 Also, the CLRA by its terms does not apply to

    19    the extension of credit.        So plaintiffs would have to

    20    prove a violation of the statute with respect to an

    21    ancillary service used by each class member.

    22    Plaintiffs cannot make that showing across the class

    23    with common evidence.

    24                 Finally, plaintiffs ask the Court to certify

    25    statutory claims for injunctive relief.            The Court


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      1   should reject that request for the same reason it

      2   should reject plaintiffs' request to certify a

      3   Rule 23(b)(2) class, which is what I'd like to turn to

      4   now.

      5                Plaintiffs have failed to meet their burden

      6   of showing that certification of an injunctive relief

      7   class under Rule 23(b)(2) is warranted.            As I explained

      8   in connection with our standing motion, none of the

      9   named plaintiffs has Article III standing to pursue

    10    injunctive relief against Capital One because they

    11    cannot show that they face a real and imminent risk of

    12    being harmed by another similar breach of Capital One's

    13    systems.     Because no plaintiff has standing to seek

    14    injunctive relief, no Rule 23(b)(2) class can be

    15    certified.

    16                 But even if they did have standing,

    17    plaintiffs have failed to rebut all the reasons that we

    18    explained in our opposition as to why a 23(b)(2) class

    19    should not be certified here.          Plaintiffs don't

    20    distinguish the Fourth Circuit case that we've cited,

    21    the Berry case, that holds that where monetary relief

    22    predominates, Rule 23(b)(2) certification is

    23    inappropriate.

    24                 Plaintiffs here are asking for an award of

    25    hundreds of billions of dollars.          Monetary relief


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      1   clearly predominates.        Plaintiffs cite a single case

      2   from the Western District of Texas permitting, so

      3   called, divided certification, but plaintiffs cite no

      4   authority suggesting the Fourth Circuit would follow

      5   that approach, nor do they explain why divided

      6   certification is warranted on the facts here.

      7               Plaintiffs also make much of Adkins v.

      8   Facebook -- that's the case we talked about earlier --

      9   where Mr. Ratner's theory of access was rejected by

    10    Judge Alsup as a basis for a negligence claim.              But

    11    Judge Alsup did certify a (b)(2) class in that case.

    12                But given plaintiffs' heavy reliance on the

    13    case, I think it's worth taking a minute to explain

    14    what happened there.         To begin, the Facebook court

    15    denied plaintiffs' request for a (b)(3) damages class.

    16    So the rule barring injunctive relief where monetary

    17    relief predominates didn't apply.           But the court also

    18    explicitly based certification of the (b)(2) injunctive

    19    class on evidence of -- and I quote -- Facebook's

    20    repetitive losses of user's privacy, closed quote.

    21                By contrast, plaintiffs here point to a

    22    single breach, the root causes of which have already

    23    been fixed.      So this Court should take a dim view of

    24    plaintiffs' heavy reliance on Facebook.

    25                In their reply, the plaintiffs fail to take


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      1   on our argument that injunctive relief is unwarranted

      2   because there's no evidence of dissemination, and

      3   Capital One has already completed extensive remediation

      4   of the issues that led to the cyber incident.

      5                They likewise fail to address our arguments

      6   that the Court can't order us to engage with criminals

      7   on the dark web, which is part of the relief they seek.

      8   And many of the measures that the plaintiffs seek, like

      9   deletion of data, are unrelated to the causes of the

    10    cyber incident.

    11                 For all of these reasons, the Court should

    12    not certify a Rule 23(b)(2) injunctive relief class.

    13                 Plaintiffs wave at an issue, a certification

    14    argument, under Rule 23.        I think it's fairly obvious

    15    to the Court by now that certifying -- I mean,

    16    certifying an issue class on duty and breach alone

    17    leaves the hardest issues of causation and injury still

    18    undecided.      So if the Court were to certify an issue on

    19    duty and breach and send the cases back to the

    20    98 million people for trial, they still would have to

    21    prove causation and injury, which are the real issues,

    22    the hardest real issues to grapple with here.              So even

    23    if the Court went through the trouble of resolving duty

    24    and breach on a class basis, it would still be left

    25    with 98 million individual trials on the most complex


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      1   issues we have, and that's not material advancement.

      2               So given the complexity and difficulty in

      3   proving causation and damages, few, if any, class

      4   members would actually benefit from a ruling on duty

      5   and breach.

      6               So, to wrap up, Your Honor, to conclude here,

      7   just a quick trip of where we've been.            I've explained

      8   or tried to how all the claims that plaintiffs ask to

      9   certify are plagued with individualized issues.               I've

    10    also explained, with respect to the unjust enrichment

    11    claim, that the named plaintiffs aren't typical or

    12    adequate class representatives.          And I've just

    13    discussed why certification of a Rule 23(b)(2)

    14    injunctive relief class and certification of limited

    15    issues is unwarranted.

    16                Again, it's the plaintiffs' burden to prove

    17    that they meet the requirements of Rule 23.              It's not

    18    Capital One's job to disprove it.           Plaintiffs have not

    19    carried their burden.

    20                In closing, I would like to draw the Court's

    21    attention back to Rule 23(b)(3)(D)'s superiority

    22    requirement.      Rule 23(b)(3)(D) provides that in

    23    determining whether a class action would be the

    24    superior method for adjudication, the Court should

    25    consider the likely difficulties in managing a class


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      1   action, and the advisory committee notes state that a

      2   critical need is to determine how the case will be

      3   tried.

      4               I know Your Honor is a very experienced trial

      5   judge; thus, when considering plaintiffs' motion for

      6   class certification, I urge the Court to think about

      7   what a trial would actually look like in this case

      8   based on all of these individualized issues that I've

      9   outlined today.

    10                As I mentioned earlier, the Supreme Court in

    11    Ramirez confirmed that in a class action, plaintiffs

    12    must factually establish with evidence each absent

    13    class member's alleged harms.          The Court cannot simply

    14    presume that an absent class member suffered the harms

    15    alleged by the named plaintiffs.          Plaintiffs have

    16    failed to show how they can prove the alleged harms of

    17    each of the 98 million class members in an efficient

    18    manner using common evidence.          Rather, the jury would

    19    be required to preside over literally tens of millions

    20    of individual trials to prove plaintiffs' classwide

    21    injury theories.

    22                And these individualized inquiries would

    23    include, for example, on the increased risk of harm

    24    theory, the jury would have to consider broad variation

    25    in individual class members' risk profiles and whether


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      1   the cyber incident uniformly increased the risk levels

      2   across a range of 724 different combinations of stolen

      3   data, many of which pose no risk of harm at all.

      4               On the market value theory, the same

      5   complications would infect the trial, and Capital One

      6   would be entitled to dispute the value assigned to any

      7   given class members' stolen data, including by

      8   presenting evidence that the data was exposed in a

      9   prior breach or publically available online or the data

    10    was obsolete or inadequate.

    11                On the disgorgement theory, evidence would

    12    have to be presented on whether any given class

    13    members' application data was used in a fraud model

    14    during the relevant time frame, whether it actually

    15    prevented any fraud, and whether that class member

    16    received any benefits in exchange for providing that

    17    PII to Capital One.

    18                And on nominal damages, individualized

    19    inquiries would be required to prove causation and

    20    harm, even to recover just nominal damages, and to

    21    resolve the contract defenses and requirements Capital

    22    One has identified.

    23                Plaintiffs have failed entirely to show how a

    24    trial could feasibly be conducted on these facts.               It's

    25    clear it cannot be.       Telling evidence of how


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      1   unmanageable a trial would be is plaintiffs' failure to

      2   submit a trial plan to the Court explaining how this

      3   case could be efficiently tried.            Mr. Siegel said he's

      4   thought about one, but I haven't seen one.               I don't

      5   think the Court has either.         Indeed, no data breach

      6   class action has ever gone to trial and for good

      7   reason.

      8                In closing, Your Honor, this case is not

      9   conducive to classwide resolution, and envisioning what

    10    a trial would look like proves that point.               Because

    11    plaintiffs have failed to carry their burden to

    12    establish compliance with Rule 23, the Court should

    13    deny their motion for class certification in its

    14    entirety.

    15                 THE COURT:       All right.    Thank you.

    16                 MR. BALSER:       Thank you.

    17                 THE COURT:       Mr. Newby.

    18                 MR. NEWBY:       May it please the Court.       I will

    19    be concise here.       Mr. Balser very comprehensively

    20    argued and effectively argued the reasons why this

    21    Court should not certify the class.            I just want to --

    22    and Amazon has joined in the arguments that Capital One

    23    has made both on Article III standing, as well as in

    24    its opposition to the motion for class certification.

    25                 I do want to address just a couple of gaps


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      1   that are different in both claims that are asserted

      2   against Capital One and Amazon, as well as one

      3   difference with respect to unjust enrichment.

      4               First of all, as Mr. Siegel pointed out this

      5   morning, the plaintiffs are seeking class certification

      6   on their Florida deceptive practices claim against

      7   Amazon but not against Capital One.           And the reasons

      8   why class certification is not appropriate for that

      9   claim is very similar to the arguments that Mr. Balser

    10    was making as to the other statutory claims.

    11                First of all, the plaintiffs here have not

    12    shown standing.      Under the Florida statute, plaintiff

    13    is only entitled to recover actual damages, and actual

    14    damages are fairly narrowly construed under Florida

    15    law.

    16                We cited the In re Brinker Data Incident

    17    Litigation case -- that's a Middle District of Florida

    18    case -- on this proposition.         That was a case that

    19    involved a breach involving credit card information for

    20    consumers at a restaurant chain, and the court there

    21    noted that unauthorized charges, lost time, and lost

    22    cash back rewards are all consequential damages, not

    23    actual damages.

    24                And what's required to show actual damages

    25    and actual injury, standing to bring a claim under the


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      1   Florida statute, is some damage to the diminished value

      2   of the goods or services that are received by a

      3   consumer in a consumer transaction, and that's not what

      4   the plaintiffs are seeking here.          They're seeking

      5   either some disgorgement, or they're seeking this lost

      6   value type remedy.        They're not seeking any kind of

      7   injury related to the lost value of the credit card

      8   services that they received from Capital One.

      9                So, in sum, they don't have standing to bring

    10    the Florida claim.        They haven't alleged actual

    11    damages, and they can't prove actual damages.

    12    Certainly, they can't do so on a classwide basis.

    13                 Secondly, just one other finer point in

    14    response to Mr. Siegel's argument this morning on this

    15    omission theory that all of their state statutory

    16    claims are not really based on an actual

    17    misrepresentation but on an omission.            And I agree with

    18    Mr. Balser that the complaint doesn't really read quite

    19    that way.        But even to the extent that they are

    20    presenting an omission theory, individualized issues

    21    are going to predominate over common ones as to Amazon

    22    as the testimony that we obtained from the

    23    representative plaintiffs shows.

    24                 None of these plaintiffs, none of the

    25    representative plaintiffs, had any idea or any


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      1   awareness of Amazon's relationship with Capital One

      2   when they applied for or when they used their cards.

      3   None of them -- or I should said every one of them

      4   confirmed that it was not a factor.           The fact that

      5   Capital One used Amazon Web Services to host and

      6   process information and to run its back-end information

      7   technology was not a factor in their decision to apply

      8   for or use a Capital One card.

      9               And what's more, most of them -- I believe

    10    all but one -- had never even heard of Amazon Web

    11    Services before this lawsuit.          Some of them hadn't

    12    heard of it until just weeks before their depositions.

    13                So even if there were an omission that the

    14    plaintiffs could identify -- and they haven't

    15    identified one throughout the course of discovery, an

    16    omission of fact that Amazon should have made --

    17    there's no evidence that any of the representative

    18    plaintiffs would have had exposure to that omitted

    19    statement, that they would have considered it.

    20                And certainly, perhaps somewhere out there in

    21    the 98 million class members there could be somebody,

    22    but that's a highly individualized issue based on what

    23    they were aware of based on the information -- you

    24    know, their individualized knowledge and understanding

    25    of Amazon Web Services.


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      1               I'd like to turn to unjust enrichment.             The

      2   plaintiffs do have a slightly different -- well, I

      3   should say it's more than slightly different.              It's a

      4   different unjust enrichment theory as to Amazon versus

      5   Capital One.

      6               For Capital One, they're seeking the unjust

      7   enrichment in some value that they allege Capital One

      8   received from their personal information and preventing

      9   against fraud loss.

    10                With respect to Amazon, they're simply

    11    seeking that Amazon disgorge the entirety of the

    12    profits that Amazon earned from five years and a month

    13    of Capital One paying Amazon for providing a range of

    14    cloud services, cloud computing services.             And we have

    15    addressed these claims in our motion for summary

    16    judgment, which are not before the Court right now.

    17    But two points on this theory:          One is -- well, I

    18    should say three points.        One is this theory is based

    19    entirely on Mr. Olsen's testimony.           As we'll get

    20    through tomorrow, that testimony and that opinion is

    21    unreliable.      And if that goes away, then the position

    22    is that this theory of injury falls away as well.

    23                Secondly, the unjust enrichment theory

    24    suffers from the same Article III standing challenges

    25    and problems that Mr. Balser very comprehensively


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      1   explained earlier this afternoon.           Just the mere

      2   assertion of an unjust enrichment cause of action,

      3   common-law cause of cause, even thought it's a cause of

      4   action that has been recognized at common law, the mere

      5   assertion of that cause of action is not enough in and

      6   of itself to establish standing.

      7                This was addressed in the Baehr v. Creig

      8   Northrop Team case.        Mr. Balser mentioned it earlier in

      9   his argument.        That's a Fourth Circuit case.        This is a

    10    case in which unjust enrichment was considered as a

    11    remedy for a statutory violation.           And in that case, it

    12    was a violation of the Real Estate Settlement

    13    Procedures Act where the plaintiffs had alleged that

    14    the defendants had received kickbacks for doing

    15    closings of real estate.         And there were no other types

    16    of actual damages that the plaintiffs could identify,

    17    but what they did say was, well, we're seeking unjust

    18    enrichment for the kickbacks that these defendants

    19    received.        And the court affirmed that unjust

    20    enrichment, because it in and of itself as a cause of

    21    action does not require a plaintiff to prove injury to

    22    themselves, that is, that the defendants were unjustly

    23    enriched at the detriment of the plaintiffs, then just

    24    merely asserting that cause of action is not sufficient

    25    to establish standing.


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      1               But that's the exact problem that we're in

      2   and what Mr. Balser covered this afternoon, that the

      3   plaintiffs here have not identified how Capital One's

      4   payment over five years of fees to Amazon under their

      5   contracts to provide cloud computing services to

      6   Capital One over that period of time, how that has

      7   worked to the detriment of the plaintiffs.               They

      8   haven't identified any of that because they haven't

      9   identified any injury.        And for that reason, they don't

    10    have standing to bring the unjust enrichment claim.

    11                Secondly, as Mr. Balser pointed out, in their

    12    unjust enrichment claim -- and this is paragraph 183.

    13    And I believe on the slide that Mr. Balser used these

    14    brackets for this allegation for Capital One instead of

    15    defendants.      But the way that the plaintiffs have pled

    16    this case is that they would not have provided their

    17    personal information to Capital One and by extension to

    18    Amazon, but for certain promises that were made about

    19    protecting the security and privacy of their person

    20    information.

    21                That's the way they pleaded the case.               That's

    22    not the way that the evidence has come out.               And as I

    23    said earlier, on the statutory causes of action, none

    24    of these plaintiffs was aware of any statements by

    25    Amazon, certainly, about the privacy and security of


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      1   their information.        They weren't even aware of the

      2   company.

      3                Just to close out on unjust enrichment, there

      4   are individualized issues that would predominate on

      5   this theory that the plaintiffs have that Amazon should

      6   disgorge all of its profits from Capital One, and the

      7   data that Capital One had stored on Amazon Web

      8   Services, the way that they've processed it, as

      9   Mr. Balser explained, is a high degree of variability

    10    here.     We have 700-plus different variations of data

    11    for each plaintiff.        The ways in which Capital One has

    12    used that data, the amount of data per class member,

    13    it's all going to vary substantially, and that's not

    14    something that can be addressed on a classwide basis.

    15                 So, for that reason, we support the position

    16    that Capital One has taken, that class certification is

    17    not appropriate and that the claims against Amazon are

    18    similarly not appropriate for class certification and

    19    that the plaintiffs lack standing here to assert those

    20    claims.

    21                 THE COURT:       All right.   Thank you.

    22                 MR. SIEGEL:       Your Honor, I know you've heard

    23    a lot.     If I could just have a brief few minutes to

    24    just touch on a few points.         I know we have the burden,

    25    and I'd like to close it out, if I could.


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      1                THE COURT:      All right.    I'll tell you what

      2   I'd like to do, just so you can deliver some very well

      3   thought out focused thoughts, is to adjourn for today,

      4   meet at 9:00 tomorrow, and I'll give everybody 15

      5   minutes to wrap up their position.           Then we'll take up

      6   the balance of the motions.         Given the number of

      7   motions, I'd like to allocate roughly 20 minutes per

      8   motion for each person to respond and then reply.               So

      9   we've gotten into a lot of the merits, I think, already

    10    of a lot of the Daubert motions.           So I think we'll be

    11    able to do that.

    12                 MR. SIEGEL:      Thank you, Your Honor.

    13                 THE COURT:      All right.

    14                 So everyone can get a good night's sleep, and

    15    we'll see you-all tomorrow morning at 9:00.

    16                 MR. BALSER:      Thank you, Your Honor.

    17                 THE COURT:      All right.    The Court will stand

    18    in recess.

    19                 ----------------------------------
                                Time: 5:06 p.m.
    20

    21

    22
               I certify that the foregoing is a true and
    23
           accurate transcription of my stenographic notes.
    24
                                                       /s/
    25                                    Rhonda F. Montgomery, CCR, RPR


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